Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 1 of 156
                                                                                J

                                                                                     FILED by            D.C.

                            IN TH E UN ITED STA TES D ISTRICT CO U RT                      JUN 12 2211
                           FOR THE SO UTHERN DISTR ICT OF FLO RIDA                     STEVEN M.LARIMORE
                                                                                       CLERK U.s.DlsT.cT.
                             Case N o:08-80134 CIV -H U RLEY/H OPKIN S                  s.D.ofFI
                                                                                               OA.- MIAMI

    FAN E LOZM A N ,

           Plaintiff,



    CITY OF RIV IERA BEA CH ,

           D efendant.




      PLAINTIFF'S M OTION TO AM END COM PLAINT (DE 478)W ITH ATTACHED
                                TH IRD AM EN D ED CO M PLA IN T


           PlaintiffFane Lozm an m istakenly did notcom ply w ith LocalRule 15.1when hefiled his

    motion forleave to amend his second amended complaint(Dkt.478)to add a constitutional
    :ttaking claim.'' The Coul'
                              tentered an order(Dkt.497)giving Lozman five daysto renew his
    m otion to am end,by attaching the originalofthe proposed am endm entto the m otion.

           Lozman renewshis motion to amend complaint(DE 478 attached as exhibitA),by
    com plying w ith LocalRule 15. 1and attaching hisproposed third amended complaint(attached

    asexhibitB).


       D ated:June 12,2014

                                 B y:

                                        Fane Lozm an
                                        Pro Se
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 2 of 156




    Fane Lozm an
    2913 A ve.F
    Riviera BeachsFL 33404
    spsootrdr
            .ityahoo.com
    (786)251-5868
                                  C ER TIFIC ATE O F SERV IC E

           1,Fane Lozm an,certify that on this 12th day of June 2014, the follow ing w ill receive

    ECF notification oncetheClerk filesthisresponse.


    Benjamin L.Bedard,Esquire
    Bradley Ellis,Esquire
    Roberts,Reynolds,Bedard & Tuzzio,P.A .
    470 Colum bia D rive,Suite l01C
    W estPalm Beaeh,Florida 33409
    Telephone: 561-688-6560
    Facsim ile: 561-688-2343
    Email:bbedard@ rrbpa.com
    AttorneysforCity ofRiviera Beach
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 3 of 156




                               EX H IBIT A

                M otion for Leave to A m end
                      Com plaint(Dkt.478)
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 4 of 156
  Case 9:08-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 1 of42



                              IN '
                                 I'HE UN ITED STA'l'l1
                                                     'S D IS'I'RICT CO URT           FILED by            D.C .
                             FO R THE SO tJTIIERN DISTRICT ()F FLORID A
                                                                                        MAt 2 2214
                               Case N o:08-80134 CIV-HURLEY/IIO PK IN S               STEVEN M.LARIMORE
                                                                                      CLERK u s Dls'r cT.
       FAN E I,OZM A N.                                                                s.o ofFLA -MIAMI

              Plaintiff



      CITY O F RIV IERA BEACH.

              Defendant.



      PLA INTIFF'S M O TIO N FO R LEAVE TO A M END SECO N D AM END ED CO M PLA INT
             TO INC LUDE A TAK IN G CLAIM UN D ER TH E FIRST AM END M ENT



              Plaintiff Fane Isozm an hereby m oves this Court tbr Ieave to add a taking claim to his

      secondamended complaint. Duringthesummaryjudgmenthearirlgheldon May 19-2014.the
      Courtsuggested that Lozm an perhaps am end his complaintto adtlan additional state claim to

      recoveragainstthe$25,000 admiralty bond. Lozman analyzed thissituation and held a lengthy
      discussion w ith a couple m em bersofhis Suprem e CotlrtIegalteam . Itisnotassim ple as tiling a

      motionto releasethebond.becauseajury stillhastodeterminethevalueofLozman-sfloating
      home.andthenthebond willgotopartiallysatisf'
                                                 ythatjudgment.hrhatareclaimsthatcanget
      thisbefore ajury? The only possible claimsare: i)conversion'
                                                                 .and ii)a taking claim In      .



      considering whetherto allow Lozm an to am end hiscom plaintwith a taking claim , itisnecessary

      toreview theconversion claim againina slightly'diffcrentlightthan atthesummaryjudgment
      lzearing.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 5 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 2 Of42




                            CO M M ENCEM ENT O F TH E CO NV ER SIO N CLAIM

       TH E CO U RT'S R ELUC TAN CE TO CO NSIDER CO NV ERSION M A Y BE O VERCO M E
       BY A C O NSID ERATIO N O F TH E NUAN CES BETW EEN A V ESSEL AND A H O M E .


                 The Coul't should retlect on the fact that it was the City that was the plaintiff in the

       adm iraltv action- and Lozm an's lloating hom e was the defendant! Lozm an was only the

       claim antatthe tim e. After Lozm an won his Suprem e Courtcases itwas only then thathe had

       standing to ptlrsue a conversion claim as the ow ncr ofa house, instead of being a claimantfbra

       vessel. Thatnuance isvery im portantfbrtheCourtto consider.

                       Lozm an put the City im m ediatcly on notice after 1he adm iralty arrest that its

                       actions were illegal when Lozm an tlled his emergency m otion to dism iss the

                       adm iralty an-est. A s such. the City had constructive notice. and j 768.28(6)Fla.

                       Stat. should not apply. Lozm an had to w ait for the Supreme Court case to

                       conclude before he could bring his conversion claim as the owner of a tloating

                       hom e instead ofthe claim antlbra vessel.

                2.     'I'here is no question that the City waived sovereign im m unity. The City took

                       I-ozm an'sproperty and has notcom pensated him forit.

      A TAK ING C LA IM IS TH E O NLY O TH ER VIA BLE A VENUE O F R ECO V ERY AN D
      O NE TH AT W ILL M AK E LOZM AN W HO LE FO R H lS APPELLATE A ND SUPR EM E
      C O UR T LEG AL FEES.


                Itis ironic thatLozm an. who saved thousandsofhom es via enzinentdom ain, had his own

      hom e seized in a taking thatw as guised in the form ()fan adm iralty action. Understanding the

      players and thc tim eline from 2006 to 2014 revealthe com pelling nature of laozm an's taking

      claim .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 6 of 156
  Case 9:08-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 3 of42



                The Courtquestioned Lozman atthe stlmmaryjudgmenthearing extensivcly abouttl4e
       M ay 10,2006.cxecutive session m eeting,and how Lozm an-s Sunshine law suit for reasonable

       notice im pacted the developm ent agreem ent that was to use em incnt dom ain to take private

       propcrtiestogivetoaprivatedeveloperinthemarinaredevelopmentproject.
               The retaliation directed atLozman thatstartcd in 2006- continues to this very day.ltdoes

       so as a resultofthe City-selecled oft-icials and kcy em ployecspolicy ofbending overbackw ards

       to do whatever the m arina districtm aster developer, V iking.wanls. Viking is a com pany that

       m anufactures high end sportfishing boats.in addition to being a property developer. Viking-s

       boatyard is located due north ofthe City m arina, jtlstafootballptl
                                                                         ntaway from whereLozman
       tloating hom e was moored. The owners ol-V iking have always wanted control of the City

      m arina,and I-ozm an hasputup a relentless fightagainstgiving the public marina to them .



           VIK IN G W A S TH E M A STER DEVELO PER O F TH E 2006, 2008,2010,A N D 2012
                       PLA NS,A ND IS TH E M A STER DEVELO PER TO DA Y .


      lt is critical for the Court to understand that Viking is the key to everything that involved

      Lozm an and the City. V iking wasthem asterdeveloperfor:

                  The 2006 em inentdom ain/marina districtredevelopm ent'
                                                                        ,


              2. The 2008 m arina districtredevelopm entplan thatdid notrequire eminentdom ain but

                  used private funding;

                  'Inhe master developer lbrthe 20l0 m egayachtrepairfacility atthe City m arina- in a

                  iointventurewithRybovichl,
                                   '
                                           'and


      lAttached asexhibit1are1wo ofLozman'sstoricsfrom the Palm Beach Sun newspaper
                                                                                        . Loz m an'sJuly 20 I0
      s
      ltory--t-f'
                heRivicraBeachCorruptionCouncil''thatcontainsacopyofCounty Comm issionerPriscilla'    faylor's
       ttterto theGovernorrecom mendingthatthcCity marinadedicationnotbechanged. Also I-ozmanfsJune2010
      story,-tRiviera Beach's Iatestscam . givingawaytheCitym arinaand Iosing32m illiondollarsintheprocess.''
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 7 of 156
  Case 9:O8-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 4 of42



              4. The m aster developer for the 2012 publicly funded m arina district redevelopm ent

                  plan2.

              Viking w asthe m asterdevetoperforeach ofthe fourdiftkrentplans. Lozm an has foughtV iking

      on aIIfour plans.becatlse each plan either gave the City m arina to Viking,orgave effective controlof

      thc facility to V iking for 50 years. I-ozman w as quite determ ined, as the Palm Beach Posthas reported

      overthe yearssto keep the Riviera Beach m arina a public recreationalfacility and nothave itturned ovcr

      to Viking. To tightthis takeoverofthe public m arine by Viking, Lozm an had to fightthe City-selected

      oftscialand key em ployees.who Viking had putunderitsw ide sphere ofintluence. Viking even hired

      Attorney l:
                'stherW illiam s-the wife of City of Riviera Beach Police Chief Clarence W illiam s. to be one

      of its m any attonleys on the redevelopm entdcal. This m ay have played a role in why the police have

      hasslcd l-ozm an over thc years to punish him in opposition to V iking-s role in the marina

      redevelopm ent.



             IT W A S V IK IN G TH AT INFLU ENC ED ELECTED O FFICIA LS AND
             C ITY EM PLO Y EES T() TAR G ET A ND RETA LIATE AG AINST
             LO ZM AN


             M r.George Carter wasthe City m arina directorthatevicted Lozm an from the m arina in

      August2006. Shortly after the eviction actions proceedings started- M r.Carterwentto work at

      Vikinc as a vice president! Carter m ade l,ozm an-s life a living nightm are at the m arina- by
                                                   w




      having thc police harass I-ozm an when he would walk his dachshund. '
                                                                          l'hc police cam e to the

      m arina over l5 tim esto harass Lozman orthreaten to arresthim Lozm an cross-exam ined Carter
                                                                      .



      during the eviction trial.and caughthim bcing tmtruthful. To show how pcrsonalthis war was

      between Carter and Lozm an, during l-ozm an's testim ony befbre Jtldge Dim itrouleas. lzozm an

      ?Auachedasexhibit2 isLozman'sDecelnber2013Palm BeachSun newspaperstory,'tDon'tIetthem take your
      Rivierabeach marina again''
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 8 of 156
  Case 9:08-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 5 of42



       stated that he w'
                       as happier destroying Carter on the stand during the state eviction case. than

       actually w inning thattrial.

              The following transcriptexcem tfrom the adm iralty trialgives som e background on what

      wenton between Carterand Lozman. The entire adlniralty transcript is an exhibitto the City's

       summary judgment motion. The Court can rcad Lozman's testimony to get a further
      understanding of Carter and his behavior tow ards Lozman      .   lt is critical for the Court to
      understand how m arina director Carterw as m olivated as an em ployee of V iking. to always get

      Lozman outofwhathe considered to be V iking's m arina.



                     M r.Lozman:There was a war of words in the press. A nd that's when

              things changed for m e at the m arinas because aII of a sudden now I am their

              enem y. Iam the bad guy.

                     W e got to d() som ething w ith this guy. I-ozm an. W e don-t want
              around. He is destroying ourdream s hc isalso dcstroying opportunitiesthatwere

             unique to elccted officialspm eaning like the M ayor- Brown.had a brother. A nd

             the brother had a dealw here only his com pany w as tearing down thc buildings

             thatthey w ere going to use forthe redevelopnlentarea. And by m e doing this it

             created their(sic)allthese peoplethatdreamed ofbecoming.you know, rich on
             allthe redevelopm ent with a1l their cronies, that stopped to a halt. Everything

             stopped w hile they Ggured outw hatisgoing to happen w ith this Iaw suit
                                                                                    .



                     And in the m eantim e there was frtlstration. Carter. the M arch (sic)

             Director.he had already said thatl1e had been picked to run the new m arina fbr

             Viking, that he was going to be the m arina manager for this. you know .fifty
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 9 of 156
  C ase 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 6 Of42



            m illion dollarm arina that-s going to have 150-footboats and it-s going to have a

            shopping center,it-s going to have a hotel.it's going to be this greatm etropolis.

            And they had picked him and Ihas screw cd up hisvision fbrthe fizture.

            A dm iralty'TrialTr.Vol.2.168



                   M r.Lozm an'
                              . And G eorge Carterw as the M arina Director outthcrc. Hc

            said; ldonetgive a dam n w hatyou wantbecause lam going to chargc w hatwant

            (sic)lto do.Ifyou don'tlikeitsscrew it- W eare
                   M r.Birthisel:Obiection-Yourl-lonor.Hearsay.
                   The Court:Overruled.

                   M r.Lozm an: He said: ldon'tcarc whatyou want. lf you don'tlike it-

            screw it. You are going to be outofhere in M arch. W e have evicted you. You

            know sgo screw yotlrself.

                   A nd he also said solnething clse to m e I think it-s important. 1 have

            talked aboutitpublicly.

                   During the eviction trial I l wasv you know . probably rude and

            aggrcssive-btltIhad Carterprctty m uch crying

                   M r.Birthisel: Relevance-YourHonor.

                   The Court:Overrtlled.

                   M r. Iaozm an: I had Carter pretty m uch crying on the stand where he

            begged Judge Evanst()lethim go pick up his child and Evans said no- he had to

            answerm y qucstions.




                                                                                                 6
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 10 of 156
   C ase 9:08-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 7 Of42



                    I tellpeople Iw as happier destroying C arter,than I was w inning the

             caqe. And you say w hy would l do that? The reason I w as happier

             destroying him isthatCarterhad made had (sic)my life aliving hcll. Carter
             had security personnelfollow m e around. And when Iw ould w alk m y dog he

             w ould call the eops. They would com e over and scream and yell at m e.

             Adm iraltyTrialTr.Vol.2-162-163 (emphasesaddcd).


                    M r.Lozman:No one cold (sic)believe thatamonth-to-month tenanton a
             com m ercial leasc could com e up w ith som e kind of defense to preclude an

             eviction.

                   M r.Birthisel:Relevance

                   The Court:O verruled

                   M r.l-ozm an:And they iustcouldnmtbelieveit.They werejustfuriotls.
                                          .




                   A nd Carter was beside him self. Carter I caught Carter Iying l said:

            Carter.who do you work for?

                   14e sayshe worksforV iking.

                   lgo: W ho isthe head ofV iking?

                   W ho was Bob Healey?

                   H e was a guy he had lunch w ith and traveled around
                                                                      .




                   I could him adm itting that-1 caught him lying when he said he knew

            Healy---he said he didn't know Healey and it tulmed out he knew Healey and

            wrote his paycheck.




                                                                                            7
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 11 of 156
   Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 8 Of42



                            So C arter cam e up to m e afterwards,Iike a w eek later at the

              m arina and said he hoped my brother got blow n up in Iraq and m y father

              w asdisgusted Iw ashisson,trying to getm e into a fistfightw ith him .

                     M y father had been dead for 12 years.

                     M y brother isa M ajor in the Air Force. He is 11nigbtsurgeon. He
              alsojustserved inanArmyhospital.
                     A nd I said: Carter,l am notgoing to sit here and beatyou up. l am

              sm arterthan that. Butjuststay away from me.
              AdmiraltyTrialTr.Vol.1-180-18l(emphasesadded).


                           RIVIERA BEAC H M AYO R M IC HAEL B RO W N

              M ayor M ichael Brow n was at the Junc 2006 executive session m eeting where a

       consenstls was m ade to intilnidate l-ozm an. M r. Brow n was very vocalabout doing w hatever

       had to be done to stop Lozm an from interfering in the 2006 redevelopm ent plan that used

      em inent dom ain. M ayor Brow n had previouslv been the executive director of the R iviera

       Beaeh Com m uniw Developm eat Aaencv w hile he w as M avor. and had accepted tens of

      thousands of dollars in bundled cam paign contributions from V ikilzg! Brow n also had his ow'
                                                                                                   n

      issuesofalleged m isconductthatwere addressed in the State ofr-lorida AuditorG eneral-sreport.

             M ayor Brow n w as and stillis friendly with City Attorney Pam ala Ryan. City Attorney

      Ryan was atthe June 2006 executike session m eeting and is stillthe City Attorney today. M s.

      Ryan even attended the M ay 19. 2014.summaryjudgmentheari
                                                              ng. Ms.Ryan isthecommon
      link in City personnelthathassurvived from 2006 to 2014.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 12 of 156
   Case 9:O8-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 9 Of42



                     CO UNC ILPERSO NS C EDR IC K TH O M AS AND SH ELBY LO W E

                ln M arch 2007.Councilpersons Cedrick Thom asand Shelbv Low e were elected.Lozm an

       gave cam paign contributionsto each ofthem and helped getthem elected. 7-he problem w as as

       soon as they were elected.V iking reached out to them directly-and that was the end of any

       positive dealingsthatCouncilpersons Thom as orLowe had with Lozm an. M r.Thom as is stilla

       Councilperson today.and M r.Lowe was a Councilperson through M arch 2013. Viking's close

       relationship extended to incredibly becom ing one ofa tsnancialnattlre.

               M r.Thom as has a eom pany thatprovides buses forstudents to attend V iking-s m aritim c

       school.Thisdirectfinancialrelationship with Viking isworth a reported $200.000 ayearto M r     .



       Thom as'bus com pany. The Palm Beach County O lf'
                                                       im entioned one ofthe Thom as's buses in a

       scam hepulledwhenhesoldarusted.junkedbustotheCityofSouthBay.Attachedasexhibit3
       is page 13 ofthe Palm Beach County O lG investigation, A udit#2013-A -0006,into South Ba)

       thatdiscussesthebusscam.'lahomasalsohadanoshow jobatSouthBay.Attachedasexhibit4
       is page 14 and 15 of a different Palm Beach County ()IG investigation, Audit #2014-A -0004.

       Attached as exhibit 5. the Palm Beach Post wrote an cditorial on February 23. 2014 titled-

       wèEditorial: State attorney should investigate corruption allegations against tbrm er South Bay

       ofticial.'-

               M r.Low e wasalso sucked into thc Viking fold. Atrcordingly,when V iking w anted to do
       its 2008.2010 and 2012 plans, these tw'
                                             o m en-along with M s Ryan,otherelected officials and
                                                                     .




      em ployees-did w hatever they could to stop l-ozm an from interfering in their redevelopm ent

      plans.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 13 of 156
  Case 9:08-cv-8O134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 10 Of42



                        C O UNC ILPERSO NS DAW N PAR DO N A ND JUDY DAV IS

              M s.Dawn Pardo and M s.Judy D avis w ere elcctcd in 2008. and they tooewcre sucked

       into the Viking political m achinc with bundled cam paign contributions. M s.Pardo and M s.

       Davisrcplaced tw o C ity Councilpersons.M r.Jackson and M s. Duncom be,w ho w ere atthe June

       2006 executive session m eeting. So thc City's eontention thatthere was no directlink over the

       years betw een eleeted oftieials and thu retaliation against I-ozm an is not true. The obvious

       com m on link wasV iking. Itwas Viking thatrealized thatLozm an w as itsbiggestenem y. and it

       used its political m uscle w ith the 2006 to 2008 and then the 2008 to 2013 elected om cial

       -bgroups--to targetlsozm an and get1,ozm an outofwhalViking considersto be theirm arina.



        TH E C ITY 'S A TTOR NEY M ENTIO NED V IK ING A T TH E EM ERG ENCY M O TIIIN
          TO DISM ISS H EAR ING ,H ELD TH REE DA YS A FTER TH E V ESSEL A RREST


              It is signiticant that Viking has its lzands in everything. The Cityls outside counsel

       specifically m entioned Viking during the em ergency m otion to dism iss hearing held before

      Judge D im itrouleas,three days after Lozm an's tloating hom e was arrested. The vesselthatM r.

      Birthiselis relkrring to is l.ozm an-s tloating hom e.


              M r.Birthisel: And this docsn't even cover the isstles involved with this vessel

              being moored outside immediately adjacentto Viking YachtWorks yard over
             there in which a hurricane cam e through and the vesselbusted loose, and the City
             allow ed itto stay there, they would be sued.

             Em ergency Hearing,Transcriptp. 23.Case 9:09-cv-80594-W PD - Dkt.203




                                                                                                  1()
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 14 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 11 Of42




        M S.C HR IST INE RPEPPER''NEW M A N,LO ZM AN 'S UNO FFICIA L LAW CLER K A T
                                   TH E EVIC TIO N TRIAL

       This targeting knew no bounds. The City*s cotlnsel-        attheclose ofthe summaryjudgment
       hearing, m entioned M s. Christine -wpepper'' New m an. M s.N ewm an was dragged out atàer

       Lozm an for m aking comm cnts as to w hy didn-t then M ayor Brow n sue Lozm an. The City

       attorney represented that she w as opposed to Lozman- yet still got dragged out. That is

       eom pletely incorrect. but tlnderstandable since the City has not yet taken M s Newm an's
                                                                                           .



       deposition. The reason M sN ewm an asked thosc questionswas because she was tired ofhearing

       M ayor Brow n w hine about Lozm an allthe tim c. M s.N ew m an w as Lozm an's unofficial law

       clerk! M :. N ew m an also w as Lozm an's m edia coordinator! She w as not his enem y.

       Attached as exhibit 6 are a couple press releases M s Newm an distributed to the m edia after
                                                              .




       l-ozm an won the State eviction case and 5led a Sunshine lawsuitto force the City to kcep written

       m inutes.

              NotsurprisinglyeM s.N ewm an also wasintim idated by the C ity forherinvolvementwith
                                                                          .




       Lozm an. M s.N ewm an's waterwas turncd off by the City aftcrshc was dragged outofthe Cit)/

       councilm eeting while m aking public com m ents. cven though her billwascurrent. M s.Ncwm an

      w as also hassled by code cnforcem ent- in whatshe understood was a directthreatnotto be part

      of whathas becom e known as the '-Fane Fan Cltlb.-' M s.N ewm an told Izozm an thatshe felt

      very uncom tbrtable with being targeted by the City. she did nothave the resourcesto Gghtback

      againstthe City-and thatshe wotlld be unable to continue lighting w ith Lozm an to clean up tlw

      political corruption in Riviera Beach. I-ozm an has not personally seen M s. Newm an since

      shortly aftersheclerked forhim atthe eviction trialin 20079
                                                                .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 15 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 12 Of42



                                       M S.VIRG INIA M ERC H ANT

              Itis true thatM s.Virginia M erchantwas a plaintiffon Lozm an-s sunshine case.butthat

       was because Iaozm an*s attorneysw ere concerned thatthe City m ightraise the issue ofstanding

       becatlse Lozm an Iived on wbthe water.-' M s.M erchant ow ns a tourist sotlvenir store.Sea Shell

       Citysat2100 Broadw ay.Lozm an visited Sea ShellCity and found M s.M erchantcrying. W hen

       l-ozm an asked whatw as wronp M s.M erchantshowed Lozm an a Letterabouthow the City w as

       going to seize her property via em inentdom ain. Lozm an told her thathe had an idea and that

       she should ioin him in hissunshine lawsuit. M s.M erchantand l-ozm an became friendssuntit
       one day-the Riviera Beach CRA threatened M s M erchant. I-ozm an-whosc m ailw as being
                                                        .




       stolen from the m arina offsce,w asusing Sea ShellCity's addrcss on his coul'tfilings. W hen thc

       CRA and City realized this,they scared M s M erchant by im plying that if she had any future
       involvem ent w ith l-ozm an- they w ould not give her a CRA grant to fix up her store. M s.

       M erchanttold l-ozm an thathe could notsend his m ailto herstore anym ore- and notto visither

       anym ore. She told Lozm an thatshe desperately necded the grantmorc than she needed Lozm an

       as a friend. M s.M erchantdid gethergrant, and thatuasthc cnd oftheirfriendship.

        LO ZM AN W AS A KEY PLAY ER IN TH E FAILED RECA LL O F T HE ENTIR E FIVE
        M EM BER CITY C O UN CIL FO R R EFU SING TO PUT TH E 2010 R EPAIR FA CILITY
                     M A RINA R ED EV ELO PM ENT PLA N O UT FO R BID .


              Lozm an eontinued his fightto no1only keep the m arina a public facility. buthe was also

      an instrum entaltbrce behind the -wrecallthem all*'plan to recallallthe City councilm em bers in

      2010. Tbc City Council had refused to putthe 2010 redevelopm ent plan outfora com petitiN'e

      bid. Attached as exhibit 7 is the Statem entofG rounds forthe recall. '
                                                                            l-hc recallfailed because
      the totalamountofsignatures fkllshortofthe am ountneedttd to putthe recallon theballot.




                                                                                                   12
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 16 of 156
   Case 9:08-cv-8O134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 13 of42



                        UND ER STAN DIN G TH E #SR EST O F TH E STO R Y''M A KES A
                                  TA K IN G C LA IM ,A VAL ID CLAIM


                  The explanation of the factual connection between Viking, the form er City m arina

        directorthatcoordinated the eviction. the two groups ofelected oftscialss and the City attorncy.

        show s that there was indeed both a retaliatory evictionF, and a retaliatory sham vesselarrestto
             '




        include the destruction of Lozm an's lloating hom e that resulted in a taking. The facts clearly

       show that the City and V iking wanted lzozm an and his tloating home out of what is nou

       V iking's m arina on a 50 yearleasc from the City. The City finally accom plished this forV iking
                                                                                                        .


       by taking l-ozm an's house out ofthe m arina, in a sim ilarm anneras an em inentdom ain taking

       becausc itw as in the w ay ofthe m arina redevelopm ent.

                 This taking argum entmakes a lotofsense given the circum stances and should satisfy'the

       Court-sconcernsexpressedatthesulnmaryjudgmenthearing because Lozm an-s floating hom c
                                                                          .


       is a lzouse fora11pum oses pursuantto Florida law . Lozm an thus requcsts perm ission to am end

       his com plaintto include a claim fortaking, and then tlse thisclaim to also recoverhis Iegalfees

       atthe Eleventh Circuitand the Suprem e Court. Legalfeesare recoverable in a taking claim
                                                                                                .


                 There is no way around a trial to determ ine the value of Lozm an-s floating hom e
                                                                                                              .


       Lozm an tried repeatedly to save this Courtthe hasslc ofa trialby collecting his damages fbrthe

       destruction ofhis lloating hom e in the adm iralty case. Unfortunatcly Judge Dim itroulcas refuscd

      to deviate from the m andate ofthc f-
                                          2leventh Circuit. '
                                                            f'he only qtlestion for this Courtis what
      claim orclaimswillbetriedtoajurytogettoafairvaluationofLozman'sfloatinghome                    .



                 SincetheCourtwillneed to hold a jur) trialregardlessto determinethe valuation of
      Lozm an's floating hom e. the j 1983 claimsshoul
                                                     d be tried atthe samctime asthc conversion

      5
      A
       The stateevictioniuryverdictfoundtheeviction action wasretaliatory basedonLozman'sexerciseofhisFirst
       mendmentrights
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 17 of 156
   Case 9:08-cv-80134-DTKH Docum ent478 Enlered on FLSD Docket05/20/2014 Page 14 Of42



        and taking claims. The j 1983 claim would also allow Lozman to 1nc compensated fortheCity's
       vindictive destruction of Lozman-s lloating hol
                                                     ne ifa jury finds the admiralty arrestwas
       retaliatory. -
                    l'he factsand law arejustway too strong in LuozmanesfavorfortheCourtto grant
       sumnzaryjudgmenttotheC'ity.LozmanunderstandsthattheCourtdoesnotlikehimphisformer
       attorney orthis casc. Butthisisa truly tlnique and very ifnportantcase tbrthe precedentialvalue

       thatitwillseton m ultiple fronts Forexample.theabusesthatcitizensface every day atpublic
                                        .




       m eetings around the country dtlring non-agenda public comm ent can be clarified by Lozm an-s

       case being tried. Since Lozm an has dropped the individtlaldefenclants. and lim ited his dam age

       claim s,itwillnottake the fullthree wecksthe Coul'thassetaside irlOctobcrto try this case.

              W herefore-giventhe concernsoftheCoul'
                                                   tatthe summaryjudgmenthearing. l-ozman
       hasprovided sufficientevidence andjustifscation to allow atakingsclaim to be added to the
       existing claim s in I-ozman-ssecond am ended com plaint
                                                             .




       D ated:M ay 20,2014

                                    B>'. - - .
                                             - .                 .
                                                                        -

                                             Fane Lozm an
                                             Pro u
                                                 %



      Fane Lozm an
      29l3 Ave.F
      Riviera Beach.1.
                     -1- 33404
      sosootrdd
              ciiyahoo.com
      (786)251-5868



                                                                                                    14
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 18 of 156
  Case 9:O8-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 15 Of42




                                      C ERTIFICA TE O F SERV ICE


              1.Fane I-ozm an.certify that on this 20th day of M ay 20l4. thc follow ing willreceiqe

       ECF notification once the Clerk t'
                                        ilesthis rcsponsc
                                                        .




       BenjaminI-.Bedard.Esquire
       Bradley Ellis-Esquire
       Roberts,Reynolds,Bedard & Tuzzio, P.A .
       470 Colum bia Drivc.Suite 10lC
       W estPalm Beach-Florida 33409
       Telephone' . 561-688-6560
       Facsim ile'
                 . 561-688-2343
       Email:bbedardl
                    @ rrbpa.com
       Attorneys forCity ofRiviera Beach




                                                                                                15
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 19 of 156
  C ase 9:O8-cv-8O134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 16 of42




                                 EX H IBIT 1
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 20 of 156
  C ase 9:08-cv-80134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 17 of42
       '




                     . $                              z                          $ ,
                                                                  . , '                                                     l                       l                            I
                                                                                               :       . - @                    .
               A protestin frontofCity halllastweeklo ''Save ourMarina''hasmorphed into a grassl'ootseffortto recallthe slim e that
           m ake up the City Council.RecallD-Daywillbe announced atthe nextCity Councilmeeting, qcheduted forJuly 7,2010.
                                                                                    Thlsrnontll'scorruptionditty
                                Now everyone sing afterm e,my version ofW illie Nelson'sclasslc ''The Party'sOver'':
                       Turn outthe lights,the cofruption pafty lsoverf alIgreed m ustend,so State Attorney McAuliffe Iook no further,
                       Comm issionerCeclrickThomasand CouncilChairDawnPardoareyourmainsuspectsagain!
                       TellthoseGrand Jurors,to kindlywakeup, theirtimeisnow,to finallykickRiviera'scorruptbutts.
                CedrickThomas,a man with no ethicalcompass, i   satitagain.Thistime heisthefrontmantryingtoslidethrough another
           sli
             ck deal,giving away40% ofthe Ci   ty nnarinato dVikinq/Rybovich partnership to build an indtlstrialboatyard. M r.Charles
           Newcomb,whodonatedthem arinapropertytotheCitybak.kiT31t.)18,isfollingin hisgrave t        ssThomasand oneofhiscohortsin
           thigscam ,CouncilChairDaw nPafdo,pissal1Overit. Thesetwo madethleirmarkwhentheyvotedtoIeasetheM arinaTikiBarfor
           $6500/month,whenitappraisedat$19,0O0/month andanofferhadbeenmadefor$22,500/month.
           I CountyCom missionefPriscillaTaylor,aguardianangelwhofsieshighoverthepositicalilBSïimelandscape,senlthefoilow ing
            etterto GovernorCristasking to keep the Citv marina asithasalwaysbeen, a 100% recrentionalfacility. Now,ifwe could only
           clone Ms.Taylorand vote in heroffspring as Riviera Beach City Councilpersons, ourCity might have a chance lo rise outofthe
           cesspoolofcorruption (n which ithas been mired. Pleasew ritealetlerto StateAttorney MichaelMcAuliffe (     a.k.a.thefearless
           wonderboy)at401NorthDixieFlighway, WestPalm Beacà),FL33401andthankhim inadvanceforcleaning upthepoliticalslime
           ofourCity.
                     !!                                                                                                                                                                     .
                           I
                           At'
                             i!
                              ,t'iIla z'
                                       &. '
                                          T'
                                           aylf)r
                     '     (.f'
                              jl1nt$,C't' jn'
                                            t11tisbi(4!)kar 1..  Tliz;trIct7                                                                                                                '
                           1kk'.1.
                                 4'$#,1r1.t1E))'.@k(,.
                                                     hr'rnr't'.ts:n1,y.lffz...
                                                                                                              z%
                                                                                                               '':QW/&
                                                                                                              1b.
                                                                                                             ,,.             (:%
                                                                                                                               --8
                                                                                                         jw
                                                                                                        -. k
                                                                                                           t         .       '
                                                                                                                             ;-
                                                                                                                              .
                                                                                                                              j -..--          .
                                                                                                          $ï.                 .7
                                                                                                                              z                                                             .
                                                                                                             s
                                                                                                             xCit
                                                                                                                .?  >z
                                                                                                                 #!!'                                                                       ;
                                                                                                                                                                                            ,

                                        irItc:':ti7 'h();t')
                                        .
                                        (')#hq$f-l'àLb,!t!)f-k.1
                                                               ::4'
                                                                  gs?1.!lfr'rt'')1cir!!.t(-rt;,t
                                        Qjf<î!t.  's'pfR'16!gjc! -rrx,:.k-vj(Jyt()1
                                        '1 .t)&;.:
                                           7        2-lt-3:1o 'k!t.?.:tllf, .'
                                                                             (.'t
                                        rallai'    s.
                                                    ag.qeé. Ff E
                                                    :             ).,
                                                                    3?t)(.  ,

                                           ''
                                           =l
                                            'ftt.lJ'Go..'
                                                        u'IioFCr!ot
                                                                                                                                                                                        L
                                                                                                                                                                                        .


                                       itca,(.E7n7c't('h'lly,. 'Jttr't.tlo,itha:fneRi     vifrrilYachCouncil$:rtlqt.festl
                                                                                                                        ng toamend the City'bdedicatlonof                               '
                                       Fiaoroi?:gef'!!?7tu31i')lijl.t)tlfxtrtrjtjstfàak. àhf
                                       '
                                                                                            aremdentsaredxdamarltdyopmsed to ttlis move. l'he resldents
                                       r
                                       '
                                       Js
                                        r r
                                          i
                                          - 4:
                                             l  't
                                                 !1
                                                  ' ..$lrlport  o f tlc vciop t ng  tje  rll
                                                                                           a  r
                                                                                              s r
                                                                                                ja butwantthe preœn,    recre bonaldetllgnatlon to remain.
                                         $bt#ti.
                                               lt-'oklrttvFttapfesermtiveofthlt-,Diçtrid !J)m reqtsesitlngthetthefe be nû vIhriation flofn tbe orlginal
                                       td-terltthattftpsrrltlflrl!flbe tfrrrecrctlûnalpurmses, Asy(    )u areavzRrettel'earefizw marineswith public                                     t
                                       arfreql.. ITrk,forthr';reafoc)ntheatIam ftlflksupptlrtiveofthe resldents.
                                        'tzlpklvttqrbth'atthe'Ctiulricl)riqcmbersarertottfstenmgtf.)thelr'feWderltf;. Urdefqfkeparatectper':/11matla
                                        .
                                                                                                                                                                     ,
                                       (opy ()fa pethtpai!signed hy ovef600 residents I11this a'rea, ailt                       )fwhom feelstronglyabtlutyotlrnot
                                                                                                                                '                                                      .
                                        vi
                                       .'
                                          pr  lr
                                               z
                                               . vl l
                                                    - (ytil6J ti
                                                               '
                                                               i r!/  q  tt .
                                                                            ty
                                                                             lj
                                                                              e qt t()lease   ttl
                                                                                                e   J
                                                                                                    't
                                                                                                     lb mer   ge d  l
                                                                                                                    dnd s to a f
                                                                                                                               or pr
                                                                                                                                   of i
                                                                                                                                      t (
                                                                                                                                        zmp   ll n y  a t t
                                                                                                                                                          h e  Rt v ier a Môf:h         '
                                       Nc
                                       !ht).yflc a 7hn/''!)$n' .'8C'i?)#3:..,arhfj:tle clts
                                                                                          /Courtcrrsdesire tohavean rndustriplboatyardare otaccepf
                                               -fp':)I7>uflity'l't7kzlrliàrnt6.k4#1c1iïre Clirkjç.tty ih(ft!ctfztjt)y t#!(s 1ràvàew (;ftylîjkltytsîjtlt)rln
                                                                                                                                                          ylrtltlsiàrljlsabl  esf!
                                                                                                                                                                         (lëjti  tf
                                                                                                                                                                                  ol
                                       LqsyzE1rjtlpph Ipfotrt'l'q'alzrlltà?r)).qrt(jt)thfài't'q':lT'c;nrdntprttëjlgltlgtltjl,n $ssuG st ks n()t é, fl!'u(jE,nt rn()ï/t? tllëjtj(j
                                       .$'è()rhe!()()1(?pTtla'I3i.)?!a,.ofp;;!'ot;+!:')yott!rsi'lpea. ltfs
                                      yPht?tialpr)(2.ï.,                                                            ,lnctlr!l$etl!ujlo,
                                                                                                                                      7tl:;to rlratectOtlrWaterfrontaild               .



                                       ;.I'e?h,jdt/t.tltJ(lf':4.
                                                               .()t.tlzatl1)aras?'f)o rc$z$c;vtl:ç#(zitjp's rll(jkhesttlllltjp()tjijrfjrrllflfjftllc1ft#ttlrftsltjflr!tscortr/lrn      '
                                      drld.'1tJ9.Uevt.ltefroc-jtht-ctnl'ii
                                                                         yidlajrecreatlonaldedlcation                                                                                  '

                                      f
                                      .t
                                       ?rlrf)î'
                                              t)'
                                                b' --.--h

                                      1.'r;Lh.. ':()$4t(
                                                       T)ç
                                                           xnu x;                          .         t
                                      k.'...3t,''
                                                ty r)f'lr';
                                                          ai't)1'
                                                                xqI
                                                                  tlpJe.r r);qr:tp,'s.                                                                                                 ..




                    1
                    I
                    ;                                                            ..
                                                                                  .,!
                                                                                    :F-f,'
                                                                                         .,i(.,j...
                                                                                                  j.,-,,:,.
                                                                                                          :,j(ty..
                                                                                                                 ,.kj.(,-!-dtfjtr.z
                                                                                                                                  ykt
                                                                                                                                    .,,,
                                                                                                                                       .,,.,,:j.(,,.,e,.                               .
                    !                                 '9i).
                                                          jx oliveA.kenuk. ' svesgralm Beach,fldlrtda.
                                                                                                     3J4(1l 4.
                                                                                                             54)1jA55-zzO'z yax:4.j+1#asq-lr
                                                      34TS. k'oyplre'
                                                                    .sA'
                                                                       $t'nuw' 1)e,ruv Beat'l'
                                                                                             i (Dl                                         ot'
                                                                                                                                             sz
                    .'
                     '
                     'P4j;
                     1   l;
                          >.
                           ,z
                            )
                            Je
                             yI't'94.
                              J#
                               )    KIJ
                                      /
                                      Cv
                                       );
                                        >A ..
                                         1fz
                                           f                                                           jlja)'Iorojrr;jiedbacyo
                                                                                                                            13S
                                                                                                                              I4R L:61).
                                                                                                                                       2.7+*
                                                                                                                                           1354J           Iax'$561)27/-llt
                                                                                                                                                                          j(
                                                                                                                                                                           )
                    l                                                                                                         sxorç
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 21 of 156
  C ase 9:O8-cv-80134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 18 of42

                           .            . j      1
                                                 1
                                                       j                        j                     j

                                t       ù                                       l'        i t I             1
                                         1        Il           l'                          '' I
                                                       :       . - .        .

               A roadm ap to understanding theclassicbait-and-switchgame being played bytheRivieraBeach Ci   ty
          Council,a.ka.the CesspolofCorruption. Inadealthatbenefitsaselected few,and ignoresthemasses,the
         City marinaisbeing turned into an industrialboatyardformega yachts. II nave been fighting to keep this
          publicfacilityoutofthegreedyhandsofVikingYachtsfortheIast5years. Afterbeatingthem in2006,Viking
         isbackagain inadealthatclearl ydoesnotbenefitthepublic.
                                                UNDERSTANDING THEBASICS
          1. TheCi ty Marinahasbeen a recreationalmari  nasince            in the City marina, The reason forthisissimplythat
             1913 when Charl  esNewcomb donated the property       $
                                                                   1      othermega yachtboatcom pani      esfrom around the
             to theCity with the condi
                                     tion requi
                                              ring thatthe Iand    I
                                                                   .      worl  d woul d havi!subm itted proposalsto have an
             always be used as a recreationa!facility for public   I      industri alboatyard atthe mari na, ifthe City'
                                                                                                                       sini
                                                                                                                          ti
                                                                                                                           al
             use.                                                  l       RFP had included an industrialboatyard. Thiscom-
                                                                          petition would have resulted in a m uch betterpro-
          2. In 1966,theStateofFlori
                                   dadedi cated the Submerged             posalforthepublicincludi   ng ahigherIeaserate than
             lands at the marina to the Ci
                                         ty with the condition            the onesubm i  tted thatvaluesthe marina propertyat
             thatthese Iandscould only be used forrecreational '          anabsurdl  y Iow value.
               purposes.
                                                                       8. Thevotersofthe City ofRivi
                                                                                                   era Beachwoul
                                                                                                               d haveto
         3.r
           I
           n
           edtehve
                eS prin
                  lop  goma
                      the f200
                            ri8,ft
                             na   hereCcr
                                 or    iteyas
                                            tolical
                                             ion i
                                                 tepur
                                                   dppropo
                                                       os sal
                                                         es.
                                                            sto t beaffordedtheopportuni
                                                                                       tytovotevi
                                                                                                asator
                                                            The ' onwhethertheywantto changethe hi
                                                                                                    referendum
                                                                                                      icaiuse of
               redevelopmentwasrestrictedtotherepairorreplace-            theCity'spublicmarinafrom recreationalto anindus-
               mentofthe existing 577slips (
                                           w etand dry),and the .         trialmegayachtboatyard.
               exclusive recreati
                                onaluSe forthe upland property t
               (where Newcomb Halland the TikiBarare located). I
                                                               . 9. In addi
                                                                          ti
                                                                           on,an environmentalimpactanalysisby an
               No new useswere contemplated.                   ;    independentfirm would benecessarytodetermine i
                                                                                                                 f
                                                                   1      thebazardousmalerialsassociatedwi
                                                                                                          thamegayacht
         4. The Ci
                 ty Councilselected Viking Yachts'proposali
                                                          n        I      boat yard could coexist with a recreationalfacili
                                                                                                                          ty
              thesum merof2008, aproposalthatwasbasedsol  ely 1           whereyoungchildrenwoul  d bepresentandoutdoor
              onarecreationalredevelopmentofthemarina. There j            food woul
                                                                                  d be served.In fact,theCity'
                                                                                                             srequestfor
              was no mention anywhere in the Vi
                                              king proposalof             proposalstatedon page13,paragraph36,Obnoxious
              an industrialmegayachtboatyard.                             Use,'theCityand CRA willnotconsideranyproposal   ,
         5. Viking was required to sign a development agree-              which could cause..,,....,obnoxious usesas r
                                                                                                                     e gar
                                                                                                                         ds
                                                                          to Ii
                                                                              ght, sound,srqell
                                                                                              ,safety(emphasisadded). An
            m entwiththeCityinOctober2008. TheCi  tyextend- j'            industrialboatyard woul   d have automati
                                                                                                                  call
                                                                                                                     y been
              ed
              Viking'
                  thi
                    s deadlineanumberofthtime
                    s failure to come up wi
                                              sbased upon ( d
                                            the financing to l
                                                                isqual
                                                               al
                                                                     ifiedifithadbeeninViking'soriginalpropos-
                                                                           . Thisbringsup 1hequestion, whyareCityAttorney
              perform on itsredevelopm entplan. InJuly2009,the           Pam Ryan and Cit'  /ManagerRuthJonesnotinform -
              City Community Redevelopment Agency Director, !            ing theCityCouncilthati tsown RFPcriteriaarebeing
              Mr.Floyd Johnson,recommended thatVikins be dis- '  j       violated? Instead theCityattorneyand CityManager
              qualified,consi
                            stentwithState l
                                           aw, forViking'
                                                        sfailure .
                                                                 1       approved signi ficantchangesto 1he proposal  which
                                                                                                                    ,
              to sign the development agreement.The City not 1           the City Councilaccepted!
              only ignored Johnson'
                                  s recommendati
                                               on butfired 1
              him wi
                   thin onehourthereafter.                        I 10.in addi
                                                                             ti
                                                                              on to a new RFP process, the City'scom pre-
         6Th
          .  e competitive procurement I aws of the State of 1 i   h enssiv
                                                                    ndu    eiap
                                                                          tr  ll
                                                                               anga
                                                                               me woyual
                                                                                       dhtrebo
                                                                                       c    quair
                                                                                                teame
                                                                                                 yar
                                                                                                   dindtme
                                                                                                     n     nttoallowan
                                                                                                        he Ci
          Floridaareestablished forthepubli c'
                                             sbenefit. These '                                              tymarina.
          I
          aws precl ude any substanti alchange to a proposal ' 11. An industrialmegayachtboatyard requiresso much
          thathasalreadybeen accepted by a City. Putti ng an 1 spacethatthe current557wetand dryrecreational
          i
          ndustrialmega yachtboatyard in ourCity marina '          slips would be reduced to 100, only 18% of what
          constitutesa materialdevi
          f                        ation,asubstantialchange : presentlyexi       sts. More im porlantl
                                                                                                     y,the rentfrom the
           rom the originalRequestforProposal(RFP),                industrialboatyard would only be $217,000 versus
        7                                                          over$1.27 million i  n additionalrentby keepi ng the
         .    State law dictatesthattheCi
                                        tythrow outVikinj'
                                                         s               marinathewayitis!Thati
                                                                                              soveronemilliondoll
                                                                                                                ars
              proposaland the RFP processstarted overifthe Clty
              C                                                          lessin revenue peryear! Overa 25 yearIease,that
               ouncildesires an industri
                                       almega yacht boat yard            addsupto 32 m illion dollars!

                                            WHERED0 WE G0 FROM HERE?
               l
               tistim eforStateAttorneyMichaelMcAuliffe,a.ka.thefearlesswonderboy,to stepuptotheplateand indi
                                                                                                            ct
        those responsible forthisscam . Asforthe taxpayers,a recablofthe çity Councilis necessary to uphold Charles
        Newcom b' swritten bequestofthe marina property foreverkeeping the marina in publicrecreationaluse!
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 22 of 156
  Case 9:08-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 19 of42




                                 E X H IBIT 2
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 23 of 156
  Case 9:08-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 20 of42


          jI                                       1         I ''             'i l 1                   l' i l i
                     '
                         '
                         l
                         1
                         T'
                                       il,lieruew N,r,e ,lldrnew A:*...
                #)' L                  Thatisthewayi
                                                   tgoeswi
                                                         ththeelectedscum incorruptioncountyti.e.pal
                     ..z

                             ' ,f
                                1:
                                                                                                   m Beachcounty).Ri
                                                                                                                   vi
                                                                                                                    eraBeach
            .xs,
               ;'M               ,
                                 h:    eIecredomcialshavetakeni
                                                              ttoanotherIevel. councilpersonsDawnpardo,cedrickThomasludyDavis,
           '' '
              )
             t'
               A
              tëi
                t:i
                   j
                  :.)
                     j!>,
                    :!
                        ,.
                               (, '' ?:
                                      7'. alonswi ththebankruptsleazeballBruceGuyton,keeprunningforelected officeforonesi  m plereason:
                         .t.,
                            )t' ' totakeawaytheCi         tymarinaandgivei  ttotheirpaIandhnanci
                                                                                               alsupporter,VikingYachts.Secondtothat,
           t
           .             .p4t7.
          b                               theirobjectisgamingthesystem todotheIeastworkaspossi ble,coll
                                                                                                      ecttheirCitysalary,travelbenehts,
             y Fane Lozlnan carajj             owance,cellphonestipend,and any other'perks''ofomce,along with hittingtheRivieraBeach
          fafxfpalmbeachsun,nd mari           naTikiBarup forfreemealsand drinks.
         To getelected,theyneededtocutadealwlththedevil.Andthedevi        lwôsahrm rhamedVikingYachtsthatbuil      dsluxuryboats.
         Viking'scustomersneededaplacetoparktheirluxuryboats,andtheRi       vieraBeachCitymarinawastheidealpl       ace. Soforgive
         meifyouknow thehistory.In2006theCi        tysi
                                                      gnedovertheCitymarinaaspartofa2.4bi        lli
                                                                                                   ondollarredevelopmentproject
         îba'twasgoi ngtouseeminentdomaintotaketbousandsofbomesandbusinessesandgi               vethem toVi  king. Thatplanfailed,
         butanew evilplantogiveawaythemarinaandcreateahazardouswastezonewasbofn. 5o,'I              et'sbuil
                                                                                                           dani ndustrialboatyard
         atourrecreatjonalCitymarina,  ''becamethei  rmantra.
         A group ofdetermined ci  ti
                                   zensroseup and foughtthisindustri  alboatyard. Theboatyard plan wasspearheaded by Riviera
         BeachCouncilpersonsDawn '    zthe Dictator'Pardo. Thistime.Viking and themegayachtrepai      rcompanyRybovi   ch (owned
         by Hui zenga),were to take overthe Ci  ty marina. Pardo,whose tiesto Viking extended to accepting bundled campaign
         contributionsand flying around on Viking'spri vatejet,wasin afrenzytrying to getthe votesto defeatourreferendum to
         s'
          toptheci tymarinafrom beingcoverted into anindustrialboatyard.Pardo'   seffcrtsfaileclbecauseourgroup ofci  vicactivists,
         spearheadedbyEmmaBates,Andrew Byrdyandmyself/defeatedPardon'sboatya/dpolsuling redw elopmentgiveaway After
         whining totheCourtsinmul    tiplefailed appealsto getourreferendum overturned,Pardo'     sgivewayplan hasrisenfrom the
         ashesIikeaphoneix.Pardo,alongwi     th herscammycol  leagues,haveplacedanotherreferendum ontheMarch 2014balotto
         tryand overtufnour2010referendum andtherebygiveawaytheCi        tymarinatoViki  ngforthenext50years.Thism ostrecent
         giveawayincludesasweetheartI    easethatwillasain pfivati
                                                                 zethemari na, and Ieavethetaxpayersholdi  ngthebag.
         Weneed everyonetovoteto stopthisIatestmarinagiveawayscam toViking Yachts.

                                      @ #   * . * J *. ##            .          *                    .*       :
                     J ê              *   * #    #     #             .        # J             # :         #       : * *.

                                      Ifyou-ve had enough,tellPardo to shove her stuff,
                                                       Don'ttetherdo it,
                                                    If you-ve had your5tl.
                                             Don'ttetthetaxpayerspay thebitt.
                                                         You can do it.
                                             TettPardoandGuytontojustgetout,
                                                Nothing tefttovote about.
                                            Pack theirbags and recaltthem out,
                                        zusttook them in the eyes and sim pty shout.
                                                 ENOUGH is ENOUGH is ENOUGH,
                                      w e can'tgo on.w ecan'tgo on.no m ore no,
                                            ENOUGH is ENOUGH is ENOUGH.
                                  W e wantthem out.wew antthem outofofhcenow .
                                              There's nothing teftforParde here,
                                               And tet's notw aste anotheryear.
                                                 ENOUGH is ENOUGH is ENOUGH.
                                            VOTE DOW N The MARINA GIVEAW AYII!
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 24 of 156
  C ase 9:08-cv-80134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 21 of42




                                 EX H IBIT 3
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 25 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 22 Of42


         O FFI
             CE OFINSPECTOR G ENERAL                                                                                 AUDIT # 2013-A-0006

               $17,306 in actualand asserted costs related to a bus purchased by the former
               C ity M anager from         a
               com pany owned by a Riviera
               Beach Com m issioner and
               form er em ployee of the C i
                                          ty'
                                            ,
               the bus cost $7I500 to             ' ,:.:'g
                                                        .

               purchase,incurred $7,981 in       '
                                                 &
                                                 ' ,:5     (
                                                           3)
               disputed repaircosts,$1,125       q
                                                 t
                                                 >yy        .
                                                                 c.',,:.g, ,
                                                                 $'
               in towing costs,and $700 in       . .
                                                   1
                                                   7y '
                                                   v        1.)
                                                              -.
                                                               ,
                                                               j
                                                               (y
                                                                s
                                                                t
                                                                y
                                                                s
                                                                .k  '
                                                                 '. '' ''''y'
                                                                 .           :..;,
               cash       subm itted       for       x'cx .:    '
                                                                y)
                                                                 '
                                                                 >$....   ,                            Jt,j,jj
                                                                                                       g
                                                                                                      ..
                                                                                                      '          y
                                                                                                                 .
                                                        ll
                                                        ';
                                                         ho
                                                          yg
                                                           .
                                                           z.
                                                           ty
                                                            :
                                                            j
                                                             .
                                                             j
                                                             yj
                                                              yx
                                                               jt.
                                                               q i. y
                                                                    ..xz:
                                                                        k
                                                                        g
                                                                        àp
                                                                         .
                                                                         o
                                                                         .,
                                                                          o
                                                                          s    .                 (....j.
                                                                                                       t,
                                                                                                        '
                                                                                                        (
                                                                                                          t
                                                                                                          ,      .
                                                                                                        y ))jx,.,o.
               reimbursementby the former               ttt4-44zu
                                                            ' '.
                                                                                       ...
                                                                                         o
                                                                                           y-.
                                                                                             .... ,,z
                                                                                             .                  qy. ,,j.
                                                                                                               j.

               City M anager for new tires.                         7
                                                                    t
                                                                    ?
                                                                    y
                                                                    x':
                                                                     t-t
                                                                        ''
                                                                        k1
                                                                         'k
                                                                          'l
                                                                           'a
                                                                            %
                                                                            l
                                                                            l  . .' ''.-.cqt.qt.7k:4,.:7
               The bus is currently in                                 z.,
                                                                       %  -
                                                                          .
                                                                          y-
                                                                           k
                                                                         . ..
                                                                            s
                                                                            .
                                                                            r
                                                                            q(
                                                                             ;
                                                                             jk
                                                                           xu.
                                                                              ; L
                                                                              . r
                                                                              ,   j
                                                                                  -
                                                                                  .
                                                                                   .
                                                                                  ,.. ,      k;),  yt.,.
                                                                                                       y
               Storage at a Riviera Beach                                    'Nxx '.'
                                                                                    .$':
                                                                                       (
                                                                                       rtj i       l
               repair business'
                              , the bus has                                       'v.,ww......,....,,,,g
               been described as 'scrap''                                                           :. .   .

                  d ' k'' b Cit                                                                     ''
                                                                                                     ty:
               an jun       y      y staff. It                                                             '''
               appears unlikely this bus w ill         P
               everbe putinto service  .
                                                          urchased Blas in Storage
               $12,686 in checks paid to the personalaccount of a City em ployee Iacking
               Com m ission approval and inconsistent w ith the existing pension plan for City
               employees. The am ounts were paid in a lump sum of $6,785 followed by
               monthly paymentstotaling $5,901.
           #   $6,100 paid to an em ployee with no supporting documentatbn orsubstantiation
               ofpublic purpose.
               $6,071 in City funds expended on em ployee Iunches and parties including an
               employee retirementpadythatcostin excessof$2,300.
               $4,640forfood atofficialpublic meetings      .
           #   $1,589 spentfrom petty cash (42% ofthe totalamountwe sam pied)on item s
               with a questionable public purpose orpublic benefit Expenditures were foritem s
                                                                                       .

               such as em ployee bidhday parties, em ployee lunches.m iscellaneous food, and
               f
                uelpurchases with no supporting docum entation.
           #   $887 in flowersto em ployeesforbidhdays, funerals,and otheroccasions
           #   $600 paid to a companythatprovides automated phone callservices;the.content
               ofthe calls was cam paign m essages forIocalcandidates running forpublic office
               i
               Gn upcom ing elections, including City of South Bay Com m ission, C ity of Belle
                 lade Com m ission and Palm Beach County School District Board. Political
               m essage calls should nothave been paid w ith City funds                           .




        Recom m endations

        (4)The City Manager should establish a policy w ith Com m ission approvalthat
       identifies allowable and unallow able expenditures incltlding prohibiting those
       types ofexpenditures thatdo nothave a clearpublic purpose orpublic benefit.




                                              Page 13 of33
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 26 of 156
  Case 9:O8-cv-8O134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 23 Of42




                                 EX H IBIT 4
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 27 of 156
  Case 9:O8-cv-8O134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 24 Of42


         O FFICE OF INSPECTOR G ENERAL                                         AUDIT# 2014-A-0004

         Recom m endations

         (13)The City Managershould ensure thatem ployee term inations follow the City's
              policies.

         Managym entResponse
         (13)The City Managerand Human Resources Directorwillensure terminations
              are consistentw ith City policy and State Statute. Corrected 4tbquarter2012.


         Finding (7):EMPLOYMENT AND COMPENSATION OF A FORM ER DIRECTOR OF
         CO DE ENFO RCEM ENT W AS NOT CO NSISTENT W ITH CITY PO LIC IES AND W E
         COULD N#TFUFjTANTIATqAYAASUYFq-Irq9-qNE
                     .                   .     ..
                                                q..
                                                  I
                                                  .T..
                                                     'V THECITY -



        On May 18,2009,the form erCity M anagerhired an individualas South Bay's D'ector
        of Code Enforcem entand Com pliance atthe rate of$15/hour. The costto th it of
        thatindividualwas as follows:

                           FI.>
                              'VlYqhtk        pay             àenefll     Top p     ,         .-         <.
                              2009           $12,750          $3,521     $16,
                                                                            271                  .&           $
                              2010            3,494            2,169       663
                                                                          5,                 <
                                 Total $16,244                $5,690     $21,934                              j
         Based on ourinterviews of City personneland review ofdocum entation we noted that
        code enforcement related activity w as alm ost non-existent during ,the peri        od of
        em
        M ploym ent, and the individualwas very rarely seen in 50t1th Bay. The form er City
           anager did not require the form er Director of Code Enforcem ent to personally
        com
        f    pl
              ete and  sign a record oftim e worked as required by City policy. W e found thatthe
        dorm er Director of Code Enforcem ent only signed 13% of his tim esheets. The only
          ocum entation the C ity could provide relative to outcom es of code enforcem ent work
        was ten Code Com pliance notices sent to one ow ner of a business allon the sam e
        date.

        Likewise,we noted that the form er Director of Code Enforcem ent was hired as l         'full-
        tim e'
             ' status and therefore received full City benefits as provided for in C i     ty poli
        However the formerDirector's weekly timesheets averaged 20                                cy.
                  ,                                                         ,3 hours. The pad-time
        status should have resulted in term ination offull-tim e benefits. Related to this,we noted
        thatin July 2010,the form erCity M anagerauthorized a paym entof80 hours ofunused
        accrued vacation tim e to the form er Directorof Code Enforcem ent. The paymentwas
        pad of a finalpayout to the former Directorof Code Enforcem entwho resigned his
        em ploym ent with the City on June 26, 2010. As a parttinne em ployee, the Former
        Di
          rectorwould notbe entitled to paid vacation tim e     .




                                                    Page 14
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 28 of 156
  C ase 9:08-cv-8O134-DTKH Docum ent478 Entered On FLSD D ocket05/20/2014 Page 25 of42

         O FFIGE OF INSPECTOR G ENERAL                                       AUDIT # 2014-A-0004

         W e have identi
                       fi
                        ed the totalcostto the City of$21,934 as a cluestioned cost. The O IG
         referred this m atterto the State Attorney's Office
                                                           .



         Recom m endations

         (14) The City Managershould seek to determ ine the basis forthe costs incurred
              by the City w ith respect to the form er Director of Code Enforcem ent, and
              consultw ith the C ity Attorney on recovering any inappropriate costs.

         ManapementResponse
         (14) The City Manager and Hum an Resources Director will ensure em ployee
              compensationand benefitpayoutsareconsistentwithCitypolicyandState
              Statute. A debtcollection pollcy is under review by the City Com m ission and
              staffis seeking approvalin February 2014.


        Finding (8): THE CITY DlD NOT PERFORM ADEQUATE CHECKS TO DETECT
        THAT THE FO RM ER C ITY M A NAG ER W AS DRIVING A TAKE-
        X                                                                             HOME CITY
         V ICL; ONA SUSPENDEP LICD SE
         -



         During our review of City procedures concerning vehicles tlsed by em ployees on C ity
        f ness, we requested docum entati
        busi                                 on of dfiver's license s'
                                                                     tatus. ln the case of the
         orm er City M anager,we were provi ded a copy ofa State ofFlorida identification card
        W hen we broughtto the City's attention thatthe card w as foridentification and was not.
        a driver's Iicense,itwas discovered thatthe City had notcoll ected and verified Iicense
        inform ation Accofding to Florida Departm ent of Hi
                    .                                         ghw ay Safety and M otor Vehicle
        records.the form er City M anagerhad a suspended driver's Iicense atthe tim e he w as
        hired. His Iicense was suspended forthe first14 m onths ofhis em ploym entand again
        f
         or approxim ately tw o m onths toward the end of his em ploym ent. Throughout his
        empl oym ent,the formerCity Managerused a take-home City vehicle thatwas driven in
        excess of60,000 m iles.
        The form erCity Manager's driver's Iicense status was notdetected by the City thro
        pre and posthiring procedures                                                        ugh
                                        .  The City had inadequate procedures to verify Iicensing
        priorto allow ing em ployees to dfive City-owned vehicles on City business.



        In addition to the form er City M anager driving without a valid driver's license the City
                                                                                         ,
        was exposed to the potentialfor Iiability by providing a take-hom e City vehicle to an
        em ployee w ho did not possess a valid driver' s Iicense W e have identified the value of
                                                               .

        fuelcharges to the City M anager's fuelaccount, $11,885,asa questioned cost.




                                                 Page 15
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 29 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 26 of42




                                 E X H IBIT 5
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 30 of 156
  Case 9:08-cv-8O134-DTKH Document478 Entered on FLSD Docket05/20/2014 Page 27 Of42




          Editorial'
                   .State attorney should investigate corruption
          allegations against tbrm er South B ay official
          Palm Beach Post.Posted'
                                .l2:00 a.m .Sunday. Feb.23.2014


          The Palm Beach County StateAttorney'
                                             sOfficeshould investigate whetherRivieraBeach City
          Councilm an CedrickThom ashad ano-show , do-nothingjobasaeodeenforeementofficerin
          South Bay asalleged in an auditby the Palm Beach County InspectorGeneral.
         M ikeEdmonson,aspokesman ftlrStateAttorney DaveAronberg,said theofficeisawareofthe
         allegationsbtltcan'tcommentbeyond that.

         AsThePost'sPatBeallreported,the auditfound thatThom asreceived full-tim epay and
         benefitsforpart-timework.ThomassaidhespokewithprosecutorsabouthisSouthBayjob
         m onthsago.t'M ),
                         'lawyerand 1wentdoum there,they asked som equcstionsand thatwas
         thatj'hesaid.''Idon'tknow whythisiscom ingbacknow .''

         It'
           scomingbacknow becausetheinspectorgeneraljustreleasedtbeaudittothepublicon
         Feb.13.Thom ascalled theallegations'apolitiealwitch hunt.''
         Hardly.ThedetailsaboutThom aswereasmallpartoftheauditthattbcused on serious
         deficienciesin how South Baym anagesproperty and equipm ent,hum an resources,payroll
         and cash disbursements.Therewasnothing politicalabouttheaudit. The response from
         Thom as,afailed candidate forstate representative, istypicalofa politician.
         Thom ascould notbereached forcom m entforthiseditorialonthe InspectorGeneral'saudit
                                                                                             ,
         buthetold Tbe Postearlierthathewas''offended''bytheallegations. h'hy?Theauditisn'ta
         personalattack.It'sa recitation ofthefactsgathered by investigators.
         ''W enoted thatcode enforcem ent-related activity wasalm ostnonexistentduringthe period
         ofem ploym ent,and theindividualwasvery rarely seen in South Bay,''said thereport.G'rhc
         only docum entation thecity could provide relative to outcomesofcodeenforcem entwork
         was lo code com pliancenoticessentto oneoqvnerofabusinessallon the sam edate.''
         Thomassigned only 13 percentofhistim esheets, accordingtotheaudit.That'sprobably
         because hewasin South Bay ()nly 13 percentofthetime hewassupposed to be.
         Histim esheetsindicated Thom aslogged an averaget)f2o hoursa kveek, which ispart-tim e
         byany standard.Yet,hereceived benefitsresenr  ed forfull-tim eem ployees. W hen he
         resigned from the city'sem ploy,Thom asreceived 80 hoursofvacation pay. Theauditnoted
         hewasnotentitled topaid vacation.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 31 of 156
  Case 9:O8-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 28 Of42




             Thom as'bosswasthen-south Bay City M anagerCorey Alston,whc'wasindicted lastyearon
             severalchargesofgrand theflrelated to alleged abusesofhisoffiee.Alston resigned ayear
             ago afterthe StateAttorney'sOftice accused him oforchestrating aback-room dealwith city
             councilorsthatgavehim $25,139 for498 hoursofunused sicktim e.
             ltappearsAlston and Thom asused the poorcit.yastheirpersonalbank.South Bayhasbeen
             on the state'sfinancialem ergency listofcitiesand tow-
                                                                  tlsin seriousfinancialstraitsforyears.
          Thatm akestheallegationsagainstthem especially egregious, particularly forThomas,an
          elected officialwho representsone ofthecounty'spoorestcities. Hisconstitucntsin RiNriera
          Beach have much in com m on with theresidentsofSouth Bay. Ifhewould takeadvantageof
          those in South Bay,can the residentsofRiviera Beach trusthim ?

          ''Icame there for$15 an hour,''said Thom as,''and allIdidwastry to m ake thatcom m unity a
          little better.''

         Ifthat-strue,Thom asshould beabletoanswerforthe nearly $22,000 hereceived from the
         city.He claim sto havewritten m orethan 15o codecitationsbeforeleaving South Bayin M ay
         2010.h'hy,then,can'  tthecityfind proof?DoesThom ashaveany docum entation?
         Thom asowesitto thepublicto accountforpublicdollars. Andit'
                                                                   sthestateattorney'
                                                                                    sjobto
         m ake him .



         -
             PB PostEditorialBoard
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 32 of 156
  Case 9:08-cv-8O134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 29 of42




                                 EX H IBIT 6
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 33 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 30 Of42



                                       FOR IM M EDIATE RELEASE

                          JURY FIN DS CITY O F R IVIER A BEAC H VIOLATED
                             FANE LOZM AN'S RIG HT TO FREE SPEECH

            Palm stll<.W CircuitCWlp'/Juryllnéb'FaneLozman'
                                                          ,
                                                          î'FirstAmendmentRlkhtswere
            p#z/J/èW #y.theCityofRlvieraBeach

           RIVIERA BEACH,Flw--M arch 5- 2007---M r.Fane l-ozman prevailed againstthe City
           of Riviera Beach, Florida in the city's attempt to evict him from the Riviera Beach
           M unicipalM arina.M r.Lozm anz acting ashisown attorney,stlccessfully argued theFirst
           AmendmentDefensein athreedayjury trialpresided overby l3alm Beach CircuitJudge
           Peter M .Evans Aft
                           .era shortdeliberation the jury rendered the unanim ous verdicton
                                                             .
           M arch 2,2007. Opposing cotlnselforRiviera Beach, M r.George Roberts and M s. Sherri
           Rennerofthe W estPalm Beach law firm , Roberts,Reynolds,Betlard & Ttlzzio offered no
           com m entafterthe verdictwasread.

           The jury returned two fintlings.1)Mr.Lozman'sprotected speech was a substantial
           m otivating factor in the City's decision to term inate his lease.
                                                                              2)Thatthe evietion
           charges brought by the City relating to M r. laozm an's small dachshund were not
           sufficientgroundsforeviction.

           A second trial w ill be held in the near future on M r. Lozm an's counterclainz for
           dam ages.

           M r.I,ozm an,w ho had been previously arrested forexercising hi
                                                                         sconstitutionalrightsto
           f
           tree speech ataCityCouncilmeeting (chargesdropped by theStateAttorney,)argued
            o thejury thattheeviction wasyetanotherstep in the ongoing illegalharassmenthe
           suffercd atthe handsofthe City'selected Ieaders. lIe furtherw enton to show thatthe
           city'st'
                  rtle m otivation forl4iseviction wasretaliatoryasa restlltofhiscontinued exercise
                                                                .
           ofhisFirstAlnendm entrightsatcity councilmeetingsand thestlnshine law suithe filed
           againstthe city. ' lqhislaw suitforced thecity to drop theirthreatofeminentdom ain that
                                                     .
           potentially would have affected thousands of hom es artd businesses, along with
           transferring controlofthecity m arina to aprivate developer.

          The City's fornzer M arina Director testified that the police w' ere contacted o14 ten
          occasionsw hile M r.Lozlnan walked his Ieashed dachshund, ê'l.-adyz''providing further
          evidenceofthe lengthsthe city w entto illegally harassM r, Loznzan.

          Com m elzting on the verdict, Lozm an said ''This isa greatday forthe FirstAm endm ent
          Rights ofthe citizens ofRiviera Beach and a1lAtnericans.. .. tlle City ofRiviera Beach
          needs to becom e partofthe United States, instead ofa dictatorship where its citizens
          who dare to speak up areharassetlby the police, arrestetlatcouncilm eetingsorevicted
          from city owned property.. .''

          FaneLozm an istheChairman ofScanshift.conA,a financialtradillg research firnz
                                                                                        .


          FO R FU RTH ER IN FO RM ATIO N CON TA CT
          M s.ChristineC.Newman/tel.561-310-2263         Nlr Fant?l-ozman/tel.786-251-5868
                                                            .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 34 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 31 of42



                                      FO R IM M EDIATE RELEASE

                         RIVIEM BEACH C ITIZEN FILES CO M PLAINT IN
                          STATE C O URT TO ENFO RC E SUNSHINE LA W

           Havingjustbeendirectedf/1February2007by fsrcllf/CourtJudgeGlennKelley to
           follow State Iaw regarding the Ocean M allrçferea//lzsl,Rikiera Beach f7ty Clerk
                                                                                        -

           Carrie Ward'  sprofessionalbehaviorf:agaîn thesubjectofiitigation.

          RIV IERA BEACH ,FL- M ay 22,2007--- On behalf of Riviera Beach citizenz M r.Fane
          Lozman,a complaintunder Florida'sSunshine Law was filed in the Fifteenth Judicial
          CircuitCourtin Palm Beach County againstthe City ofRiviera Beach, City of Riviera
          Beach CihrAttorney Pam Ryan,and Acting City ofRiviera Beach City Attorney Glen
          Torcivia. The com plaintallegesthatthe defendantshave failed to keep w ritten m inutes
          of the City of Riviera Beachz City CouncilAgenda Review public m eetings, along w ith
          failing to take accurate,coherentz and com plete w ritten m inutes of the twice m onthly,
          regularCity Councilpublicm eetings.

          l
          htis unfortunate thatcitizens are com pelled to pursue legalactions for the purpose of
           aving the CourtdirectCity em ployees to follow State law . City Clerk Carrie W ard's
          m ost recent em barrassing behavior, her failure to voluntarily accept the collected
          signatures for the Ocean M allreferendum , was spotlighted w hen Palm Beach Circuit
         CourtJudge Glelm Kelley ortlered Clerk W'ard to place the two Ocean M allCharter
          Am endm entson theM arch 2007 Ballot. ForM s.W ard to again shirk herresponsibilities
         by failing to eitherkeep written m inutesofpublic m eetings atall, or to im properly take
         the m inutesofthose m eetings thatshe does keep, should serve as a w ake-up callto the
         Riviera Beach taxpayersas tc,how m any hundreds ofthousandsoftaxpayerdollarsw ill
         continue to be squanderetl in legalfees and costs. The professional incom petence of
         City Clerk W'ard in the perform ance ofherofficialduties, along w ith the failure ofCity
         A ttorney Pam Ryan and City Attorney Glen 'Ibrcivia to perform their officialduties in
         seeing that the SunshintaLaw is follow ed by this key City em ployee,
         rem inderthatthe replacem entof key City personnelis the m ostpressii    sjus
                                                                                 ng  mt oer
                                                                                       atncbef
                                                                                            more
                                                                                               ore
         the new ly elected City Counciland M ayor.

         The objective ofthis mostrecentlegalaction is to ensure that the citizens ofRiviera
         Beach w ho calm otattend a public Councilm eeting have the opportunity to review the
         w ritten m inutes and clearly understand whattook place atthe m eeting. The Sunshine
         Law providesno exception forlaziness, indifference,ora lackadaisicalattitudeby a City
         Clerk.

                                                  ###



         FO R FU RTH ER IN FO R M A TIO N CO N TA CT
         Ms.ChristineC.Newman/tel.561-310-2263          Mr.FaneLozman/tel786-251-5868
                                                                              .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 35 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD D ocket05/20/2014 Page 32 Of42




                                  EX H IBIT 7
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 36 of 156
  Case 9:08-cv-8O134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 33 of42




                              STATEM EN T O F G RO UN D S
                    FO R TH E RECALL O F CITY O F RIV IERA BEACH
                       CO UN CILPERSO N CED RICK A .TH O M A S

                          RecallCommitteeChairm an:Mr.lohnBeatty



                  Pursuant to Florida Statute 100.361 (2) (a), the following
            statem ent of grotm ds for the recall of City of Riviera Beach

            Councilperson Cedrick A .Thom as is subm itted this 23rd day of

            Septem ber,2010,to theCity ofRivieraBeach OfficeoftheCtty Clerk,
            Ms.CarrieE.Ward,MasterMunicipalClerk.                   'dll
                                                                       jk
                                                                       '
                                                                        yt
                                                                          ?7
                                                              ocr u'3 21fi
                                                                         t!
                                  S
                                  .ta.
                                   -
                                     tementofGroundê,)
                                                     .
                                                     'C
                                                      j)
                                                       It
                                                        PC
                                                        .-
                                                         .aor
                                                           .
                                                           u (!
                                                              v*.                  >
            CiT ofm vieta Beach Councilperson CeX ick A.Thom as approved
            the assignm ent and lease of a portion of the City m arina for a

            m egayachtrepair facility thatw illtake approxim ately 40 percentof

            the marina properl and willelim inate80 percentofthe publicboat
           slips. Thom as approved this lease,w hich substantially changes the

           historical public use of the C ity m arina, w ithout follow ing the

           m andated com petitive process thathe sw ore to uphold. n e Request

           forProposal (RFP-#2008-001)forthemarinaredevelopment,which



                                                                               1
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 37 of 156
  Case 9:O8-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 34 of42




            &vas based upon the 2008 Citizen's M aster Plan,did notinclude a

            m egayachtrepairfacility. N or did the selected w inning proposalfor

            RFP-#2> m 01. n e RFP process does not allow for a substantial

           change of an accepted proposal w ithout a new RFP being Lssued         .



           n om as had no discre:on to thw artthe com peddve process Thom %
                                                                      .




           therefore com m itted m alfeasance w hen he votetlto lease a poruon of

           the Ci1 m arina for a m egayachtrepair facility withouthaving first

           conducted a competitiveprocessin theform ofa new RFP (open to
           otherbidders)toensurethehighestleasefeecould beobtained.




                                                                              2
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 38 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 35 Of42




                              STA TEM EN T OF G RO UN D S
                    FO R TH E RECALL O F CITY O F RIVIERA BEACH
                         CO UN CILPER SO N BILLIE E.BRO O K S

                          RecallCommiiieeChairman:M r.Jolm Beatty



                 Pttrsuant to Florida Stafute 100.361 (2) (a), the following
            statem ent of grounds for the recall of City of Riviera Beach

            Councilperson Billie E. Brooks is subm itted this D 'd day of

            September,2010,to theCiT ofRivieraBeach OfficeoftheCity Clerk

           Ms.CarrieE.Ward,MasterMunicipalClerk. 6 El1b5
                                                          .
                                  Statem entofG rounam trppr.
                                                         ..
                                                             .
                                                                   s2P :!) 221tp
                                                                            p      y   ''
                                                                                            >
                                                          .
                                                              ,i-
                                                              .
                                                                ,,./
                                                                   .       .Ci:,:;,     ,




           City of Riviera Beach Councilperson Billie E Brooks approved die
                                                         .




           assignm entand lease ofa portion ofthe City m arina fora m egayacht

           repair facility thatw ill take approxim ately 40 percentof the m arina

           property and w ill elim inate 80 percent of the public boat slips.

           Brooks approved this Iease, w hich substantially changes the

           historical public use of the City marina, w ithout follow ing the

           m andated com petitive process thatshe sw ore to uphold n e Rm uest
                                                                       .




           forProposal (RFP-#2008-001)forthemarinaredevelopment,which
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 39 of 156
  Case 9:O8-cv-8O134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 36 ot42




           w as based upon the 2008 Citizen's M aster Plan, did not include a

           m egayachtrepair facility.Nor did the selected w inning proposalfor

           RFP-#2008-001. n e RFP process does not allow for a substanual

           change of an accepted proposal w ithout a new RFP being issued.

           Brooks had no discretion to thw art the com peti:ve process.Brooks

           therefore com m itted m alfeasance w hen she voted to lease a poo on

           ofthe City m arina fora m egayachtrepairfacility w ithouthaving first

           conducted a competitive processin theform ofanew RFP (open to
           otherbidders)toensurethehighestleasefeecouldbeobtained.




                                                                             2
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 40 of 156
  Case 9:O8-cv-8O134-DTKH Docum ent478 Entered on FLSD Docket05/20/2014 Page 37 Of42




                                STATEM EN T O F G ROU N D S
                      FO R TH E RECALL O F CITY O F RIVIERA BEACH
                             COUNCIEPERSON JUDY L.DAVIS
                            ReeallCommttteeChairman:M r.JohnBeatty



                    Pursuant to Florida Stamte 100.361 (2) (a), the following
            statem ent of grounds for the recall of City of Riviera Beach

            Councilperson Judy L.Davisissubmitted this23rddayofSeptembec
            2010,to the City ofRiviera Beach Office oft e i                       M s.fu rrie
                                                                                  !
                                                                                  .$
                                                                                   '; /
                                                                                      .

            E.                                                                &
                 W ard,M asterM unicipalClerk.                       )gy p j 2gjy
                                                           -'f
                                                         .. ..   l
                                                                 r
                                                                 44
                                                                  .1
                                                                   ,
                                                                   1
                                                                   .1
                                                                    ::
                                                                     ,
                                                                     .
                                                     ..,j,,...
                                                     ,

                                   Statqm entpfGroupd,
                                                             î       or gr;. .,




            City of Riviera Beach Councilperson Judy L.Davis approved the
            assignm entand lease ofa portion ofthe City m arina fora m egayacht

           repair facility thatw illtake approxim ately 40 'percentof the m arina

           property and w illelim inate 80 percentofthe publicboatslips. Davis

           approved this lease,w hich substantially changes the historicalpublic

           use ofthe City m arina,w ithoutfollow ing the Inandated com petitive

           process thatshe swore to uphold.The RequestforProposal IRFP-
           #2008-001)forthemarinaredevelopment,whichwasbasedupon the



                                                                                           l
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 41 of 156
   Case 9:08-cv-8O134-DTKH Document478 Entered On FLSD Docket05/20/2014 Page 38 Of42




            2008 Citizen's M aster Plan, did not include a naegayacht repair

            facility. N or did the selected w inning proposal. The RFP process

            does not allow for a substantial change of an accepted proposal

           w ithouta new RFP being issued. D avis had no discretion to thw art

           the com petitive process. D avis therefore com m itted m alfeasance

           w hen she voted to lease a portion ofthe City m arina fora m egayacht

           repair facility w ithouthaving first conducted a com petitive process

           in the form of a new   RFP (open to other bidders) to ensure the
           highestleasefee could be obtained.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 42 of 156
   Case 9:O8-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 39 Of42
  4'




                               STATEM ENT O F G RO U N D S
                     FO R TH E RECA LL O F CITY O F RIV IERA BEACH
                          CO U N CILPERSO N D AW N S.PARDO

                           RecallCommitteeChairmam M r.lohn Beatty


                  Pursuant to Florida Stam te 100.361 (2) (a), the following
            sl tem ent of grotm ds for the recall of City of Riviera Beach

            Councilm m on Daw n S. Pardo is subm itted this 23rd day of

            Septem ber,2010,to the City ofRiviera Beach Officeofthe City Clerk,

            M s.caa ie E.w ard-M asterM unicipalclerk  .
                                                              E El3.
                                                                   ç'
                                                                    ?i
                                                                     ''
                                                                     -
                                                                         3 2û1t/

                                  StatementofGrounds,
                                  .                 ..
                                                     *
                                                     .'
                                                      ;PC
                                                       -
                                                       j.. r gr,
                                                               )- ,
            City of Riviera Beach Councilperson Daw n S. Pardo approved the

            assignm entand lease ofa poruon ofthe City m arina for a m egayacht

           repairfacilil thatw illtake approxim ately 40 percentofthe marina

           properl and w illelim inate80l rcentofthepublicboatslips.Pardo
           approved this lease, w hich m aterially changes the historical public

           use ofthe Ci+ marina,w ithoutfollowing the mandated competidve

           process thatshe swore to uphold.n e RequestforProposal (RFP-

           #2008-001)forthemarinaredevelopment,whichwasbased upon the
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 43 of 156
   Case 9:08-cv-8O134-DTKH Document478 Entered On FLSD Docket05/20/2014 Page 40 Of42
  1'




            20œ Citizen's M aster Plan, did not include a m egayacht repair

            facility. Nor did the selected w inning proposalfor RFP-#2008-001.

            The RFP process does not allow for a substaneal change of an

            accepted pm posalw ithouta new RFP being issued Pardo had no
                                                                 .



            discretion to thwart the com petitive process. Pardo therefore

            com m itted m alfeasance w hen she voted to lease a poreon ofthe City

            m arina for a m egayachtrepairfacility w ithouthaving firstconducted

           a competitive process in the form of a new RFP (open to other
           bidders)to ensurethehighestleasefeecould beobtained.




                                                                              2
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 44 of 156
  Case 9:08-cv-80134-DTKH Docum ent478 Entered On FLSD Docket05/20/2014 Page 41 Of42




                              STA TEM EN T O F G ROU N D S
                    FO R TH E RECALL O F CIn OF RIVIERA BEA CH
                          CO UN CILPERSO N SH ELBY L.LOW E

                            RetallCommitteeChalrman:M r.lohn Beatty



                  Pm suant to Florida Statute 100.361 (2) (a), the following
            statem ent of grounds for the recall of Ci'
                                                      ty of Riviera Beach

            Councilperson Shelby L, Low e is subm itted this D ,d day of

            September,2010,to theCity ofRiviera Beach OfficeoftheCi+ Clerk,
            Ms.Cam'eEW ard,M asterM unicipalClerk.
                        .                                               '  l1-/,
                                                                               ''',
                                                                    %e8 Q ) 241.1
                                                                    -




                                   St:tementofGroupd, !I
                                                       f
                                                       r
                                                       s.ror cq
                                                           ..
                                                              $;jj,
                                                                  .
                                                                  j                     ?
            City of Riviera Beach Councilperson Shelby L Low e approved the
                                                           .




            a% ignm ent of a pordon of the City m arina for a m egayacht repair

           facility that w ill u ke approxim ately 40 percent of the m arina

           property and w illelim inate 80 percentofthe public boatslips. Low e

           approved th1 assi-      ent,which substantially changesthehistorical

           public use of the City m arina, w ithout follow ing the m andated

           com petitive process that he sw ore to uphold       .   The Request for

           Proposal (RFP-#2008-001)forthem arinaredevelopment,which was



                                                                                    1
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 45 of 156
  Case 9:O8-cv-80134-DTKH Document478 Entered on FLSD Docket05/20/2014 Page 42 Of42




           based upon the 2008 Citizen's M aster Plan, did not include a

           m egayachtrepairfacility. N or did the selected w inning proposalfor

           RFP-#2008-001. n e RFP process does not allow for a substantial

           change of an accepted proposalw ithout a new RFP being issued.

           Low e had no disc etion to thw art the com peti:ve process. Low e

           therefore com m itted m alfeasance w hen he voted to assign a portion

           oftheCity m arinaforam egayachtrepairfacilin'withouthaving first

           conducted a competitiveprocessin theform ofanew RFP (open to
           olerbidders).
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 46 of 156




                            IN TH E U N ITED STA TES D ISTRICT CO U RT
                           FOR THE SO UTHERN DISTRICT O F FLO RID A

                             Case N o:08-80134 CIV -HU RLEY/HO PKIN S

     FAN E LOZM A N ,

           Plaintiffp



     CITY O F RIVIERA B EA CH.

           Defendant.




      PLAINTIFF'S M OTION TO AM END COM PLAINT (DE478)W ITH ATTACHED
                                TH IR D A M EN D ED CO M PLA IN T


           PlaintiffFaneLozman mistakenly did notcomply with LocalRule 15. 1when he filed his

     motion forleave to amend his seeond amended complaint(Dkt.478)to add a constitutional
    tbtaking claim.'' The Courtentered an order(Dkt.497)giving Lozman five daysto renew his
    m otion to am end,by attaching the originalofthe proposed am endm entto the m otion.

           Lozman renewshis motion to amend complaint(DE 478 attached as exhibitA),by
    complying with LocalRule 15.1andattaching hisproposed third amended complaint(attached
    asexhibitB).


       D ated:June 12,2014



                                        Fane Lozm an
                                        Pro v
                                            %e
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 47 of 156




     Fane Lozm an
     2913 A ve.F
     Riviera Beach,FL 33404
     spsootrdtttyahoo.com
     (786)251-5868
                                    C ERTIFICA TE O F SE RV ICE

            1, Fane Lozm an,certify that on this 12th day of June 2014,the follow ing w ill receive

     ECF notification once the Clerk filesthis response.


     BenjaminL.Bedard,Esquire
     Bradley Ellis,Esquire
     Roberts,Reynolds,Bedard & Tuzzio,P.A .
     470 Colum bia Drive,Suite 101C
     W estPalm Beach,Florida 33409
     Telephone: 561-688-6560
     Facsim ile: 561-688-2343
     Email:bbedard@rrbpa.com
     AttorneysforCity ofRiviera Beach
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 48 of 156




                                E X H IB IT B

        Proposed Third A m ended C om plaint
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 49 of 156




                            IN TH E UN ITED STA TES D ISTRICT CO URT
                           FOR TH E SO UTHERN D ISTRICT O F FLORID A
                                  W EST PA LM BEA CH D IV ISION

                                                        CaseN o.:08-80134-ClV -H U RLEY/HOPKm S
     FA N E LOZM A N ,

            Plaintiff,



     CITY O F RIV IERA BEA CH ,


            Defendant.




                                  TH IRD AM END ED C O M PLA IN T

            Plaintiff,Fane Lozman suesdefendant,City ofRiviera Beach (ûûCity''),and allegesas
     follow s'
             .

                                           Nature ofthe C ase

            This aetion form oney dam agesisbroughtagainstthe City ofRiviera Beach pursuantto 42

     U.S.C. j 1983,the First, Fourth,Fifth and Fourteenth Amendments to the United States
     Constitution.and underthe lawsoftheStateofFloridaagainsttheCity ofRivieraBeach.

                   This action is brought by Lozm an, a civic activist,againstthe City who used the

    pow erofitsoffice to retaliate againstLozm an tbrhisadvocacy criticizing the City and the Riviera

    BeachCommunityRedevelopmentAgency(CRA)andtheirrespectivepublicofficialsandpolicies               .



    In an effortto silence and diseredit Lozm an, the City through its City adm inistration and police

    departm ent,waged a cam paign againstLozm an thatincluded false arrests and battery, threats,
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 50 of 156




     retaliation and intim idation.These aetionswere taken to silenee Lozm an and to punish him for

     exercising his FirstA m endm entrights.

                                          Jurisdiction and V enue

                    Thisaction arisesundertheconstitution and law softhe United States,particularly the

     FirstaFourth,Fifth,and Fourteenth Am endm entsto the U nited States Constitution.

                    ThisCourthasoriginaljurisdictionoverthisactionpursuantto28U.S.C.j 1331(a)
     and1343,and42U.S.C.j1983,aswellasprinciplesofsupplementaljurisdictionunder28U.S.C.j


            4.      Thisaction isbroughtbefore the'Courtin theSouthern D istrictofFloridapursuantto

     28U.S.C.jl39l(b).
                    A llconditionsprecedentto the m aintenance ofthisaction have been perform ed or

     have occurred priorto its institution including those setforth in Florida Statute Chapter 768.

                                                  Parties

            6.      PlaintiffFane Lozm an wasa residentw ho lived on hisfloating hom e atthe City of

     Riviera Beach m arina,in Palm Beach County, Florida.

                    Defendant,City ofN orth Bay V illage, is a m unicipalcop oration in Palm Beaeh

     County,Florida.

                   The governing body ofthe City isitsC ity Couneil, and a11pow ersoftheCity and the

    determination ofallmattersofpoliey arevested intheCity Council.

                                           G eneralA llegations

            9.     ln 2006,Lozman moved to the City. 11e wasthe ownerofa tloating residential

    structure.also referred to asa tloating hom e,w hich w ashisregistered hom estead, at200 East 13th

    Street,M arina Slip # 452,Riviera Beach,Florida.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 51 of 156




                   Lozm an leased the boatslip forhis tloating hom e from the City M unicipalM arina.

                    Shortly afterLozm an m oved into theC ity m arine in M arch of2006,Lozm an becam e

     awareoftheCity'splannedredevelopmentproject.
                   The redevelopmentplan proposed the taking ofthousandsofhomes(and many
     businesses)throtlghthepowerofeminentdomainandgivingthem,alongwiththeCitymarina,toa
     privatedeveloperforaproposed2.4billiondollarredevelopmentproject.
                   Lozm an m ade publiccom m entsagainstboth theinitial2006 redevelopm entplan and

     three subsequentplans in 2008,2010 and 2012,along w ith the corruption thathe perceived in the

     City governm ent at various City Council and CR A public m eetings between A pril 2006 to

     November2013.ThejointlegislativeauditcommitteeoftheStateofFloridaconductedtwoaudits
     afterLozm an m oved to Riviera Beach. A letterw as sentby the auditcom m ittee to the Palm Beach

     State attorney asking for a crim inal investigation into Riviera Beach and the CRA . The State

     attorneysubsequentlyforwardedthisrequestto federalprosecutors.(attachedasexhibit1,Palm
     Beach Poststories,ké-l-he Fedsfind Riviera''and kilkiviera probe requestcom ing.'
                                                                                     ')
             14.   Lozm an w asrem oved by the police from aregularly scheduled m eeting ofthe CRA

     w hile speaking from the podium during the public com m entsportion ofthe m eeting on M ay 10,

     2006.

                   Lozm an w asthen denied aeeess to a speeialm eeting ofthe C ity Councilfollow ing

     the regularly scheduled CRA m eeting preceding iton M ay l0,2006.

             16.   The m orning afterthe M ay 10 specialm eeting,on M ay 11,2006, Florida G overnor

     Jeb Bush signed into 1aw H .B.l567,w hich signified a com prehensiveoverhaulofFlorida'sem inent

     dom ain laws.Section 73.013etsq.oftheFloridaStatutesprohibitstheuseofem inentdomain inthe

     m annerthe City and CR A proposed foritsredevelopm entplan.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 52 of 156




             l7.    On June7,2006,Lozman tiled alawsuit(attaehed asexhibit2)againstthe City,
     M ayorM ichaelBrow n,and City CouncilpersonsNorm aD uncom be,V anessaLee,Elizabeth W ade,

     Jam esJackson and A nn lles,alleging a violation ofthe G overnm ent-in-the-sunshine Law .

                    OnJune28s2006,theCityheldascheduledclosed executivesession (attached as
     exhibit3).Thismeetingwasrecorded andthetranscriptofthisproceedinghasnow beenmadea
     publicrecord.A tthism eeting,City ofticialsdiscussed the Sunshine law suitbroughtby Lozm an and

     the need to do ûbw hatever we deem necessary''in the defense ofthatsuit, including ûûbackground

     investigation on Lozm an,''the intim idation ofLozm an, and the hiring of a private investigatorto

     determ inew ho w astûfunding''Lozm an-sSunshinelaw suit. Theconsensusofthe elected offieialsto

     targetLozm an,w asdesigned to suppress Lozm an'sexercise ofhisrightsproted ed underthe First

     Am endm entto the U nited States Constitution, inviolationof18U.S.C.j241,thefederalstatute

     whichcriminalizesû:twoormorepersonswhoconspiretoinjury,oppress,threatenorintimidateand
     person in an State...in the freeexercise ofany rightsecured to him by the Constitution orthelaw sof

     the United States.

            19.     In addition,the City wanted to investigate Lozman to determ ine whetherhe was

     connected withanentity calledthePacificLegalFoundation, the Governor,the Attorney General's

     office,thelegislatureandlocalcitizensthattheCityperceived asbeingopposedtotheproposedre-

    developm entby the City. Lozm an's Sunshine law suithad been publicly supported by com m ents

    tkom GovernorBush and Speakerofthe HouseBenseto themedia. Theiroftices,along with the

    AttorneyGeneral'softice,cooperated with Lozman'sattorneyswho preparedtheSunshinelawsuit.

                   Thereafter,Lozm an continued attending public m eetings in Riviera Beach and

    continued to express his view s during the publie portion of such m eetings. H owever,the C ity.

    through its City Council,its various subdivisions and its individual em ployees, em barked on a



                                                                                                     4
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 53 of 156




     campaign ofharassm entand retaliation againstLozm an forthe purpose ofpunishing Lozm an for

     exercising hisrightoffree speech and rightto petition the governm entforredressofgrievancesand

     intim idating Lozm an in an effortto deterhim from exercising such rightsin the future.

                    TheCityCouncilmembersin2006 (MichaelBrown,NormaDuncombesVanessa
     Lee,and Elizabeth W ade)had directed Cityemployees,speeifieallymarinaemployeesand City
     policeofficers,to find m eansofharassing and retaliating againstLozm an. The Citym arinadirector.

     G eorge Carter,took the lead in carrying outthatdirective in 2006.

                    The harassm entand retaliation resulted in Lozm an'sarrestin N ovem ber2006. O n

     N ovem ber 15,2006,during the public com m ents portion of the City council m eeting, Lozm an

     calm ly approaehed thepodium and began m akinghiseom m ents. Unhappy w ith hiscom m entsin the

     U .S.A ttorneys'effortsto crack dow n on public corruption in Palm Beach County, theCity,w ith the

     tacitapprovalofallitseled ed officials, and atthe specific direction ofElizabeth W ade, instrud ed

     law enforcem ent ofticers to arrest Lozm an, withoutprobable cause,and rem ove him from the

     m eeting.Lozm an w ashandeuffed while stillm aking hispubliccom m ents,thusdepriving him ofhis

     rights guaranteed by the FirstA m endm entand his rightsto attend a publie m eeting assetforth in

     Florida'sSunshineLaw.Theentireincidentwascaughtonvideotape.

                    Lozm an w asdragged to the City police departm ent. w ith hishandshandcuffed behind

    hisback,where he w aslocked up in a holding cell.

            24.    TheCityelaimed thatLozm anwasarrested fordisorderlyconduct,trespassing,and

    resisting arrestw ithoutviolence.These chargesw erenolleprossed by thePalm Beach County State

    Attorney on January 17,2007.

                   Thecam paignofharassm entandretaliation againstLozm an did notceaseafterhis

    2006 arrest.Lozm an continued to attendpublic Citym eetingsandwasi)removed from numerous
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 54 of 156




     meetingsbytheCitypolice;ii)physicallygrabbedbytheCitypolicewhileLozmanwasmakinghis
     publiccommentsatthespeakerspodium andtold to sitdown;iii)physicallythrownbytheCity
     police to the City Councilcham bers tloor atthe specifsc direction of City Councilperson D aw n

     Pardo while Lozm an w as m aking hispublic com m ents atthe speakers podium ,'and iv)regularly

     interruptedandthreatenedwithpolieeforeeandremovedfrom publiemeetings(ChairpersonsAnn
     Isles,Elizabeth W ade,Dawn Pardo,Cedrick Thomas)inanattemptto censorLozman's public
     com m ent. The various City CouncilChaim ersons actions gave license to and had the effectofa

     legalim prim aturto thepoliceto treatLozm an asifhehad engaged in unlaw fulconduct. A saresult,

     the poliee departm entbeeam e emboldened and members ofthe police would routinely stop and

     confrontLozm an w hile he w alked hisdog atthe m arina.

            26.    The acts constituting harassm entand retaliation by the Defendantincluded:

                   Agreeing to intimidate Lozman into dism issing hisGovernm ent-in-the-sunshine

     law suitduring the June 28,2006,executive session. This m eeting was attended by City Council

     Chairperson A nn lsles, D istrict 5'
                                        ,City Councilpersons Jam es ttlim ''Jackson, D istrict 4'
                                                                                                ,City
     Councilperson Elizabeth ûûl-iz W adesD istrict3'
                                                    , Ci
                                                       ty Councilperson N orm a Duncom be, District2'
                                                                                                    ,

    ChairPro Tem V anessa Lee'
                             ,M ayorM ichaelBrow n;City attorney Pam alaRyan;and City M anager

    W illiam W ilkins.

                   TheCity'selectedofticialsagreeingto hireaprivateinvestigatortoinvestigateand/or

    follow Lozman during the June 28,2006 executive session.

                   Constantly censoring Lozm an'spubliceom m entsatC ity Counciland CRA m eetings

    on issues ranging from three differentre-developm ent plans for the City m arina, allegations of

    eorruption involving eleded oftieials ofthe City, the m isconduct and incom petence ofkey City

    em ployeesand otherissuesofpublicconcern.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 55 of 156




            d.      A few of the latest exam ples of Lozm an being censored w hile m aking public

     commentsatCityCouncilmeetingsinelude:i)onNovember6,2013,CityChairpergonDawnPardo
     had a City police officerrem ove Lozm an from the speakerpodium priorto his 3 m inute allocated

     timeforpubliccommenthad expired'
                                    ,ii)onOctober16,2013,CityChairpersonCedrickThomas
     stated from thedaisthatLozm an did nothavea FirstAm endmentrighttom akepublic comm ents

     thatdealtwith officialreeords,asreeorded bythePalm Beaeh County Clerk, ofan elected official

     becausetheyportrayedthiselectedofficialinanegativelight;andiii)duringtheNovember13,2013
     CRA m ed ing, Lozm an w as called a tûlkapist, Cross Dressing, Fag, Piece of Shit'' by City

     Councilperson Bruce Guyton in a vile,disgusting,and slanderousattem ptto intim idate Lozm an into

     notm aking his public com m ents,and/orprovoking Lozm an into a physiealconfrontation. Bruce

     Guyton has a history ofviolenee.m entalinstability,DU I, and illegaldrug use. Bruce Guyton had

     been involuntarily com m itted by State CourtJudge D iana Lew is, M entalH ea1th Court,in CaseN o.

     50l996M H 000389X XM A 1B.

                   Arresting Lozm an fordisorderly conduct,trespassing, and resisting arrestwithout

     violence on N ovem ber 15,2006,while Lozm an w as speaking during the public com m ent, non-

     agenda,ata City Councilm eeting'
                                    ,

                   Publicly stating thatLozm an doesnothavea FirstA m endm entrightto speak while

    he w as speaking during the public com m entportion ofa City Councilm eeting on oraboutJanuary

     3,2007,along w ith m any additionalm eetings up to and including the N ovem ber 6, 20l3 City

    Councilm eeting.

                   CausingLozm antobephysically removedbytheCity Poliee, duringCityCouncilor

    CRA public m eetings, from the City Council Cham bers, the City Hallbuilding,orthe Public

    Speakers Podium . These rem ovals oceurred on num erousoccasionsbetw een 2006 to 2013. The
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 56 of 156




     policeweredirectedtoremoveLozmanbytheCityCouncilChairpersons(oractingChailperson),to
     include Liz W ade,Ann Isles,Cedrick Thom asand D awn Pardo. There wasalso an occasion w here

     A ssistantCity M anagerG loria Shuttlesw orth directed thata police officerrem ove Lozm an from a

     City Councilm eeting.

            h.      On October21,2009,Lozmansuffered apainfulphysicalinjurytohispreviously
     repairedhipsocketandpelvis(thereareanumberofserewsandplateinitfrom aninjurysustained
     priorto LozmanmovingtotheCity),afterhewasthrownontheCityCouncilChambersfloorby
     tw o RivieraBeaeh poliee officersatthe D ired ion oftheCity CounvilChairperson D aw n Pardo. The

     City Counciland City attorney Pam ala Ryan laughed as Lozm an lay on the floorin pain. Lozm an

     required avisitto the Emergeney Room wherehisinjurywasdiagnosed,hewasprovidedpain
     medication,andheusedcrutchesuntilhisinjuryhealed.
                   Constantly censoring Lozm an'scom m entsatpublic m eetingsoftheC ity Counciland

     CR A from 2006 through the present.

                   Filing asham federaladm iralty action thateulm inated in the seizure and subsequent

     destruction by the City ofLozm an'sfloating residence atthe City M arina. The U .S.Suprem e Court

    reversed the lowercourtsand ruled thatLozman's tloating hom ewasillegally seized by theCity

    becauseitwasnotavesselsuhiecttoFederalAdmiraltyjurisdiction.
                   lllegally conducting a self-help eviction, by turning off Lozm an'selectricity to his

    tloating hom e betw een A pril 1, 2009 to April20,2009.

            1.     lgnoring State Court Judge Peter Evan's order of A pril l7, 2009,to restore the

    electricity to Lozm an'stloating hom e.

           m.      Repeatedly harassing Lozman by having City m arinaemployeePierre Sm ith go to

    Lozm an'stloating hom e and take picturesthrough thew indow ofLozm an, and som etim esLozm an
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 57 of 156




     and hisfemalecompanion,in variousstagesofundress.

                    Repeatedly having the City policeharassand threaten Lozm an w hen he w ould walk

     hissm alldachshund on a lease around the City m arina;and

                    lllegally turning off the eled ricity to friends of Lozm an's w ho resided on their

     personalvesselsatthe City m arina. The City did thisin a selective m anner, because the electricity

     w as notturned offto othertenants'vessels.



        COUNT l- 42 U.S.C.y 1983 AGAINST DEFENDANT CITY O F RIVIER A BEACH .

            27. ThisisanadionforinjunctivereliefandfordamagesunderTitle42,U.S.C.j1983.
            28.     The allegations ofparagraphs l through 26 are incorporated by reference into this

     Countand are re-alleged asiffully setforth herein.

                    Lozm an has a rightto petition the governm ent underthe FirstA m endm entofthe

     Constitution oftheU nited StatesofA m erica,arightto exerciset'
                                                                   ree speech atpublic m eetings, and a

     rightto be free from unreasonable seizuresundertheFourth Amendm ent, as applied to the states

     through the Fourteenth A m endm ent.

            30.    Lozm an's rights to petition the governm entand exercise free speech includesthe

    righttoengageintheseconstitutionallyprotected actswithoutfearofretaliationbythegovernm ent

    againsthim .

            3l.    The C ity,through its CouncilM em bers, determ ined thatthe City should retaliate

    againstLozm an forhisexereiseofhisrightto petition thegovernmentand rightto free speech.

            32.    The City,through its Council M em bers acting for itself and by direction to its

    subordinateboards,inspectors,officersand employees, hascom m enced an intentionalcam paign to

    harassand intim idateLozm an.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 58 of 156




                       AtalltimesallegedinthisCount,theCityanditsindividualCouncilM embers,board

     m em bers,inspectors,ofticersand em ployeesacted undercolorofstate law and in the effectuation of

     the policiesofthe CouncilM em bers.

                      The City deprived Lozm an of rights seeured to him under the First and Fourth

     Am endm ents of the Constitution of the U nited States of Am erica,ineluding Lozm an's right to

     petition thegovernm entforredressofgrievancesand hisrightto speak outfreely on public issues.

     and to be free from unreasonable seizures.

                      TheCity accom plished thisdeprivation by harassing and retaliatingagainstLozm an,

     w ith Lozm an being personally arrested twice. Lozm an's floating hom e w as also arrested and

     destroyed by the City in asham federaladm iralty aetion. Theeondud com prisingthe deprivation of

     Lozm an'sconstitutionalrightsincludebutare notlim ited to- the conductalleged in paragraphs 1to

     32 above.

            36.       TheCityintended by eachoftheseactionstopunishand retaliateagainstLozmanfor

     exercising his FirstAm endm entRightsand to deterLozm an and othersfrom exercising such rights

     in the future.

                      This policy to punish and silence Lozm an for his public criticism of the City, its

    elected ofticials,and key em ployeesw asdesigned and carried outby the City as a governm ental

    entity,andbytheindividualCitypolicy makersatthehighestlevel, w ith thepurpose ofstopping and

    punishing Lozm an from engaging in constitutionally protected politicalspeech.

            38.       Each ofthe actionssetfol'
                                              th in paragraph 1to 37 ofthis Third A m ended com plaint

    was taken pursuant to a custom ,policy, or decision m ade by a governm entalofticialw ith final

    polieym aking authority.

            39.       A sa resultofthe City'scam paign to harass, retaliate and punish Lozm an,Lozm an



                                                                                                     10
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 59 of 156




     hasbeendeprived ofhisrighttopetitionthegovernmentandexercisefreespeechassecured under

     the First A m endm ent to the Constitution of the U nited States of A m erica and to be free from

     retaliation,and unreasonable seizure ofhisperson and property.

                    A s a resultofthe City's cam paign to harass, retaliate and punish Lozm an,Lozm an

     hasbeen deprivedofboth substantiveandproceduraldueprocessguaranteed undertheFourteenth

     Am endmentofthe Constitution ofthe United StatesofAm erica.

                    A sa resultofthe City's cam paign to harass,retaliate and punish Lozm an, Lozm an

     has been deprived of equal protection guaranteed under the Fourteenth A m endm ent of the

     Constitution ofthe U nited States of Am erica by virtue ofthe City's discrim inatory and disparate

     treatm entofLozm an in the application ofitspoliciesp procedures,regulations,ordinancesand other

     law s.

                    A sresultofthe actionsand conductofdefendants, Lozm an hasno adequate rem edy

     atlaw andissufferingirreparableinjuryasaresultoftheCity'songoingcampaigntoharasshim,
     whichinjtlrycannotberedressedintheabsenceofapermanentandmandatoryinjunctionrequiring
     the City to end itseam paign ofintentionalharassm entand retaliation againstLozm an in responseto

     Lozman'sexerciseofhisrightsoffreespeechandtopetitiontheCity fortheredressofgrievances.

                    TheactsoftheCity described abovewerem aintained undercolorofthelaw ofthe

    StateofFloridaand underthecoloroftheindividualelected officialsrespectiveofficesasofficers

    and agents ofthe State ofFlorida and ofthe City.

              44.   The acts of the City's elected officials were so obviously wrong in the light of

    preexistinglaw,thatthesepublicofficialsknowinglyviolatedthelaw , becausethey had know ledge

    ofthe law and took an oath to uphold it.

                    Lozm anhassuffereddamageasaresultofDefendant'sviolationsofhisCivilRights,


                                                                                                   11
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 60 of 156




     including'
              .

                            Injurytohispersonthatwassustainedafterbeingthrownonthetloorbytwo
     police officers. at the direction of City Chairperson Pardo w hile Lozm an was m aking public

     com m ents. Lozm an isonly seeking nom inaldam agesnotto exceed one dollar.

                            Dam agesforthedestruction ofLozm an'stloating hom e,fum itureand related

     contents as a resultof City CouncilpersonsPardo,Cedrick Thom as and Judy Davis'wrongful

     actions.

                           Attonw ys'feesand eostsincurred by Lozm an asaresultofand in responseto

     the City's deprivation of Lozm an'seivilrights.

                           Attorneys'feesand costsincurred by Lozm an in responseto each individual

     w rongfulactcom m itted by the City in furtherance ofthe City's overallschem eto harass, retaliate

     against,intim idate,and punish Lozm an.

                           Attorney'sfeesand costsincurred by Lozman atthe district,appellate, and

     U .S.Suprem e Coul'
                       tin the related adm iralty action.

            46.     Lozm an had previously em ployed the law fil'm ofCobb and Coleto pursue thisaction

    and hascontracted to pay a reasonableattorneys'fee,forwhieh feesand the costsofthisadion,

    Lozman isliableundertheprovisionsofTitle 42 U .S.
                                                    C.j1988.
                   Lozm an hasprovided the City notice pursuantto Fla. Stat.j768.
                                                                                28(6).



                                     C O IJNT 11-FA LSE A RR EST
                          (StateTortofFalseArrestagainstCityofRivieraBea)
            48.    This is an action forcom m on-law false arrest.

            49.    The allegationsofparagraphs 1through 26 are incorporated by reference into this
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 61 of 156




     Countand are re-alleged as iffully setforth herein.

            50.     Thisisacausefordamagesforatleastthe nominalamountof$1.00,exclusiveof

     costsandattorney'sfees.LozmandeferstotheCourtastothejuryinstructiononhow todetermine
     the dam ageelem entofthe false arrestforLozm an'slossofliberty, and forLozm an having a record

     for this arrest. There w as not excessive force that required m edical or m entaltreatm ent, thus

     rem oving com pensatory dam ages from the Court's analysis.

                   O n oraboutN ovem ber15,2006,Lozm an w asarrested ata City Couneilm eetingfor

     speaking during the public eom m entportion ofthe m eeting.

                   Lozm an wasrem oved and arrested atthedirection ofthe City Councilperson W ade,

     with the approvalofCouncilm em bers D uncom be and Lee.

            53.    TheC ity,through itspolicedepartm ent,intentionally arrested and detained Lozm an

     withoutanarrestwarrantand withoutprobablecausein thattheCity knew orhadreasontoknow at

     the timeofhisarrestand detention thatLozm an had notcom mitted any crime.

                   Lozm an was charged w ith disorderly conduct, trespassing. and resisting arrest

     withoutviolenee.

            55.    Stateprosecutorsdeclined to prosecuteLozm an.

           56.     The City's detention of Lozm an w as unreasonable and unwarranted by the

    eireum stances in that Lozm an w as a resident of the City w ho w as law fully speaking at a City

    CouncilM eeting and who had notcomm itted any crime.

           57.     Lozm an's arrestwaspublicized in the City and throughoutPalm Beach County in

    printand television coverage.

           58.     Lozm an w asarrested a second tim e on assaultand battery afterhe confronted m arina

    em ployee Pierre Sm ith who had been repeatedly taking picturesthrough the window ofLozm an's
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 62 of 156




     floating hom e. This arrestwasnolle prossed by the State attorney priorto arraignm ent. Lozm an

     w as served paperwork that he had been arrested, yet w as never taken to a police station for

     processing? Lozman also seeksdam auesforatleastthe nominalam ountof$1.00 forthisarrest,

     exclusiveofcostsandattorney'sfees.LozmandeferstotheCourtastothejuryinstruetiononhow
     to determ ine the dam age elem entofthe false arrestforLozm an having a record forthisarrest.

            59.     Lozm an hasprovided the City notice pursuantto Fla.Stat. j768.28(6).



     C O UN T 111-STA TE TO R T O F BATTER Y AG AIN ST TH E CITY O F R IV IERA BEA CH


                    Lozm an realleges paragraphs 1 through 23,and incorporates them by reference

     herein.

            65.    The City is responsible forthe eonductofthe police officers in itsem ploy.

            66.    O n repeated occasions betw een 2006 to 2013, including November l5,2006,and

     Oetober 21,2009,the City police,while acting in the course and scope oftheir duties as poliee

     officersemployedbyCity,did,withoutlegaljustitication,batter,touchandstrikeLozmanwithout
    the consentofLozm an and againstLozm an's will. Theseincidentshappened during City Council

    and CRA m eetings.

           67. Asaresultofsuchactions,Lozmansuffereddamagesthatincludedbodilyinjuf.
                                                                                  yand
    physicalsuffering,butarelimitedto$1innominaldamages.See$45(a).
           68.      Lozm an hasprovided the C ity notice pursuantto Fla. Stat.j768.28(6).



                 C O UN T IV - STA TE RIN TENTIO NA L TO R T''O F C O N V ER SIO N
                            A G A IN ST TH E C ITY O F RIVIER A BEA C H

           69.     The City im properly arrested Lozm an's floating hom e to include hisfurniture and



                                                                                                     14
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 63 of 156




     otherpersonalproperty with the approvalofCouneilpersonsPardo, Thom asandDavis,on asham

     federaladm iralty com plaint.Lozm an'stloating hom e wastow ed from the City to M iam i, afterthe

     CitylostaStatejurytrialtoevictLozman'sfloatinghomefrom theCitymarina.
              70.    Lozm an dem anded the return ofhis floating hom e to the City m arina and the City

     refused.

                     The City purchased Lozm an's floating hom e ata U .S.M arshalauction. The City,

     aftersuccessfully preventing Lozm an from stopping thecontsrm ation ofsale,m aliciously destroyed

     Lozm an'sfloating hom e attaxpayerexpense.

              72.   TheCity perm anently deprived Lozm anofhispropertyinavindictiveactiontotry

     and stop Lozm an from exercising his First Am endm entrights, to include continuing to fightthe

     City'sattem ptto turn overthe City m arina overto a private developer.

                    The U .S.Suprem e Courtreversed the low ercourtsand ruled thatLozm an'sfloating

     homewasnotsubjecttofederaladmiraltyjurisdictionandshouldnothavebeenseized.
            74.     Lozman isentitledtodamagesto inelude:i)thefairmarketorreplacementvalueof
     histloatinghomelpfurnitureandotheraccessories,'ii)livingexpensesfrom April2009toNovember
    20l3,
        .and iii)hislegalfeesatthedistrict,appellateand U.S.SupremeCourt.

                    LozmanhasprovidedtheCitynoticepursuanttoj768.28(6).
                    CO UN T V - :ETA K IN G ''A G A IN ST TH E C ITY O F RIV IER A BEA CH

            76.     Lozm an realleges paragraphs 1 through 23, and incop orates them by reference

    herel
        'n.




         'lThefraudulentrepresentationstheCitym adetosecurethearrestwarrantintheadmiralty action,may
                                                                                                    -i
                                                                                                     ustifyan
    awardofthereplacem entvalueasopposedto thefairmarketvalueofLozman'stloating hom e.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 64 of 156




                    Obviously Lozm an hasa elaim againsttheCity pursuantto the Fifth and Fourteenth

     Am endmentsoftheUnited StatesConstitution,foruûtaking''Lozman'sprivateproperty, hisow ner

     occupiedresidence(a.k.a.tloatinghome),anddestroyingitwithoutjustcompensation.
            78.     M oreim portantly,Lozm an also hasa elaim forthe unlawfulûitaking''againsttheCity

     underthe Florida Constitution,which prohibitsthe taking ofprivateproperty tûexeeptforapublic

     purpose and w ith fullcom pensation therefore paid to eaeh ow ner.''A1
                                                                          4.X.j6,Fla.Const.
                    The City seized and destroyed Lozm an-shouse in a taking action, so thatthe north

     side oftheC ity m arina w hereLozm an'stloating hom ew asm oored could beredeveloped from tixed

     docksto floating doeks.

            80.    LOZM AN isentitledtodamagestoinclude:i)thefairmarketvalueofhisresidence,
     furniture and other accessories as com pared to other tloating hom es in South Florida'
                                                                                           , and ii)his
     legalfeesandcostsatthedistrict,appellateand U .S.SupremeCourtthatwereexpended to reverse

     the City'sillegaladm iralty arrestofLozman'sresidence. The reversalby the Suprem e Courtnow

     makestheCityliableforthetakingofLozman'stloatingresidencewithoutjustcompensation             .




            81.    LozmanhasprovidedtheCitynoticepursuanttoj768.28(6)


                                  DEM A ND FO R T RIA L BY JU RY

            Lozmanherebydemandsajurytrialastoallissuestriablebyajury.


           W HEREFORE,LozmanrespectfullyrequeststhatthisCourtenterjudgmentandaward:
                          A permanentinjunctionthat:i)LozmanhastherighttopetitiontheCityfor
                   redress of grievances'
                                        ,the right to speak freely, withoutthreat of arrest or being

                   battered by thepolice,duringthenon-agendaportion ofpublicm eetings'
                                                                                     ,to be free
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 65 of 156




                     from the City'spolicy ofretaliating againstLozm an form aking hiscom m ents;to be

                    free from unreasonable seizures; and the sam e rights guaranteed under the

                    Constitution while Lozm an lives in his tloating hom e,as he w ould ifhe lived in a

                    land based house.

                    B.      Nom inaldamagesnotto exceed $1foravisitto the VA em ergency room
                    afterbeing thrown on theCity CouneilCham berfloorby two RivieraBeaeh police

                    officers w hile Lozm an m ade hispublic com m ents.

                            Atleastnominaldamagesnottoexeeed$1.00 fortwofalsearrestsorahigher

                    dollaramountasdeterminedby ajury. Lozman deferstotheCourtastothejury
                    instruetion on how to determ inethe dam age elem entofthefalse arrestsforLozm an's

                    lossofliberty,and for Lozm an having a record forthesetw o arrests. There w asnot

                    excessive force that required m edical or m ental treatm ent, thus rem oving

                    com pensatory dam ages from the Court's analysis.

                    D.      A m onetary sum representing either the fair m arket value or the actual

                    replacem ent2 cost of Lozm an's floating hom e to include its furniture and access

                    ramp;speeialdamagesforLozman'shousing expensesand related costsbetween

                    April2009 to October 2013 for having to move into alternate housing afterhis

                    tloating hom ew asillegally seized'
                                                      ,and Lozm anfscosts.expensesand attorneys'fees

                    thatwereineurredatthedistrid eourt, appellateeourt,andtheU .S.Suprem eCourtin

                    Lozmanv.TheQ'ity çlfRiviera Beach,568U.S. (2013).




        0ThefraudulentrepresentationstheCitymadeto securethearrestwarrantintheadmiralty action
                                                                                              , mayjustifyan
    award ofthereplacementvalueasopposed tothefairm arketvalueofLozm an'stloating home.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 66 of 156




                               Lozm an'scosts,expensesand attorneys'feespursuantto 42 U .S.
                                                                                          C.j1988in
                      thisj1983 caseto include Lozman'stwo successfulappealsofthe Court'stinal
                      dism issaland fee orderatthe Eleventh Circuit.

                               Such furtherand otherreliefasthe Courtdeem snecessary and proper.



     D ated:June 12s2014


                         By:

                               Fane Lozm an
                               Pro Se




     Fane Lozm an
     2913 Ave.F
     Riviera Beach,FL 33404
     spsootrdt
             'àilyalloo.coln
    (786)251-5868




                                                                                                   18
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 67 of 156




                                    C ER TIFICA TE O F SERV IC E

            1,Fane Lozm an,certify thaton this l2th day oflune2014, lservedtheforegoing viaem ailto

     Benjamin L.Bedard,Esquire
     Bradley Ellis,Esquire
     Roberts,Reynolds,Bedard & Tuzzio,P.A .
     470 Colum bia D rive,Suite 101C
     W estPalm Beaeh,Florida 33409
     Telephone: 561-688-6560
     Facsim ile: 561-688-2343
     Email:bbedard@ rrbpa.com
     Attorneys for City of Riviera Beach


    Jeffrey M .Bell,Esquire
    Bank Lopez G asslerPA
    1200 S.Pinelsland Road,//170
    Plantation,Florida 33324
    Telephone: 954-440-1332
    Facsim ile: 954-533-3051
    Email: jbell@ bankerlopez.eom
    Attorneys forD efendantsA nn lles,
    Elizabeth W ade,G eorge Carter,
    G loria Shuttlesw orth,M ichaelBrown,
    N orm a D uncom be and V anessa Lee
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 68 of 156




                                E X H IB IT 1
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 69 of 156




        The feds find R iviera

                                                                                        Click-z-tuisten

        Palm Beach PostEditorial

        Tuesday,August28,2007

        A yearago,three state Iegisl
                                   ators,city residents and this newspaperasked foranswers to this
        question:How accountable are Riviera Beach and its Comm unity RedevelopmentAgency forthe
        public's money?

        Some credible answers finally arrived in December. The state auditorgeneralcited 25 counts of
        financialmism anagement,ranging from unpaid sales taxes to consul  tants being pai
                                                                                         d m illions of
        dollarsforundocumented work.

                   . - . *. .        Notm uch has happened since then,unless one countsthe factthat
        Editorials. letterse      whi
                                  thelu.
                                      e no one can saywhy -orwants to say -no one is denying that
                                        s.attorney's office is reviewing the Riviera Beach audi
                                                                                              t
        colum ns and D on W right findings This comesafterfourformerPalm Beach County elected
                                            .

        cal-toons                   officials are in prison orheaded there on corruption charges. lfthere
                                    are similarproblem sin Riviera Beach, the city should be the Justice
                                    Depadment's new area target.
        dioo
        (1(,I.i()i()-tlz$           Andrew Lourie,supervisorinthe U.S.attorney'     s office in W estPalm
                                    Beach,sai  d only:'Itisa public audit.W e're revi
                                                                                    ewing i t,''Butthe
                                    corruption question iswhy the audi tinitiallywas referred to Palm
        Fark                        Beach County State Attorney Barry Krischerin February by the
                                    state's JointLegislative Audi
                                                                ting Committee.''Now thatithas been
        Newsvine                    bum ped up to the federalIevel, itseem s atIeasta hintthatthe state
                                    attorney found something ofconsequencej''said Rep.CarlDom ino,
                                    R-lupiter,the auditing committee'sco-chairman. ''IfIwas being
        reddi
            t                       investigated and Iheard ithad been referred to the feds, Iw ouldn't
        Technorati                  be very happythatday.''

                                    The auditgetting federalscrutiny examined the ci  ty's and the CRA'S
        Facebook                    booksfrom Oct.1,2004 to Nov. 30,2005,Rep,Domino and others
                                    had cited,to name one exam ple, the $1.2,,m illion paym entto W est
        More                        Palm Beach construction consultantKim ley-Horn and Associates
                                    forservicesthatw ere notdocum ented. In fact,finding No.14 was
        whatarethese?               thatthe CRA ''paid $5,
                                                        ,,612,
                                                             891forvarious consul
                                                                                ting and
                                    professionalservices during the auditperiod ,,
                                                                                 w jtjjout
       accomplishingtheprojects''outlined inthe city's2001redevelopmentplan.
       Riviera Beachofficials had tri
                                    ed to finesse such questi
                                                            ons by anointing a citi
                                                                                  zens review
       comm ittee.Some city representativestraveled to Tallahassee this yearin a vain attem ptto
       convince Rep.Dom ino's com mittee thatcontinuing state scrutiny wasa waste oftime and
       taxpayers'm oney.City officials maintained thatthe expenditurescited in the auditwere
       documented,and thatno one would be stupid enough to try anything crim inal.

       Here'
           s anotherthing thathas happened since Iastyear:Mostofthose offi
                                                                         cials are outofoffi
                                                                                           ce.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 70 of 156




        R iviera probe request com ing
        By Dara K am
        Palm Beach PostC apitalBureau
        Tuesday,February 06,2007

        TALLAHASSEE - Statelawmakersarepushing for a grand jury to
        investigate a scathing auditofR iviera Beach and its C om m unity
        R edevelopm entA gency after a com m ittee m eeting on M onday exploded
        w ith accusations ofw rongdoing between the m ayorand city council.

        The JointLegislative A uditing C om m ittee,co-chaired by R ep.C arl
        D om ino,R-lupiter,w illsend an officialrequestto State Attorney Barry
        K rischer,w ho has received the auditbutnotacted on it,to Iook into
        questionable paym entsto consultantsand possible fraud,Dom ino said.

         Dom ino and othersquestioned,am ong otherthings,a $1.2 m illion
        paym entordered by R iviera B each M ayor M ichaelB row n to K im ley-llorn
        and A ssociates,a W estPalm Beach construction consultant,for services
        thatw ere notdocum ented.

        Brow n,w hose office is Iargely cerem onial,and four city councilm em bers
        attended the com m ittee m eeting,w here Iaw m akers dem anded to know
        w hatR iviera Beach taxpayers gotin return for at Ieast$7 m illion in grants
        to redevelop blighted areas.

       ''H ow did thishappen w ithoutany oversightby the C ITA board,and w hat
       are you going to do aboutit?''Rep.Susan B ucher,D -W estPalm Beach,
       repeatedly asked R iviera Beach C ity M anager W illiam W ilkins.

        ''Idon'tknow how ithappened.l don'tknow ,''he finally responded.

       Law m akerscould w ithhold state m oney from the city and the C R A butdo
       nothave authority to conducta crim inalinvestigation.

       Brow n told the com m ittee that,despite the audit's findingsthatthe C R A
       had accom plished Iittle,ithad helped to increase property valuesin the
       once econom ically depressed area.

       B utC ity C ouncilw om an Liz W ade threw a bom bshellatB row n as the
       m eeting ended,insisting on addressing the com m ittee.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 71 of 156




        ''A few ofyou are saying things Iike 'W here's the fraud? W here'sthe
        m oney'?'

        ''Ifyou think som e ofus have spentthe m oney,then Iw illsign offon
        pushing the investigation forward.Ifyou think thatm oney w asw asted,
        yes.lam one ofthe elected officialsw ho said w e have spent$7 m illion,and
        w e don'thave a cotton-picking thing to show for it,''a Iivid W ade said
        afterthe com m ittee unanim ously voted to form ally ask K rischer to
        investigate.

        ''I'm tired of hiding anybody,and I'm calling a spade a spade.W e have
        done w hatw e had to do.The C RA directorthatcaused those problem s is
        gone.The cheerleader thatw asIeading us on w ith regards to how m uch he
        thoughtw as rightshould notbe sitting up here,''W ade said,referring to
        B row n,w ho shook his head.

        ''The $1.2 m illion? A nonm em ber ofthe board pulled thatcheck and gave
        itto a consultantw ithoutany backup.O ur auditorsthen sentit back to us
        and said there's no docum entation and there'sno backup forthis check-''

        W ade said B row n also pulled five checks the C ItA ,m ade up ofthe five city
        councilm em bers,had previously approved.

        Dom ino,R-lupiter,pointedly asked state auditor generalauditm anager
        Jam es Dw yerw hether his reportindicated fraud or crim inalbehavior.
        Dwyersaid theIack ofdocumentationjustifyingtheexpendituresraises
        questions aboutw hether they served a public purpose.

        M ike E dm ondson,K rischer's spokesm an,said that prosecutors w illreview
        the com m ittee's request.Edm ondson stressed thatthe inquiry m ustrise to
        acriminalIevelinorderforittoreach agrand jury.
       ''lfit'ssim ply to repeatthe w ork ofthe auditors,thatobviously w ould be a
       futile undertaking,''Edm ondson said.''H ow ever,ifthe auditing com m ittee
       hasspeciflc concernsaboutcrim inalconductthatgo beyond itsfindings,
       thatw ould be som ething our office w ould look at-''

       C ity C ouncilC haim om an A nn Iles said she w as disturbed by the
       com m ittee'svote on the investigation but''ifthat'sgoing to elim inate alIof
       the speculation and the fingerpointing and aIlthatkind ofstuff, w e w ould
       go through itto getalIofthatcleared up.I say go ahead w ith it-''
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 72 of 156




        M onday'saccusationsdeepen theriftbetween Brownand a majorityofthe
        city council,three ofw hom are up for reelection on M arch 13.

        A fter the m eeting,Brow n accused W ade oflying.

        ''W hatshe said w as totalIies.Falsehood.There'sa saying,w hen people get
        desperate you have to ask w hy.Y ou Iook atm inutes,discussions,the closed
        executive sessions.

        ''The person thatw asreally bringing up aIIofthese issues that are
        identified in the auditis m e.Tw o yearsago the politics changed so that
        three people started m aking decisionsw hich are renected in thisaudit,''
        B row n said.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 73 of 156




                                EX H IBIT 2
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 74 of 156




                                                 THE CIRCUIT COU RT O F TH E
                                                 FIFTEENTH JUDICIAL CIRCIJIT IN
                                                 AN D FO R PALM BEACH COUNTY ,FLOIU DA

                                                 cassxo * 2< V q< t+ .
     FANE LOZM AN and
     VIRGINIA M ERCHAN L
             Plaintiffs,



     CITY OF RIV IER A BEACH ,
     a m tmicipality in the State ofFlorida;
     M ICHAEL BROW N ,in hisofficial
     capacity asM ayorofthe City ofRiviera
     Beach;and AN N ILES,ELIZABETH
     W ADE,JAM ES JACKSON,NORM A
     DU NCOM BE, and VAN ESSA LEE in
     theirofficialcapacitiesasm em bers ofthe
     CityCounciloftheCity ofRivieraBeach,

             Defendants.


                                            CO M PLA IN T

             Plaintiffs,FAx LOZM AN AN D W RGINIA M ERCHAN T, suetheD efendants,CITY OF

     IUVIER A BEA CH,M ICHAEL BROW N ,A NN ILES, ELIZABETH W AD E,JAM ES JACK SON ,

     NORM A D UNCOM BE,and VANESSA LEE, and state:

                                      NATU RE OF TH E C ASE

                    This is an action for injtmctive and declaratory stem m ing from Defendants'
     w rongfulaotionsin violation ofFlorida'stKsunshineLaw ,''fotm d in section 286.011oftheFlorida

     Stamtes(2005).




                               ASTIGARRAGA DwvlsM uLulqs& GROSSMAN,2A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 75 of 156




                                    JURISDICTION AND VENUE

            2.     Jurisdiction overtheinstantaction isvested inthisCourtpursuantto articleV , section

      5(b),FloridaConstitution,andsections86.011and286.011,FloridaStatutes(20054.
            3.    Venue is proper in Palm Bcach County pursuantto section 47.011,as D efendants

      reside in Palm Beach County and the com plained-ofconductcomprising this action occurred in

      Palm Beach Colm ty.

                                                PA RTIES

           4.     PlaintiffFane Lozm an isan individualresiding in the City ofRiviera Beach, Palm

      Beach County,Florida.

           5.     PlaintiffV irginia M erchanthas ow ned and worked in the Sea ShellCity shop in

      ltivieraBeach forthelast30 years.The Sea ShellC ityshop hasbcen inherlàmily'spossession for

      over50 years.

                  DefendantCity ofm viera Beach isam unicipality w ithin the m eaning ofpursuantto

     ArticleV l11,Section 2 ofthe FloridaConstitm ion, and islocatcd in Palm B each County,Florida.

                  DefendantM ichaelBrown isthe M ayorofthe City ofltiviera Beach and residesin

     Palm Beach Colmty,Flotida.

                  DefendantAnnIlesisamemberandtheChairwomanoftheCity CounciloftheCity

     ofRiviera Beach and residesin Palm Beach Cotlnty, Florida.
                                                          .



           9.     DefendantElizabeth W ade is a m em berofthe City Councilofthe City ofRiviera

     Beach and residesin Palm Beach County, Florida.

           10.   DefendantJam es Jackson is a m em ber ofthe City Councilofthe City of Riviera

     Beach and resides in Palm Beach County,Florida.




                               ASTIGARM GA DAVISM ULLINS& G ROSSMAN ,2A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 76 of 156




                    DefendnntN onna Duncom be isa m em beroftheCity Councilofthe City ofRiviera

      Beach and resides in Palm Beach County,Florida.

             12.    D cfendnntVancssaLee isam em berofthe City CounciloftheCity ofRivieraBeach

      and residesin Palm Beach County,Florida.

                                        G ENERA L ALLEG ATION S

                                      The M av 10.2006 SpeciglM eetin:

             13.    On M ay 10,2006,the Riviera Beach City Councilpresided overa specialm eeting

      rclating to the 'f om munity Redevclopm ent Plan''proposed by the Riviera Beach Com m unity

      RedevelopmentAgency (G<CRA'')(Gtthe M ay 10 SpecialM ecting''). Underthe Conlmunity
      Redevelopm entPlan,certain partsoftheCity ofRivieraBeach thathadbeen declared <tblighted,'''

      including bothbusinessesand residences,would be tol'n dow n to m ake room fornew construction.

                    fn thecourse ofthe M ay 10 SpecialM eeting, Resolution 59-06 waspassed (A tnze .




      and concctcopy ofResolution 59-06 isattached asExhibit1.) ThroughResolution59-06,theCity

      of Riviera Beach and the CRA entered into a contract with V iking Harbor Properties LLC

      (çdviking'')(the çsMay 10,2006 Agreemenf'). (A true and correctcopy oftheMay l0,2006
      AgreementisattachedasExhibtt2.)
                    Undcrthc term softhe M ay 10,2006,Agreem ent,Viking w as granted the rightto

      develop thoscportionsoftheCity ofm vieraBeachthathad been declaredçiblighted,''and tothat

     end,V iking w as to attem ptto ptlrchase the businesstsartd hom es in the tçblighted''area. In the

      eventViking wasunable topurchaseany ofthosebusinessesorhom es, how evor,theM ay 10,2006

     AgreementprovidedthattheCityofRivieraBeachandtheCRA plcdgcdto'tprovideallreasonable

     1ThiswasaccomplishedthroughaseriesofresolutionspassedbytheRivieraBeachCityColm cil,the srstofthosebeing
     Resolution 130-84in 1984.




                                  ASAIGAIGAGADAVB M ULLINS& G ROSSMAN,2A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 77 of 156




      cooperation ...in assisting Developer(Viking)in securing ownership orcontrolofParcels
      necessary fortheimplementation oftheproject,includingexercising powersofeminentdomain.''
      (Agreement,jl5).
                                     The SunshineL:w R equirem ents

            16.    Article 1,Section 24oftheFloridaConstittztion m andatesthatffallm eetings. . . ofany

      collegialpublicbodyofacounty (orjmunicipality ...atwhichofficialactsaretobetakenorat
      which publicbusinessofsuch body isto betransacted ordiscussed, shallbe open and noticedtothe

      Public-''

                   Consistentwith Article 1,Section 24,theFlorida Legislatureenactedsection 286.01l

      oftheFloridaStatutes(theEûstmshineLaw'').UndertheSunshineLaw,ftgalllmettingsofany
      board orcommission ...ofanycounty gorlmunicipalcorporation,orpoliticalsubdivision ...,
      exceptasotherwiseprovidedin the Constittztion,atwhich officialactsareto betaken aredeclared

      to bepublic m eetirtgsopen to the publicatalltim es,and no resolution, rttle,otform alaction shall

      be considtred binding txceptastaken orm ade atsuch m eeting '
                                                                  'J.
                                                                    7=.
                                                                      .




                   The Sunshine Law further specifies thatthe t<boar'
                                                                    d or com m ission m ustprovide

      reasonablenoticeofallsuchmeetings.''JZ (emphasisaddcd).
            19.    Partofthe ççreasonableness''ofa notice forpurposes oftbe Sunshine Law isan

      adequate and mm m biguous description ofthe purpose ofthe m eeting so thatthe public ism ade

      adequatcly aware ofw hatis intended to be addressed atthe m eeting.

           20.     Also relevantto thc'treasonableness''ofnotice forpum osesofthe SunshineLaw is

     the fonn in which the notice is distributed to the public. A lthough a noticc need notreach every

     citizen in orderto bedeem ed Ktreasonabley''thenoticem ustnonethelessbem ade in such aw ay that




                                 M TIGARRAGAD AvisM ULI-INS& GRossNtm ,EA .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 78 of 156




      an average citizen who may have an interestin the m attcrlikcly would receive it.

           2l.     A notice also m ustbe m ade suftk iently before a m eeting govem ed by tlte Sunshine

      Law in orderto beconsidered Itreasonable''forpurposes ofthe Sunshine Law .

                            No Reasonable Notice for the Resolution 59-06
                      M qd ipt W asG iven,in Contravention ofthe Sunshine Law
                         -




                   TheSunshineLaw appliestotheResolution59-06meeting,asitwasa'%meetingofga1
      boardorcotttmission ...ofany county kor)municipalcorporation,orpoliticalsubdivision''within
      the m eaning ofsection 286.011 ofthe Florida Statutes.

           23. Despiteitconcerningthemostimportantredevelopmentprojectsinthehistoryof
      RivieraBeach,theonly notice ofthespccialm eetingconcerningResolution 59-06 thatw asgiven to

      the residents ofRiviera Beach wasthe posting ofpaperson the outside and inside ofthe Riviera

      BeachCityHallontheaftenloonofM ay9,2006(theEdNotice''),24hoktrsbeforethemeeting.(A
      trueandcorrectcopyoftheMay9,2006,NoticeisattachedasExhibit3.)
                   The language of the N otice failed to convey the significance ofthe events ofthe

     Resolution 59-06 m eeting.Thedescription oftheResolution 59-06 m eeting, in itsentirety,simply

     rcad:<tlzhiscussion - City Property and Redevelopm ent.''

                  The N otice,with its reference to ttD iscussiony''was m isteading and insufficientto

     conveytoanaveragememberofthepubliethattlw CityCouncilwouldnotjustbeengagedina
     'çdiscussion''butw ould ratherbe voting on,and enacting,Rcsolution 59-06.

                  The language ofthe Notice was ftzrtherm isleading and insufficientto convey to an

     averagem em berofthepublicthatthtCity Counoilw ouldbevoting to exercise itsem inentdom ain

     againstpropeo owned by citizensofthe City ofRiviera Beach. TheNotice simply stated that
     ttcityPropertf'would be<*discussed,''when,inrealitymost,ifnotall,ofthcpropertythatwas




                                ASTIGARPM Am vlsM ULLINS& GROSSMAN,l!A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 79 of 156




      subjectto ûGdiscussion''and covered in Resolution 59-06 belonged notto theCity,butto the
      residentsofthc City - residentssuch asPlaintiffVirginia M erchant.

           27.     The language ofthe N otice also wasm isleading in thatan average m em berofthe

      public reading itw ould have no idea whatwas actually being Qtdiscussed''in relation to ttcity

      Property and Redevelopm ent.''By w ay ofexample,one ofthenum erousprovisionsin thelengthy

      M ay l0,2006 Agrcem entprovided thatViking w ould be given m anagem entcontrolofthe City of

      RivieraBeachM arina.(Agreement,Paragraph3).
           28.    A llow ing V iking to m anage the M arina,which w as deeded to the City ofRiviera

      Beach in the 1930sto be used asapublicm arina,isavitaldecision thatislikely to have arealand

      direct im pact on hundreds of individuals,including Plaintiff Fane Lozman, who resides on a

      houseboatthatis docked in the M arina.

           29.    UponinformationandbelietlVikingintendstolargelyrestrictuscofthcM arinafora
      m ega-yachtbusinessand thusLozman w illhaveto andotherindividualsw illhaveto relocatetheir

      boats.

                  Potentially hundredsofotherconcernedm arinatenantssim ilarly weredeprived ofan

      opporttmity to voice theirconcernsoverV iking being granted m anagem entcontrolofthe M arina

      because they werenoteven aw arethattheM ay 10 SpecialM eeting w astA ing place,letalone that

     theCity Councilw ould bevoting on such an im portantissue aswho m anagesthe M arina.

                  TheN otice alsow asnotreasonableforthepup oscsofthe Sunshine Law becauseof

     them annerin which itwaseffected. The sole meartsofdistribution ofthe Notice wastheposting

     ofpaperson theoutside and insideoftheRivieraBeach CityH allon the aûem oon ofM ay 9,2006.




                                M 'TIGNIRAGA DAvlsM unulxs& G Rosss- ,ltA .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 80 of 156




            32.    This N otice was insufficientto apprise the public ofthe m om entous agenda to be

      discussed attheM ay 10 SpecialM eeting. The only persons likely to have leam ed ofthe N otice

      would have been those who by happenstancepassed by the City Hallon eitherM ay 9 orM ay 10,

      2006.Even asto those persons,theNoticclikelyw ould have been ineffectivedueto itsvagueand

      m isleading language asdescribed above.

           33.     The Notice furtherfailed to satisfy the Sunshine Law 's reasonablenessrequirem ent

      because itw as issued on the eve ofthe M ay 10 SpecialM eeting. The N otioe w as posted on the

      bulletin board outsideCityH allsom etim e in theafternoon ofM ay 9, 2006,thatis,barely morethan

      24 hoursahead ofthe Resolution 59-06 m eeting,which occurred in the evening ofM ay 10, 2006.

     There thus was insufficient time for the residents of m viera Beach to learn of, and m ake

     arrangem entsto attend,the M ay 10 SpecialM eeting.

           34.    lndeed,asfurtherevidence thatthe Notice w asinsufticientin term softim ing isthe

     factthattheN otice provides,$%ln accordance with the A m ericans with Disabilities Actof 1990,

     persons needing specialaccom m odations to participate in the proceedings should contact the
                                              .




     LegislativeA ide at561-845-4095 no later than 96 hourspriorto theproceedings '
                                                                                  '(emphasis
                                                                                        .




     added).
           35.    ThattheM ay 10 SpecialM eetingwasinsufticientlynoticedalso issupported bythe

     factthatthe meeting did notappearon thecalendaroftheCity ofRivieraBeach'swcbsite. (A tnle

     andcorrectcopyofthecalendarisattachedasExhibit4.)W hiletherewasanentryinthecalendar
     foraGCRA M eeting''on M ay l0,2006,thisçeferred to aregularly schedulcd m eeting and notthe

     M ay 10 City CouncilSpecialM eeting,which wasdistinctly separate from the CR A m eeting and

     which,by virtueofbeing am eeting involving theRiviera Beach City Council,would have attractcd




                                M TIGARRAGADAVISM ULLINS& GROSSMAN,ItA.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 81 of 156




      alargeraudience than a CRA m eeting.

            36.    Forinstance,thePledgeofAllegiance isread atthebeginning ofeachRivieraB each

      City Councilmeeting,and the PledgeofAllegiancew asread atthebeginning oftheM ay 10 Special

      M eeting even though italready hadbeen read atthestartoftherepzlarly scheduled CRA m eeting.

      Likew ise,there were separate agendas forthe CRA m eeting and the M ay 10 SpecialM eeting.

            37.    Indeed,itwas atthe regularly schedulcd CRA m ceting thatPlaintiffLozm an first

      learned thattheRiviera Beach City Councilwould be m eeting to take action on Resolution 59-06

      im m ediately follow ing the CRA m eeting. Plaintiff Lozm an was barred from attending the

      Resolution 59-06 m eeting,however,asD efendantAlm Ileshad theRivieraBeach policethrow him

      outofthe CRA m eeting.

           38.     After being thrown out ofthe CRA m eeting,M r.Lozm an was prevented by the

      Riviera Beach police,atD efendantIles'behest,from attending the M ay 10 SpecialM eeting.

           39.    Thus,despitethe magniG de ofallow ing V iking m anagem entcontrolovertheM arina,

      PlaintiffLozm an wasnotperm itted to voicehisconcem sattheM ay 10 SpecialM eetingbecausehe

      was barred from even attending the m eeting.

           40.    PlaintiffM erchantw asnoteven aw areofthe M ay 10 SpecialM eeting orResolution

      59-06untilM ay 12,2006,w hen shereceived viahand-delivery aletterfrom a law firm representing

      VikingthatstatedherpropertywassubjecttoseizureundertheCityofRivieraBeach'seminent
      dom ain pow ers.

         TheLack ofR easonable Notice Rezardine the SpecialM eetina W asN otAccidental

                  The failure on the partofD efendants to providethe residentsofRiviera Beach w ith

     reasonable notice oftlw Resolution 59-06 m eeting was done intentionally.Resolution 59-06 was




                                AS
                                 -HGABM GADAVB M I
                                                 JLLIN:& GAOSSMAN,2A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 82 of 156




      passed dm ing arushed 59-06 specialm eeting.Specialm eetingsarenorm ally usedforem ergencies

      and otherutlusualoccurrences. Otherthan trying to hurriedly passResolution 59-06 priorto the

      signing of a new law on M ay 11,2006,no reason existed for dcciding such a crucialevent as

      Resolution 59-06 in a specialmeeting w ith barely 24 hours'notice.

            42.    The very nextday afterthe M ay 10 SpecialM eeting,M ay 11,2006,FloridaGovem or

      Jeb Bush signed into law H .B.1567,which signified acom prehensivcoverhaulofFlorida'sem inent

      dom ain laws.Section 73.013 etseq.oftheFlorida Statm esprohibitstheuse ofem inentdom ain for

      economicdevelopmentpumoses(astheCommtmityRedevelopmentPlan wouldpropose),and
      spccifically statesthat

            N otwithstanding any otherprovision of1aw ...the state ... orany otherentity to
            w hich the powcrofem inentdom ain is delegated m ay notexercise the power of
            em inent dom ain to take private property for the purpose of preventlng or
            eliminating slum or blightconditions.... (Tlaking private property forthe
            purpose ofpreventing or elim inating slum or blight conditions is nota valid
            publicpurpose or use forw hich privateproperty m ay betaken by em inentdom ain
            anddoesnotsatisfythepublic-purposerequirementofSection6(a),ArticleX ofthe
            State Constitution.

     Fla.Stat.j73.014(2).
           43.     H .B.1567,w hich passed both housesoftheFloridaLegislatureon M ay 4, 2006(less

      tllanaweekbeforetheadoptionofResolution59-06),wasprecipitatedbytheJune23,2005,United
      StatesSupremeCourtdecisioninKelqy.New London,125S.Ct.2655(2005),inwhichtheCourt
      heldthatthattheFederalConstitution didnotprohibitcitiesandstatesto usetheirpowerofcm inent

      dom ain to seize private property and transfcrthe property to private developers forpurposesof

      econom ic developm ent.

           44.    The decision w as greeted w ith popularoutrage in Florida and elsewhere, and as a

     result,Florida legislatorsim m ediately bcgan w orking on proposalsto protectthe state'sproperty




                                  M TIGARRAGA DAVISM ULLINS& GROSSMAN,2A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 83 of 156




      om zersfrom the use ofem inentdom ain foreconom ic developm entpum oses    .




           45.     A gain,the tim ing ofthe enactm entofResolution 59-06 w as likely notcoincidental.

      The CP.A had,on M ay 25,2005,issued arequestforredevelopm entproposalsforthe areasofthe

      City ofRivierA Beach thathad been designated asGblighted''and which thus supposedly needed

      redevelopment.O n Septem ber14,2005,the CR A selectedthe redevelopm entproposalsubm itted

      by Viking even as itknew that deliberations in the Florida Legislature over H .B. 1567 were

      ongoing.

           46.    Then,H .B.1567 w aspassed by both housesofthe state legislam re on M ay 6, 2006.

      D efendants knew thatpassage ofthe billw as only a m atter oftim e and thattheircontroversial

      CommlmityRedevelopmentPlanwasinjeopardy.
                  Thus,in an attemptto l'usikthrough Resolution 59-06 before H .B . 1567 w assigned

      into law by Govem orBush,Defendantsfeigned com pliancew ith the SunshineLaw 'srequirem ent

      thatpublic m ectings be reasonably noticed to the public by posting the vaguc and misleading

      Noticein frontofCity Hallbarely24 hotu'
                                            sbeforetheResolution 59-06meeting.

           48.    ln doing so,Defendantshoped thatthe interested residents oftheCity ofltiviera

      Beach would notbeaware ofthe M ay 10 SpecialM eeting.

           49.    '
                  rhat is exactly w hathappened. The m rnout atthe M ay 10 SpecialM eeting w as

     uncharacteristically sm allforan eventofthism agnitude and controversy simply becauseresidents

      ofRivieraBeach weredeprived oftheirrighttobeawareofandtlmsattend thism eeting.

           50.    Thesmalltum outprovidedDefendantstheadditionalbenetitofnothavingtoprovide

     forsuitable accom m odation forthe large ntlm berofconcerned residents thatsurely would have

     attended tliem eeting had they received propernotice ofit
                                                             .




                                ASTIGABM GADAvlsM tu m s& GRosssM ,l!A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 84 of 156




           51.     Pursuantto section 286.011,m eetings such as theM ay 10 SpecialM eeting m ustbe

      Ropen to thepublic.''W hen such m eetingsareheld atfacilitiesthatcan accom m odate only asm all

      num ber ofpeople even though a large tum outm ay be reasonably expected,the public access

      requirem entofsection 286.011 isviolated.

           52.     Thatthe Resolution 59-06 m eeting also wasunneccssarily hasty and ill-alm ounced is

      additionally borne outfrom the factV iking and CR A had been negotiating on the detailsofthe

      Com m unity Redevelopm entPlan for approxim ately seven tnonths,and yethad failed to reach an

      agreem entby the tim e H .B.1567 passed both housesofthe state legislature.

           53.     Atthatpoint,Viking and CRA realized thatsomething had to be donc imm ediately

      before Govem orBush signed H .B .1567 into law. So,theM ay 10 SpecialM eeting wasquickly -

      and quietly - called up so thatan agreem ent- even ifa draflone -could be reached before H .B.

      1567 was signed into law.

           54.    Indeed,theM ay 10,2006 Agreem entitselfindicatesthattheonly concern onthe part

      ofDefendants was having something in writing before H .B.1567 was signed, as the A greem ent

      acknow ledges thata ''draftofa definitive developm entand disposition agreem entand exhibits

      thertto tmbodyingm ore com pletetennshasbten provided by DevelopertotheCity andCltA , the

      termtslofwhich mustbeagreed to by the partiesand approved by theCity and CRA.''
     (Agreement,Page5)(cmphasisadded).
                  Defendantsthushoped to passR esolution 59-06 in aquick and quietm annerso asto

     setup a constitutiottalchallenge againstthe applicability ofsection 73.013 etseq.ofthe Florida

     St.atutesto the Com m unity Redcvelopm entPlan.

                  Thatthe Resolution 59-06 m eeting was noticed im properly in an effortto bypass


                                                   11



                                  M TIGARRAGADAusMULLINS& GROSSMAN,2A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 85 of 156




        section 73.013 etseq.also isseen from othercircum stancessurrounding thetim ing ofthe m eeting.

        Throughoutthe lcgislative session of 2005-2006,the City ofRiviera Beach and Viking lobbied
    '
        lawm akersforan am endmentgiving the cityuntil20l0to operateunderthe currentem inentdomain

        law.Thatamendmentfailedtopass,andVikingwasthreateningtoabandontheproject.Aftera
        seriesofclosed-doorm eetingswith Viking,however,thedecision to vote on,and pass,Resolution

        59-06 in a hasty and hushed m annerwas made.

                       lndced,DefendantM ayorM ichaelBrown wentso farasto say on M ay t0,2006,tbat

        tiW e know ourenem y is now the legislature.Q'z

                       Thehasty passageofResolution 59-06 alsow ascruciaiforv ikingbecause,underthe

        M ay 10,2006 A greem ent,the CRA pledged to ftprovide allreasonablecooperation''to Viking in

        securing the land needed to cany outthe Com m lm ity Redevelopm entPlan,ç'including exercising

        powersofeminentdomain.''(Agreement,Paragraph5).Vikingwasparticularlyconcernedabout
        how m uch itwould take to buy thepropertiesin question afteritlearned thatW ayneH uizenga, Jr.,

        the son ofbillionaire and M iam iDolphins owner,W ayne H uizenga, had been buying the sam e

        propertiesthatVildng needcd atprem ium prices,som etim esm m e than triple itsappraisalvalues.g
                                                                           '




                59. The newfound leveragein the form ofan em inentdom ain threatthatViking gained

        tbrough Resolution 59-06explainswhyVikingcame down signitkantly ontheoffersmadetothe

        residentsofRiviera Beach to purchase theirproperty.

               60.    Forinstance,onM ay 12,2006,M s.M erchantreceived viahand-delivery aletterfrom

        2W illiam Cooper. Jr.,RivieraTliestoOutwitLaw BvSiûnincPaet(Palm Beach Post,M ay 1l,2006),availableat
        h* i//ww .palmbeachpost.coe news/contenflocalnews/epaper/zoo6/os/ll/clb rbviking osll.html?cxtype=rss&
                                                    -                                  -
        cxsvcmf&cxcaml7tl&stvisitejJune4,2006).                                -
        3W illiam Cooper,Jr.
                           ,ln Riviera.EminentDomainBolstersDeveloper'sOfferstoBuv(Palm BeachPost,M ay28,
        2006),availableat
        htY://ww . palmbeachpost.coe pbccentavcontenvlocalnews/epaper/2006/05/28/c1b rbland 0528.h% 1(last




                                      AA IGARRAGADAVISM ULLINS& GROBMAN,2A.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 86 of 156




      alaw firm representingVikingthatstatedherpropertywassubjecttoscizureundertheCityof
      R ivieraBeach'sem inentdom ain powcrsin accordancew ith theçtcom munity Redevelopm entPlarf'

      im plem ented by the CRA .The letterfurtherprovided thatStin an attem ptto acquireyourproperty

      w ithoutdelayortheneed foreminentdonzain,''Vikingwasoffeting$800,000 forM s.M erchant's

      property.(A trueandcorrectcopy oftheM ay 12,2006 letterisattachedhereto asExhibit5.)
             61. VildngoriginallyofferedPlaintiffM erchantalmost$2millionforhcrproperty.(A
     tnleandcorrectcopy oftheOfferisattached hereto asExhibit6.) Afterthe May 10 Special
     M eeting,VikingofferedPlaintiffM erchantonly $800,000. SeeExhibits5andé.
             62. Vikin.
                      g later withdrew the 20 outsunding buy-out offers itm ade to Riviera city

     residents. V iking,however,has m ade itclearthatthe withdraw ing ofthe offers does notm ean

     V iking w illhesitate to rely on em inentdom ain to obtain the propertiesin question.

            63. V iking's w ithdraw of the buy-out offers occurred the day aqer G ovem or Bush

     questioncd whetherthe notice forM ay 10 SpecialM eeting com plied with the Sunshine Law4 by

     statingthathettdtidln'tthinktheyhavealegalbasis''andçtttqort
                                                                zshtoexpropriatepeople'sproperty
     justseemsunseemlytome.,>5
            64. FloridaHouseSpeakerAllan Bensehasjoincd GovemorBush in questioningthe
     legality ofthccity'scontractwith V iking.StateRepresentativeDean Cnnnon hasexpressedsim ilar
     COnC      6
         er11S.



     visitedJune4,2006).
     4AlanGomez& WillimnCooyer,Jr.,RivieraBeachMasterDevelooerPullsOfferstoBuvPrivateLand(Palm
     BeachPost,Jlme2,2006).avajlableat
     h% ://www.palmbeachpost.com/pbccentral/contenflocalnews/epaper/2006/06/02/m la DO> lN 0602.h% 1(last
                                                                                -

     visitedJune4,2006).
     5AlanGomez,BushFiresSalvo in StateBattleW ithRi  viera(Palm BeachPosqJune1,2006),availableat
     ho ://w w.palmbeachpost.coe sute/contenvsute/epaper/zoo6/o6/gl/m la Do> m 0601.htm tlastvisitedJune7,
                                                                     -
     2006).
     6RivieraBeachM asterDeveloperPullsOfferstoBuyPrivateLand,supranote4'
                                                                        ,W illiam CooperaJr.,& AlanGomez,

                                                      13



                                  M TIGARM GA DAVISM ULLINS& GROSSMAN,2A .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 87 of 156




                                               PreconditionsM et

            65.     PlaintiffsLozm an and M erchanthave m etand fulfilled al1applicable preconditions

      and requirem ents forthebringing ofthis action.

            66.     Plaintiffs Lozm an and M erchanthave retained the 1aw 517:1 ofA stigarraga D avis

      M ullins& Grossm an,LLP,to enforceapplicableprovisionsoftheFloridaSunshine Law,which is

      seekingitsreasonableattorneys'feesinthiscasepursuanttoj286.011,Fla.Stat.(2005).
                                                      Count

                    V iolation ofthe Sunshine Law by Failing to ProvideR easonable
              N otlce oftheM av 10.2006 M eetine irlW hich Resolution 59-06 W asPassed

                    Plaintiffsreallege paragraphs 1 through 66.

            68.     D efendantscalled andpresided overan officialspecialm eeting relating to Resolution

      59-06 on M ay 10,2006,w ithoutftlrnishing the public w ith reasonable notice ofthe meeting as

      requiredundertheSunshineLaw,â286.011,Fla.Stat.(2005).
            69.     Pursuantto the actions taken atthe M ay 10,2006,m eeting,and in particular the

     execution ofthe M ay l0,2006 Agreem entthrough the passage ofRcsolution 59-06,Defkndants

     haveexpressed aw illingnessto exercisethepow erofem inentdom ain to seizetheprivateproperties

      ofRiviera Beach residents.

              W HEREFORE,Plaintiffsdem and:

            70. A.            A declaratolyjudgmentthatthedefendantshaveviolatedtheSunshineLaw
     by holding a specialm eeting on M ay l0,2006,regarding Resolution 59-06,and then voting and


     RivieraEvcine30PropertiestoCondenm (Pa1m BeachPost,M ay 12,2006),availableat
     ho ://- . palmbeachpost.coe localnews/contenvlocalnews/epaper/2006/05/12/c1b riviera 05l2.html(lastvisited
     June4,2006).


                                                        14



                                   M TIGARRAGADAVB M ULLINS& G ROSSMAN,EA.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 88 of 156




      passing Resolution 59-06,w ithout furnishing the public reasonable notice of the m eeting as

      requiredundertheSunshineLaw,9286.011,Fla.Stat.(2005).
              B.      A declaratoryjudgmentinvalidatingal1actionstakenattheM ay10,2006,special
      m eeting in violation ofsection 286.01loftheFloridaStattztes,including invalidating Resolution 59-

      06 and the M ay 10,2006 Agreem ent.

                      A permanent injlmction prohibiting Defendants from taking any action in
      furtherance ofResolution 59-06 and theM ay 10,2006 Agreem ent.

              D.      An award ofcosts and atlorneys'feespursuantto section 286.011 ofthe Florida

      Statutes(2005),anda11applicablerulesandstatutes.
              E.      Alladditionalreliefw hich the Com'
                                                       tm ay deem necessat'y orappropriate.

                                                  Respectfully subm itted,

                                                  A STIGARRAGA D AVIS M ULLINS
                                                        & GRO SSM AN ,P.A .
                                                  AttorneysforPlaintfg
                                                  701BrickellAvenue
                                                  16thpjoor
                                                  M iami,Florida 33131
                                                  Te1:(305)372-8282
                                                  F .,(30 )372-8202
                                                               '
                                                                ./   J'        ..      ,.
                                                                                       F
                                                                                    z'z.
                                                                                        ,'
                                                              .g
                                                         x.

                                          By:             '               é'
                                                                          %m
                                                  EdwardM .M ullins
                                                  FloridaBarNo.863920
                                                  Karene TygenhofN o.817031
                                                 Florida BarN o.817031
                                                 D ouglasG iuliano
                                                 Florida BarNo.15282


     D ate: June 7,2006




                                                    15



                                 M TIGARRAGADAvlsM ULLINS& G RGSSMAN,IW
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 89 of 156




                 LOZVAN andMERCHXNT v.CITY OFRIVIERA BEACH
                                    EM -
                                       IIVIT 1
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 90 of 156




                                           RFAX' tm ON * .5*.




                             A REYG UPON oF TI14 qfl qoyNcyu p: 41$E
                             Ft**%
                             J/r#'4FRI
                                     A> * ** #1 P## BG H:    CGN
                             tN- w t  m> VBO
                                         cp)x A 41$: MAYPF ANP:<*
                             S iiq N           x #= > - sz A>
                             Hk* 4R M> *crryt
                                            y*cRA 1+ v* N@ l    NtG
                                '''
                                  ''           u.ciAN/ .PROM BK / AN
                                                    ,
                             -     1'
                                    %' '
                                       nA4*.
                    ypprp-@e#>#?e et:>W4
                                       ,
                                       2w:-
                                        + rfheAmmpv Ro we mixAvspqy('cfm
                                              tw Atw- for#,%
                    wètsàfw et-        tw m Fenje                                   ,   terp- wmrror
                        *:- +.
                             *:* 4 fn* 14/** P*- - , ucc (**                             4.Nubmp!e a

                    l   -     w>'     rgjo oàjurjjewpytwns+ jqpo o m p.
                    #G< f+cR
                        e xe ie W W 4'pqysM#W a ,/oW*pmontd llm% w w  usw
                                                                       aoj
                      wl
                       R*:Rm > ' * :ayàp
                                       oem ve g:- i
                   4     . % do a u ééj
                                      ol
                                       .s yyy.gyy ' va.
                                                .
                                                      -< '
                                                        .
                                                          -oj ysjyyptm-
                                                                    jjyw a  .   .
                   *     :e
                      Y:
                   e *+ I
                        *'.
                        ' Y M ,#e;e :
                                    de@ > me h!eW. > aN
                             k*A t- %r- ig4x- e loiWùk  4lw- prefe
                                                                        .
                             .




                       m.
                        l>
                   o- o e .mpr
                                  *4:+4-        4* weospgoglee- cmo rv more
                             e e.
                                eppre dW *epe*% %mm'
                                                  ' tb
                                                     'dyd
                                                      ' a'
                                                         w o'fthe+ 1- 1*
                   c> NOFXR WWM MG ITRF- - A m V'
                                                ICtrYGQBG DF%*
                       osswi- - lewtxàO cot,
                                           im,,aoRox-rè-
                   *   M >,   4)
                               .TIG ew * C> >t4*gl
                                                 - thq'
                                                      * re ciT C11 Y
                       *'+'###M >      t:#e O W œ .tM .:> Ve :.
                       lM * ,
                            , 'f
                               o,z .> :-' ,)wjIuk
                               .                .e.             .   .       .           ujmw iz pw



                       PAKN* 14A#Gpv
                                   .a>làx xsyofsMawza ,
               é
               #
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 91 of 156




                 LOZM AN andM ERCHANT v.CITY OF RIVtERA BEACH

                                    EM D IT 2
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 92 of 156




              JNTERNATyPNAL gA+ R jjypxvgjaopc xT ppo& cT
                         WEVX XA #EAUsayrjzgRm A




                                                   A<jRISEM fZNT
                                                 :Y AND AMDNG


                                              crrY os P4NA RA ssxcyj
                                                         (1'C11)#')
                                                                  '
                      RIVIKRABKA4:IIFCt/A IIWITYQFTIIZVKLOPM ENT AGKNCY
                                                     (.'Agp:oyw)
                                                          ANp
                                 vp4.
                                    jNGvlwLr
                                           rrAApxp4kmjpm Tm l u .
                                                                r
                                                   ' '

                                                   Cbev,.
                                                        lqptuo




                                              DAte4At1ofMxy1Q11è.29:$



      m AANpca'
      ,       k-
               .u'Nvtaajyflfqrtl-
                                Atat.g
                                     . m us
                                          ç
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 93 of 156




                                  AF      ,T
                 tG RNATIONALHARBPR VTLLAGE-CITY f:l?RW IXIIA BEACH

                 THISAGREBMIZ
         amon:t   NûCitypfRikie'.
                                N P(the 'Agtemeatf')is> dethis19t
                                                                 h.dayofMay,2006,bylmd           -.
                               ra!e'chsFlbHdk amtmiçipalcorporate ullingunderthclawsof
         11,: StateefFllrida('
                             theOCtfyW).thqRivttraBeaçhCommœlityRtdvvetopttwnjAgene ,
         ptlblk lmdyoxtx- 'p dml
                               .
                                  itk- d puavwt* Clmptçr1*3siktAllkqpll W p.(tlle ''CRAOa
             eage
         ( 1 rioya)àz:dwktt'glwintHkrbtktpyomttfkw t-tc-akozluxliIxite,
         otr                                                 s          dIloilitycompfk
                                                                                      tp
             1el
               'Dev:lolwitx.
                                              .
                                               j
                                               ,ju
                                                 gjj'
                                                    ;!
                                                     jjrq%
                                                         jjI
                                                           .jIr..I
                                                           . K.
                                                                 jjjg
                                                                 $>
                                                                    .j;?jj .
                                                                           7A. .'4*.gj

              W'
        Cotmcilx).HEREAS , tlw City Cotm çil nf tlw City oç Riviora BO ch, Rockla (''city
                                                            ,

                   adoppdRtktjluttpn Kp.ià4-N.onAu4tfst7                                 ,   1::4,fndiqg a ''bligllcd ar4a'
                                                                                                                          '
        exisss in the City, as dAfinrtl k% cv pter 163. Fta. S'   tats.
                                                                      a ànd snding Ibat the
        wbébllltafion,tqmstrvatiot (S reevl etklvtwbtof tlw qreas fomtd te be blijhtld îs
        neœ bqz.y and ilix'
                          he ihwfkytoffht. public,11*xltl1.satk'
                                                               tyxm orals orthe walfare of thv
        msidpnts6/1.
                   4theCity,an4' ilhdimgattd 4:4t:t.1% .ltneed fos.aeommuntty rezvvelopntenç
                                                                                         .


        a'
         gvncy to ftmctiop withln,ttle ç'
                                        gy i'
                                            tzordyrto tartv outthe community rqdvvelofzmvnt
              ofPad 1g:a mpie.
                             t-16:,I* pStâtvisnd

        4c       W HEREAS,theCi1 Coenciladaptqd R:svldiym 191-85 tm S<ptpmber4, 19:5,
         liii
            '
            xningtheprlorf1n411144.apxtdxhiWttt?pdrV œk.
                                                       alvlV Ithtcitygshligbfed;and
                wlltBltF.Asxpktw CltyC.  oundlradppttdRwoluuonNo-1:.3-:9tm Decqmbqr9
                                                                .

        1999.expAndlng'   t
                          l* uz'e.whhin11
                                      .    + Cityakbll'                                    ,
                                                      l tedto.hldude,portiensofsillûrlsland;
                 WHEREAS.the C'
                              lty Ctyuncslkdopted nrdinmnce No. 2893 on Ftbnmty 21. 2* 1
        oopsrming1lttcrçatlop 0'
                               ttv Ageap.tglifyh!g,al1privr'awiionst
                                                                   fevnbyth4Arlpy.
        ssn=tjscr-'tllhhje,xrul- g'        a#''' ' iégtlpjxilphklk-      > o N Ae v;n,v    h
        f'
         iltdm   WtIFXG S:iiiew       ac'îly tt%tvmilqt ll ppld tl'  lsolutimlNok%V9'1onJtme6, X ûl.
                                                                       .
              lgI t%i   yiW  edè
                               zl
                                '@  f At
                                      r     s
                                            v  ts
                                                r i
                                                  iWt z1 # V   y j inSktltl
                                                                #ùfkM         pn16334:(:),,F11.$$at&,and
        r
        f
         t
         .
          h3dk34b
          d
              pùki(lt
                    jàùt)mï
                         ,
                           iiàv
                          Ft
                              ké#z
                               &i t
                                  s
                                   k.,
                                     f
                                     ,xr
                                       &ktz,
                                          .t
                                           #Il*u'
                                           ,
                                           z
                                              t>:411:,
                                                   4441:t1
                                                         4
                                                         1
                                                         t,.11
                                                          :  1k1*' 4 *xjojsjywojjsujsu.yuNmyjou
                                                                  47                         .

        (e                                                     r1. ce vttttesàà exjarttloàoffhtprevbmty
                                                                                                      .

                     eonme mxedlqlmentae htlmisYiand
                 W HEREAS.ont'
                             lvtpherIC
                                     9,2Qû).thçCcm'
                                                  tisstledFiualSummaryJudgmmttintllt
        <
        Bâ$eoftheRivlea BvaohU'èmmunitykmdçvtloptt      tentAgency vs The City tzfRivit'm                 .

         ,-'
           e fc,aseNo.CA,41441l-AX C1t4u11CotlttxFiltti,
                                                       e JttdidulCîxuk M m Re.
                                                                             qr: Couthy
        F'
         lorîilasfhldingin- ttlottàe  k- l4< yandNza'  lk
                                                        ayoqufgz-                        .


                                                                                                                      2
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 94 of 156




         op
         d August7.1974,tlmtthtAgoncy wasestablithed atIcastsinc,t Svptom ber l9,l984. tmd
                                                                      .

          zattheAgencyhasx ntM i!
                                itxdsto texi
                                           ar.eii hmepti
                                                       ontothe > ' and

         D      W HEREAS,t'  he CRA Qoard ofCom missilm:rs adêptçd lte#olqtion No, 01-2 tm
         M ecemb c  12. 24:1,fozhlg thelnlttH44botCity ofRivleta Bm% liRe-bàvel     opnwf!tPlm:
           odif
         IB JEIl
               c ati
                   oa  2:01 (th4 ''vodifi4d P1an'')tnekt#.ttw reqgitemeutl of.settions 163.36G.
                a'
                 nd163.362,1% *,1!tje j,v to mvlqgksucàM* 'V I#1M;e
               W HEREAà. :114 City Coutïzll V opttd Ordinance N4 2912 Jammry 2, 2002.
                                                                          .
         cdbptingthelnlef'
                         .
                         t-llrborcijyqfRivip)
                                            raB>qhRvdoelopnlentPlt
                                                                 m Modifkation2f101;and

         f2tm ) W HEREAS,tlie City Cotmciladoptkd Ordinant'
                                                          c Nos. 2958.2966 qntl29>
              ,approe gamelxlmen:o tlxMc#iEedplawarfd

               WHEREAS.on Asy 25,.2:45,the CRA lbardofCömmissionersapproved the
         it
          vsuauc: oftlw '
                        Itm qqs'
                               tforPrœppsltsfo'
                                              rNhstvrDtxelopmrfor'
                                                                 fnletHarborProperties
        lthe .
             ,R>F,
                 ))and
               WHERF
        tlw kFP:artd AS.DûvclopersubmitledaproposllCDûvelnper',Progqsall')lnresporlseto     .




        CRA BWHEREAS.allar                ' onàbydem lp- e .
                                                           pztpio1p$4,onS>, m>r14.20t5. the
                                                                  .


               oBrdotCommlssibntraMlea/rv;11 Doj.
                                                wpet
                                                   G Propoiklandselzttd itas11
        paftrM MasterDtwelblkrfortvtMlztflqG /r4xdlpi:n4
               W IV REAS,thez
                            fityjAge yaùdDTyeloperhavedetennin/ loworkcooperytively
        tocrealeaCommunttyDevelùpme bistr-
                                         lçt.
                                            !0pvovidoforfinànoinp Onstructkm and
        mhintensntccfInfrastrtlolurthtjpnwtmçrtts:
                                                 fprlntelttàtionalHarborVillqge;Imd
               wldElusAssxlteneevqlop. I)asdqvulopadavpmprdw sivemasterprojec,planend
        usawxjuleforimplemetdutionxfe i:pltktvtlie,
                                                  4e isvsv
                                                         ofwbk
                                                             tt'hwilltelmludedintbudtlhitkve
        develogmtatftpddispositionaplet'  tpqnt,lvhlk'
                                                     lk>relh<zttbjkktsoftii:Agreemelit;aod
               WHEREAS. thp Devqloper lus commlaed to ttlc cxpenditua ofm cnies mtd to
        undertake çspzificantrpo ittlm mmitmx tz ln '
                                                    adve ûe or rec/pt of11ofthe ntce>- y
                                                          .

        appmvalstùko:ttnlctth:PtdjqtkNi
                                      'E'
               WHEM AA the tAee ppu ,l> çoymttted tg f'
                              '       '                          àcklitap th# cossfwotjup fjr
        f
        trlmsppnrtltionqipf'
                           m A'
                              truçtwkkàad IAé)#tom- rio:
                                  .
                                                  .   )
                                                      ,(f
                                                      .

                                                        ,i
                                                         zEi
                                                           .ltAte'4pé?'tnzotitirl6/4tVrpgblit
                                                           l:
                                                              .

                                             :
         àfràkikciureeiigslq f:tTàx 1A8r4* A1', te àqikhg tw
                                                           k'I1t$ Ftttlqkàg tvflqcte: in ute City
        conlgrehenxivvplàn (tbe 'iè'ijy,ùomplvtw sjy:'' puh!!)artd tlte CRA MasterPlan ib
        atkhotm totlwl%liotfi;t.,tgvlè lthimktt:nj;ud
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 95 of 156




               W. ' 'Sx the reloettiîon of U.
         Aga y a? ls d
                                            S-I 1)as txcn pa viottsly app
                      epie ' 1: 1 dlte lelatle i:theappmvtd City Comprxoved
                                                                          ehmléby
                                                                               iveCi
                                                                                  1*ty and
         CRA M aàterPlm);and                                                           and

         PI>     WIG RE'ASttllqmlgctienofUS-lizcfilivalto1hcsttece,ssoftlje CltaAxM msttt
               andthePë eekandihept
                                  e este ràtoacadez>tttheMoeattdtkG-tpmjeqtaM
         assurethS
                 VHERBAN.theCityAlldCRAdûsjetoos'u
                 emlcmtiopd'llm laadtotttndilita ::
                                                     tflizearllabletwxllwt'
                                                                          eznmtAtsiimdslo
                                                    tqinO nntoe qvitllth:Plojevtiand
                 WH'
                   M I7
                      ,A& dlq Flori/a            q:fofT'
                                                       ra pvrl#ion itat alluce d glid qppm
         approxknatelyrlflheenMifttùtjOgla'
                                          is(t1V 49#4% )'rorcitkstkitiotl'4fUS-lRolocgt'lon;ml
                                                                     v
                                                                                            vedd
                  SVIIIZ
                       'RBA'
                           sgtttzCkAlta,llotkvrùldfr plH> W laxi= mentmvenue;and
         amo      W RER'EAS,t1:4Q#tya.d CRà istkndtocommit'eqrtaintax latxmentrevenatsin
               unts specified in tlw d/spltlke devdp mrnt vnd dilpositios agroemt
                                                                                m t lo tts:
         Dt
         wltv
            hvlope
             out limri
                     f
                     tor
                      atiaIlquklifhiùg,
                                      ptlr.
                                          posespermttted bylttw 1t,a-
                                                                    ld oftlle Projecf. includin:
                        on'
                          tNeUS-I Relpcalion.
               W HEREAS,a dràf ofk dv altlvo dtvelopmentand dispositlon aveementand
        z
        e
        Ci ibi
             ts tllerpto embodykilg more eompl- ;termxbs.q heeea pp vitled by Do
                                                            .                  . vvloperto th4
          tyaftd CRA,thq tel'ëq , 01*whith mq< beAgykod to by th: gartsvstIJ,U approve by tbz
        CityandC1tA.
        NOMITHEREFORE,kishelvbycovenApfzvl::411@* Wi
                                                   undztnmrlgtllcpaïo koe thetlhis
        Ag= mtntî;me - N t> ,ov- yze t        o n4i:- lle ne er- forth
           1.Dev
              P cl
                 oppr1> hxg                                           .
                            grkeiielyaprtflbtd thamise (svvleptroftheCRA
                                  .

                  mj- Atta,bevelv rWlliprtmaedtodvvejoptlteURA ptpiectmteagn
                                                                         -
                 axordaltcowitblhexpr4lr,ot.
                                           plànr
                                               descdpgpnqs'
                                                          appmvedbyl vE
                                                                      cityandthe
                 CRA.
            2.Developerwillputvlmw CityandCRA ownt'dtqndrequlredfprthcProjeotataptice
                 Ir stw-tpltdeterz.
                                  niqede oge r
                                             e         pv g
                                                          > :raq>            lprocems,
                 efe edlsWiljil x*pltid
                                      ',t4USHil wa:yonzmlisco      c4stx.
            3.m w lopœrw11l> k.L
                               f4:
                                 > lt<istfllm4lptkr4tpvnt'
                                                         qy'
                                                           Ae4!wt)tAktïvyp:yDtyvlàperwij)
              mànàgvthvaeforMo i, thAtemkà4tite'-ttow o ïukf- tytkejkzsks
           4.TiieRlrardwplkwAo pln- ,
                                    wîlllm lenqetlbybevqloperfrom thtCtty/tlltA rora99
                yeJr,
                    1N*> .'rk,C11A3
                                  'tAwtùe vygllpfriekte sq- lti#toflefïm:tex- e
                Imtmbtvsemxls'
                             atidsl ùettexjtist oùdtm-nglëiiqlyaftu
                                                                  -loccupttncy).Dtingtl
                                                                                      '
                                                                                      te
                hrst5hreatstlte9% City'/cM partîcîpatidpwislb:avàilflblttosubsidtzeltmitl
                tenantszrents.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 96 of 156
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 97 of 156




          :hefoo ingalsAr
          d                        e-          :
                                               +ehte ofe o sbG/zlnotce ukx
           - l
          dcctlm
               opeme
                  nst
                    xt
                    cle dixw mtmn'         vzhlth '       gw1lonlybecfxtedby aNvdtten
                       arl
                         y
          lbrdtinthefollowil
                           a bolkd a:st
                                      ihahd dùly exeçutedby allthepartila
                                                                        xlje/eto.Ex4+ assvt
                                                                        ,

          agmcmem isftetexln:pesM
                                zpt
                                  benc
                                   yth:,intlw event(hgtatlefmiEvetkkeioplnqlttmddio iti
                                                                    .
                                                                                             on
          t                            e'
                                        paro wkItinl  tIfih.y(X)tlay#.lhipthlsApv mttsballbc
          ermG tv'dtsxcepttothce.xt# pxe 4tjbu byrallp*'llks.Anys'uuhè  tàmêltmh'lm AâtlpûtG tywttho
          obligqtioe ofDewlppirucdtilmrze h11.     ilxwek/tûiiifiltgttex'pasjly:e ie e iG i/
          Iwrtuadtr.




                 REMAINPER /A PAgE INTENTIQNALLY LEFT BLANK




    $1)uu
        ,g V tl%g A
                  i,
   -1#.
      oM jljisoys o .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 98 of 156




                                                                   AU =/R<
                       m wzr>         w-              Ft
                                                       w vz- unx- - - w aa - smz
                 e osdkzee t- r- ikak-
                 C#1l oF4u#1> BFA'CH                           il)@l> ;
                                                                      :
                                                                      ,% c#!c(* pN1TY
                                    .& '       '
                                                                         j
                 3Y:                  ,                        lY1..   AY&mo
                                                                           t.vZ'Wz.ul
                                                                            g.
                                                                            lssy
                    VAYW

                                                               ATTETV:
                 A T1'
                     G :#i
                 B'Y: /
                         y/S  gz j)s ,
                          - Y ' . .x                           BYt '        . ... 7 .:'.,.. .
                             K FA#pjX C f
                                '
                                                                        î% p :
                                                                             m:
                                                                              ' .''-> .
                        cf/ ko                                                  :
                                                                                 x ..

                 A- ovsphzw /n- Ayo                            Am ovm xs'
                                                                        tbm   > e
                 lam - lm m                                    CWGXI '    l. Z'
                                                                       '          '   V 7
                 Bv;   V
                       y   . . yjvas
                                                   =           BY:
                                                                           . .
                                                                                 : .:'
                                                                  sm vo rm o
                       CW YAM RNR                                 CM :AïO W Y

                 yc                 .
                                    y& g y r
                                    M
                 BY: #..        ' ' ' - '' '
                    AOBàk''
                          tT.î ' '                         '
                     G AIRMAN ANP
                   ' AUnY WN R#M                   N ATM
                 &TTS.
                 h   ST'    '        .         -W '
                  Y;       E      a        .

                       ol
                        iklteActo sa
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 99 of 156




                     '




                             > #01.1m 0:NQ. - 6
                             PAGE -
                                  - 2-



                             R pRbveDt
                             k
                         .                .
                             '.       .       r
                                              .
                             .
                                  ,

                             @JGYAQLIXBRO
                                          .   .   %' . .
                                                    .                              QL.,w,-(pw
                                                                          AO X'Y$
                             *XVW:
                         '#, . yy                                             )                                      '%)
                                  .
                                                                          '
                                                                               44-                               ew
                             kl* qk'
                             ,
                                  xw-
                                   gpe pd
                                       fph                            VA#
                                                                        t>(
                                                                       . -..
                                                                                                  ke                                  ' '' ' '
                             dl##'4LettK                   tqt-
                                                                      .   c'               .. '                  .          .


                                                                          j w yo ss
                                                                      dot
                                                                      F g ùllA e k
                                                                                   .                   .
                                                                              .,       '         .
                                                                                                , ' (. '
                                                                                                                 .
                                                                                                                     ' . v.
                                                                                                                          .
                                                                                                                                                     '
                                                                                                                                                     ..


                                                                      .
                                                                              Ltv %
                                                                                  '-                   %urm',.
                                                                                                      ''     >        .<.
                                                                      ùo #* >
                                                                              ..           ..    d.       7 .          .          -              '
                                                                                   :4:
                                                                                     *                 '
                                                                                                       : '
                                                                                   jjù x: s:. ,
                         NQTIONED BY:                    t.vwap
                         %IC/NX t)BY:                    8.mmcpoel.
                         A.I!.E4                         ave
                         vvc e                                                 i                 o w k- m!pr<-
                                                     -   w     .
                                                                                                        g
                         N.OtINCOM::                     ave   ..             >k* -                       R@*k a*44.
                                                                                                                   -
                         & WM E                          've
                                                         >
                                                     .
                                                                              Aj-
                                                                                l
                                                                                r
                                                                                drr
                                                                                  k '
                                                                                    i
                                                                                    ï
                                                                                    tL
                                                                                     ILLk
                                                                                      ' r
                                                                                        ?l
                                                                                         p
                                                                                         ,6
                                                                                          kl
                                                                                           i
                                                                                           '
                                                                                           p'li                        ..       .-...-........


                         3.44:K:*                        Ak:

                     1
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 100 of
                                     156
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 101 of
                                     156




                                            N o T Ic E


           Ihe und- lgned,Iwrebycalle aSpeclalMeeting of1*CI* Gounclle theGiW
           of'Rivi- Beaph,Palm Reach çounty,Flonda
                                                ' to be held in City CoundlChambers
           atfhe M unid- lComple& 600 W Blue HeY n Boulevard,to * notiœ d by the City
           Clerkasfollows:


                                     May 1Q,2* 6@ 8:* #.m.
                                       orSI1o* #n ex after
                                            Disçussion

                                  c1* Propeo & Redevelopment


           MICHAEL D.BROW N
           MAYO R
               ;'
              *           .,



           CARRIE E.w AR
           MASTERMuNIcl;ALCLERK
           CIR CLERK

           PLEAàE TAKE NOTICE AND BE ADVISED(thatifanyinterestedpersonde iresto
           appealanydedsion made bythe Cëy Coundlwith resped to any matterm nsidered
           atthis hearing,su* interested D rson,at- expen:eg willneed a reO fd ofthe
            Y      iY s,andforsu& pum ose May need to ensure thata veO tim reO rd ofthe
           pro- dlœ sIsmade;e idlreO rd indudesthe testimony and evide= uv e ich
           the appe listo bebae .
           In a> rdafo with the M eriœnjwith bivbiliNesM of1990,G rsons- ding
           speclal a- FlmM -ions to po dppt: in the prnre lngs ahould O nld the
           Legie tveAde at8 1..**K.M 95 no Iaterthan% hourspdœ totie pra edings If .

            earingiml ired,teiephonetheFloridaRelay8ervi- 1-8* -958-8N 1(D D)or1-
           800-95* 770(Voice)forassistance.

           Date: M ay 9,20œ


                                                                 e
      @'
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 102 of
                                     156
  Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 103 of
                                       156

t-
 .ityo1-ltivicraBeacll                                                          làCtyst
                                                                                      zl




  May       a
            ,zv ' 2cc6 ,
              z.l       v
                        't
                       uma,
                          '
                          j                                  V-i
                                                               -
                                                               qw Detailed Calendat'
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 104 of
                                     156
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 105 of
                                     156




                    H Azvx xs,H u m s,B xxrxx m, & S R A-V A
                                         ATTO R NEYs AT LAW
                                  .     I2O1EAST ROBINSO N STREET
                                      OxT.Av no.FZXCXII:A aesot
                                        TELEPHONE (% oz)s*.a-o 4o4
                                        FA
                                         'CSIMILE (0 7)843-1444
                                            tsooh734 -a/BP
                                           w w w.lqHBSLAW .CO M
    BRUCEM.HARRI
               S,ESQ.                                                   BRUCE@HHBBLAW.
                                                                                     COM
                                           May 12,2006
    VIA HAND DELIVERY A#D CERTIFIEDMAIL
    Jerfy and V irginia M erchant
    2100 Broadway
    Riviera Beach,FL 33404

            Re: FoVio-é-a ligFè aidFi-twriqenolarRelateutothe
                   ity ofRlvlerà Beach Comm unity RedevelopmenlPlan
                 PareelNumberls):564342-28-11-* 8-0050,56-4342-28-11-098-0061
                 &nd 5643-41-28-11*08-0064
                  ropeo Addxss: 2100 Broadway
    DearM r.and M rs.M erchant:
            Asyou may know,theCommunityRedevelopmentAgency ofthe City ofRiviera
    Beach has decided to im plem entits Com m unity RedevelopmentPlan. ln ordefto
    implementthePlan,the CRA needstoacquireoedainpropertywithinthe projed
    boundaries,inéludingthe feesimpleinterestinthepropel youownidenti
                                                                    fied bythe
    Palm Beach CountyPropertyAppraiseras parcelnumber564 3-42-28-11-008-0050,56-
    43-42-28211-008-0061 and 56-43-42-28-11-008-0064.W e have obtained an opinion
    from anappraiserthatyourpropel iswodh $572,000.However:inanattemptto
    acqulre yourpropertywithontdelay orthe need foreminentdgmaln,we have been
    authorizedtooleryou$800,800foryourprope* .IfyouwishtoacceptthisoN r,please
    contactus and we willprovide youFith a purchase agreémentdocumensng the terms of
    the sale.

            UnderFlorida Iaw,you have certainstatutory rights and resN nsibili
                                                                             tieswhenyour
    proqedyissubjecttocondemnation.Wehaveenclosedanoticeoftheserightsand
    coplvsofFloridaStatutes5573.091.73.092and73.015.
            Ifyou have anyquestionsaboutthisoffer,please fe:lfree tb contactme. Thpnk
    yotl.
                                          Very truly ours,


                                           Brum M. arrls
    Enclosure
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 106 of
                                     156
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 107 of
                                     156




               N          .
                          m aM > * e qN A-                                                     e p > ?r IG 'pppA 4!t4n.
                                                                                                                      > >        .                                                                                (l
                                                                                                                                                                                                                   *,**ArTe ?;AND-                                                  .           Fk
                                                                                                                                                                                                                                                                                                ;,-. A,'BAR
                                                                                                                                                                                                                                                                                                          .
                                  .                              ..           .
                                                                                                             . .                         x. . .                             . ..                    , .             :                                .Jj . v
                                                                                                                                                                                               .                  ï;
                                                                                                                                                                                                                   l               ...
                                                                                                                                                                                                                                     k.               .ï .........

         !* PAm RESC                                                                                           #w        . .                  1> Y...-% 9$ Via iG. * G rliïlh                                                                  .
         2: arxj- .....,. .,....... .- .. ...,- - - .-                 A= 4:  2 V-
                                                                                 .k N* *..*r.i, M'thu4t*awwwww    .--.-..- .......
                                                                                                                           ...
                                                                                                                                                -.,. ,w .
                                                                                                                                                  .
                                                                                                                                                              . t 'Se 'k
         3  N*ffo '  KZE    A    tMt  See r e xa d *   and O  :fSN'A  tt
                                                                       l  IV  f01
                                                                                * *1 % M
                                                                                       '     f
                                                                                             i
                                                                                             vd   P  tid  Fr
                                                                                                           op wtyandXf stmd l  .      .
                                                                                                                                         ((
                                                                                                                                          *
                                                                                                                                              .
                                                                                                                                             ..
                                                                                                                                               W   >,z * p t
                                                                                                                                                           o  . -CBu
                                                                                                                                                              jxa
                                                                                                                                                                ' ynN 7.
                                                                                                                                                                  t                  . '
         4 ptzfmla? xtt  o1:./lermvarldcetldi        e rm cfthl           ft:rSe 3f%          .
                                                                                                 a% a%?r#vrsandadte a4jQo.nt/
                                                                                                                         .

         5 L tlG > lp74Dhl!                                                                                                             co:
        6*
        7*      @) swj
                     t e        da  w ipll
                                         os  ôI  *IF  IB/    -  Qlf
                                                                  xal  nd 9 4              0
                                                                                           .41+ Eeœtb                 Cfmro,F1  o* :            3 ?lreals.                   ...
                        o.wjjte' #> :             tt, .t< '
                                                          *uzl
                                                             d/a. /'  t,
                                                                       -4'z.u à7.%-p.:.eo4*,.##j,>#.Su-*a-#:7a -= '-'     #<à.kQ4A'.J                                        .
        ($.        #s;  -4:-42-*A+x4.-è>l-*:<4            ; ..
                                                                               - -               .. .. ...
        ré*     jtpstx   '- sùbi     kess.tav < ùf1-            . ,',              '
                                                                                    B-   e'
                                                                                          # av  <
                                                                                                                               - ..,.
                                                                                                      .> 4txst.x.seta-xtviwro veae   --
                                                                                                                                      .,--.
                                                                                                                                         .xe.pys.
                                                                                                                                              m.-.za-..*  ..y..---....
                                                                                                                                                      . . . ..           -
                                                                                                                                                       - 4
                                                                                                                                                         . 4
         1Q     #$Petf,     - Prepo/tyc        n$Stxje:e grnf    + ts:              v$
                                                                                     ).*   ,        s/, LKel
                                                                                                           W1:f4dy)
                                                                                                                  k+, 1fxture    wde d  e  t
                                                                                                                                           '
                                                                                                                                           loe  e     th ie n bsl  u- -.,-
                                                                                                                                                                    f                                                                                                                                                                                                                  .

        .t1 lre we e lde ya w.                                                                                                                                       .esk;
        42*            tx17- iltqo intt
                                      .zded- 1-                                       - - - - - - .- .. - w.w-                                            .                  - ,.. - -                            . .....- ...-..
        43*                                                                                                                                                                                                                                                                     .-       .                                       - ...                               -.... - - . . .
d       4<*            ttemsofgp> ralPtqprpz'(
                                             *% leastxjpgrns, 11</e tzdœdw :--                                                                                                                                                 . .-                                         .- - -                                       .- ..
        16#                                                                                                                                                                                                                                                                                                                                                      .- .. -- ..- ...

        1&*1* PL$*)H8C41.
                        PR:76 A
                              .l-
                                s'.> > ?k..........-. .k..,- ,aa.a .u- ...- .. .-. .,,- .....- .- ..--. ,- .. ,.. . $                                                                                                                                                                                                                              2,Q:%œ.'
                                                                                                                                                                                                                                                                                                                                                          4f';-31    '        '
                                                                                                                                                                                                                                                                                                                                                               +-
                            ..        .'
        1$'            y)        tgtlla>     tw p:u-                                                              . ..                   .                                         u           .                                   .                 '
                               ztt/oq--w el* .--to-lt vA---.
                                                         t*h
                                                           '%=Lv
                                                              .
                                                              a
                                                              w*!1<*> TfeX'. rl    yzupl'   /- lntY wtwtmjol                         xl                                                                                                                                                                                                                          '
        !V-            !b)Y /                       eme'                                                                               e tocRkite                                                                                                                                                                                   $                        2:z1:4-l!k
        QG'
        '              $                                         tlkdqe '
                                                                        vxhto......- r    '
                                                                                          %n'zfwfivref    e 'tkex
                        f.
                         * W (û> 11'   k1fl
                                          Y rxl
                                              Tl
                                               o'
                                                O * 01....i.-.www....mJx.wa.. a ., .. . s. .. . . .w w < .. ... x .x ..... . .. . .. ... . .. .. .. . .. . . ...
                                                    .                                                                                                                                                                                                                                                                            $.       ....
                                                                                                                                                                                                                                                                                                                                             . ......... D.
                                                                                                                                                                                                                                                                                                                                                         '
        2X*            (: f
                          ,kv'
                             aukyylspep - Rj#,d/paSXN./N . . , . .- . . .. . .... - w .- ,, ,, . .- . . .- . - .                                                                                                                                                                                                                             .              1#
                                                                                                                                                                                                                                                                                                                                                           .;
                                                                                                                                                                                                                                       ..-,--.-- ,,..'..,.....-.---..                                                            $-.....- . .- . . . ..4. ..7#
        23     @ H xzztoçtr.          gbyttt*kwiretrMsfarprttr hok: A o mzhtxl                  uoroe   ' a'te
        24* lt7.1'
                 ars
                   jl
                    fltf'                                                                                       mtkcllfra le72+
                        l'ltMrllttlr.fzm * % ...,z..,-q......... .. . .. .. . .. x ..,.., .... .. . .. .. . ..- e .. . .. , .. . ..... .. ...- ,... . .. . :x .u v . .w . S
        25 1
           11. TIME  F ORK         G Y  TANV   DF   OFFHI                                                                                                                                                                                                                                                                                         7,...55.
                                                                                                                                                                                                                                                                                                                                                         '7.y4.11C.34
        2                                                  '
                                                            ANDX QG MDFFO S;EFFX CIA tIAlxi
         6            t@)#lhK of+ 1
                                  $dolLexecut
                                            u tb.vrd œ #*.          e .       1 #;' p'
                                                                                     .- '&OR
                                                                                           ''
        1
        ;
        11'
         !'           to         '
                                 .Q
                                  ...-& .
                                  -     @->n .....-,......;.................:t4 t
                                                                                lw. r+u
                                                                                      'l%<
                                                                                       ..
                                                                                          's)<F.AWat'OF+'
                                                                                                        MC    .''UTIQ'N
                                                                                                          &',qj
                                                                                                IE.. .. u,.        t
                                                                                                                   .i
                                                                                                                 .,..i
                                                                                                                     j.nt..t
                                                                                                                           w   œturlxkl. :
                                                                                                                                                     inï'
                                                                                                                                               'j* .0!w.
                                                                                                                                                            #4k*:
                                                                                                                                                                 ,'
                                                                                                                                                                            1tp e%cnor
                                                                                                                                                                          t1mre1= 1 *omd .-
        28            ERW ISSSTATO ,THEX   'Me FOR AD()EIO W .OFe                                                       , ..-.., . ...;yj,. .. ,..,,.,...- ......s
                                                                                                                                                                 .  :.. ,
                                                                                                                                                                        . . . .j ..
                                                                                                                                                                                  ; ....                                                  .

        29                  FM * DR I  QERED.                                            ' l
                                                                                           %            QF   FO         YO         ae     k, *h*         ' P *'   /'
                                                                                                                                                                   m  5'I)
                                                                                                                                                                         A*
                                                                                                                                                                          .
                                                                                                                                                                            Y  TNQ COUN-
        zo            @)oe  dxoolocr- rF.:   '< &e(lalaNvzvse,
                                                             .lhuaruo,
                                                                    ..wrvn   el4 '
                      ért '
                          comterdqer.  'udidmeY .r< tm*#2%..  ;i ..x.   s.;J',. k e4.1pwoslbei
                                                                                             ..
                                                                                              o.j v'
                                                                                                   .
                                                                                                   ari
                                                                                                     d..u
                                                                                                        rso r
                                                                                                            (f
                                                                                                             e. .'' .pr 1' ltsvoe ortlo                                                        .
        31
        32                          w: b                    :< tim A'  4#bC4   ntpAeklegtt% dee fe fW khalbel
                                                                                                                         ''
                                                                                                                   tvz%tpYledr:e > 1%                                                                                                     '           '       . '. '                                                                                    .

                          .  r
                             ,e ofitl A  ro%imp lic
                                                  .ébl
                                                     e ,
                                                       thefmàl.
                                                              étj
                                                                un-   e c
        :% 1% IQNANGING:
        34* X 7
              A
              41e Ka<e fre
        as+ Q X
              tJ71* Q mY iy
                                                                                               '
                                                                                               xft
                                                                                                 :rlo ' > fœ'       rc ','banrlrs%n
                                                                                                 è: Fu- <ee âb*o arxr wtfof.1
    7S*               l
                      1* *:(7atùCtoenApp- Da1:3fe (JHEO                     ,
                                                                                    *1v.e i
                                                                                          a ... .tea#r> '.ttm 30yajs)anBr
    3A*               8rx œnekmtd $ . - .. 'atlm ire lâ
                                                      .
                                                        .
                                                        .1
                                                         '
                                                         .<.
                                                           Y 9N
                                                             ' O?Q.:tx
                                                                     éd
                                                                      .
                                                                      ',
                                                                       .'
                                                                        .Q,
                                                                          = 4'd#1s1
                                                                                  #bh'
                                                                                     .o?Q à* oratë  .Xfe ra*
                                                                                                           . kkm iat#a p:c-          .
                                                                                                                                                                                                                                                                                                                                     .
    %                                                   ht
                                                         e +1 * 1tù =xzx d          % lpcob?x a ' ? . , #-     nùt* gtrawjd                                                                                                                                                                              .

      *                                        %4f- ' 8fneunl.le. .lclt4e of                             '                   '            .
                                                                                                                                                                        >
                                                                                                                                                                        x=...'         .    Bt>e* :e'rn.- ' .                                                       ,
                                                                                                                                                                                                                                                                    wlthf
                                                                                                                                                                                                                                                                        n                            $- 14b+ .
                                                                                                                                                                                                                                                                                                             <1t*1541wï 1*%
    39                 Ee e.(>             e t** !.. èclpm t:        .     ,
                                                                             œt  o ;àzk= ':      + 't.
                                                                                                 .      Y' '.àttd:  j. . ..yri  '..;l
                                                                                                                                    e.àl
                                                                                                                                      yyèstt     m..'ëe'.t
                                                                                                                                                 k           ,l
                                                                                                                                                            .. p.-Wê
                                                                                                                                                                  .'..-*t
                                                                                                                                                                        :âa
                                                                                                                                                                        ..
                                                                                                                                                                            n.f':' . byAt.> m
                                                                                                                                                                           :.                                                                                                                                  , ' . v'
                                                                                                                                                                                                                                                                                                                      .                        ,. . .                    ,.

    49                Ap-'   vâ)
                               .ld@
                                  L'e     yt er
                                              mse         '     èf c-' 1 e                '
                                                                                          ' ', e    de       tt
                                                                                                              %?  e     t   te     h'   (                  '     r,      g  p' '' 'f*i
                                                                                                                                                                                                                                                          .

    ''t
      1k
       -
       1
       2              11-zpa> 4f
                        1i    .othe.
                                   rplo
                                      .o' râm.nx > ...' .c>       .. . ..
                                                                 , s . '.. '       ':i              : .,ft
                                                                                        fe'l:p.'o.':'
                                                                                  .... ...L
                                                                                      ..             ,--!;
                                                                                                         p
                                                                                                         ;
                                                                                                         .  g4v :' ''
                                                                                                                  . ... .
                                                                                                                                      c
                                                                                                                                      7''   k% ?tfq,$
                                                                                                                                                  . .
                                                                                                                                                     !;-- .
                                                                                                                                                      -
                                                                                                                                                                 - *1   .
                                                                                                                                                                        ekwa.                retf>ed'  r
                                                                                                                                                                                                       '
                                                                                                                                                                                                       <
     4:               >x/Y tde z/e     : ..        .
                                            rote to-
                                                   : . .t
                                                        ,.  .
                                                        ....t- z     ..:.....Jx.:l
                                                                          ,
                                                                                 M  .*;...... .u. -5- :     -
                                                                                                      . .tG .  ..
                                                                                                                ,-.c,-
                                                                                                                     ..,-....sy-.,- .j;;
                                                                                                                                       .yy
                                                                                                                                         .y;:.
                                                                                                                                              -
                                                                                                                                             j,j          z. J
                                                                                                                                                   rg.....-s  . yr
                                                                                                                                                                 .
                                                                                                                                                                 ;q
                                                                                                                                                                  !
                                                                                                                                                                  I.S
                                                                                                                                                                    k!
                                                                                                                                                                     i
                                                                                                                                                                     !(
                                                                                                                                                                      :s,:, -,. ..-: :.,r-- . ..-.- .                    .
                                                                                                                                                                                                                  .. - . ,                                         .. ,         .               .,                               ..           .

     ,l3                       *m dtY .po :!py .. ..t  N
                                                       &. k .;.. ......
                                                                      .!:
                                                                        .        !: ..h). . :. .. . ,;e%h#.        ..z*  .. 2  e ( :,          '.
                                                                                                                                                y
                                                                                                                                                j,
                                                                                                                                                 j?j
                                                                                                                                                   ;2 ' ( .        &r: .... **   ).l'*1 .. .    ë m n'  .              .           .. '         .'            .                                      .
                                                                                                                                                                                                                                                                                                                                                             .


                              f . ..'. -.$ ....:.. .k,!.s:-...'ru       ,
                                                                        >   ;.+
                                                                              '..          '   '..  .ev
                                                                                                      .e1e:.. ,:,
                                                                                                                L.'                   'N  t A       A
                                                                                                                                                    /rt /e 4e         v ,r u'Kt                                                                                                             .

    44                       *'
                     u.ovéo.s..ot.
                                 o..
                                   z...
                                      '                                 ..        .
                                                                                  y:..,.., l
                                                                                           th..  -..u             ;rt . ::'         ..r .s.j .         :.,:;...zn. ...!'' s;> .. x.y ...- .- ,-       tn      .. , .
                                                                                                                                                                                                                           '- ' .. '. '
                                                                                                                                                                                                                           .

                                       -: .>',>y'<.
                                                  '
                                                  z,xt'
                                                      .
                                                      '.  ''...'
                                                               i..'
                                                                  î      . tme
                                                                             ...ke  jpt>'  .
                                                                                           tL. ,,
                                                                                                jw s
                                                                                                   jjo xye a toz%y'.wc   tqtw . .e..% .. ;.          x;k...z+'                                                         ,,           ..                                                                                                   ..                    ..
                                                                                                                                                                                                                                                                                                                                                             . .
                     .                -,    .      .:
                                                    ,   ).f    .
                                                               :  :tu):::!
                                                                         .
                                                                         .a
                                                                          .
                                                                          5..
                                                                            :r  .
                                                                                ,
                                                                                .y:
                                                                                 'g...
                                                                                     ;;
                                                                                      r1
                                                                                       I
                                                                                       ,.
                                                                                        r').                        j.j:.'vK.;1...r. e.: e .i                Ij                                    .r....dJ..,t.. ,q .. ..'....:....,.. +e,....                                                                     .
                                                                                                                                                                                                                                                                                                                                . .' .                               ..

    45               43*1> 'k               .  .
                                      da deplYtti n     .
                                                     lxKw tt*'      :                '
                                                                                     : . .
                                                                              it- fm yle f           ;
                                                                                                     k
                                                                                                     '
                                                                                                     . C   .    '  2.
                                                                                               - WaNWif.t* o.my.rRtY '       u
                                                                                                                             r      r
                                                                                                                          e e *d4=t2:1     .
                                                                                                                                            è tlw = t-' l   c.
                                                                                                                                                             n                                                                                                                                                           .

    4.
     7         *.              y:I
                                 #ojpp > .@ .t
                                  .    .        .
                                                               (% x&. .g% e) ;t.èjpW ;.>'' ,
                                                                      .                                                                               .                                                                                         l                                         ,                                                    ..
    48- 1a(c) ' Am df#.                   ee                            ,.
                                                                         $< r+ :4& '1*,m4                   . 4)
                                                                                                                   àsö
                                                                                                                     ..  .
                                                                                                                         ..

                                                                                                                       .r,p . .l'a.j4.
                                                                                                                                     .
                                                                                                                                         '    .                     .

    4+
     .        o(  *1
                   7
                   -'*'
                      .                    pa,.1     4r Wài
                                                          x..wj      oa   laj   1t  k.             (+'        yx+&                                                                         . éxe. o (..ylmo. - l                                        .                ,ayfsj,
                      5e.'.... a(
                                : $  .
                                     :-:' 1e'.       .  '         zœà.-x
    ii
     kl
      :
      )r
       'i
        'ri
          k
          !k.  :
               1I
                r
                11
                 -.
                  1
                  27
                   .
                   1t
                    ,'
                     r
                     12
                      1        1
                               E2
                                :
                                1!
                                 41
                                  12
                                   1
                                   .
                                   01
                                    21  /
                                        .
                                        18$   '.,-81 .
                                                     --.
                                                       -A
                                                        .
                                                        ,-,#
                                                           i. '
                                                              ,
                                                              ?
                                                              l
                                                              tilk
                                                                 lj
                                                                  ql/p
                                                                     l k):c
                                                                          .-.. u.:.w  ..i:$
                                                                                          'tr..s::-'e,%
                                                                                                    :t  >.-) ... -.. .. .
                                                                                                           2..(;s..p..h-M1.r'(:2f<u.fk!j ..
                                                                                                                                         ..  ;k;.'
                                                                                                                                                 iq&u:..
                                                                                                                                                       aq.y.jz.w-..u,m1
                                                                                                                                                                      xq
                                                                                                                                                                       .l
                                                                                                                                                                        Jki
                                                                                                                                                                          .a
                                                                                                                                                                           t
                                                                                                                                                                           â.'%
                                                                                                                                                                            ' .h'g,x(
                                                                                                                                                                                    ..Lç.4zLi'...
                                                                                                                                                                                       .        zc::.(.'''.
                                                                                                                                                                                                          q'4..(r..:A:'L);J
                                                                                                                                                                                                                          .p.àa.
                                                                                                                                                                                                                               .'kjNk;;q*'.    ïpxlkJjJ
                                                                                                                                                                                                                                                         l
                                                                                                                                                                                                                                                         > y
                                                                                                                                                                                                                                                      vk).;.);t,.1.'
                                                                                                                                                                                                                                                                    ftyl
                                                                                                                                                                                                                                                                   .'S.
                                                                                                                                                                                                                                                                      '.'rq-z ..v.!:.?.,,.                                       '
                                                                                         te 45             > ,i                                                                                                                           jf'.q.               '.                              .
                                                                 , ..1    2
                                                                          !
                                                                          .
                                                                          1$
                                                                           .z
                                                                            -l
                                                                             'rt
                                                                               l
                                                                               .lk
                                                                                 .l
                                                                                  ,ï
                                                                                   .fr
                                                                                     i;l
                                                                                       ;k
                                                                                        .!            -.. .-..-3  .b
                                                                                                                   3
                                                                                                                   ,?
                                                                                                                    -fly .
                                                                                                                         è  :
                                                                                                                            . ,:
                                                                                                                               .                              dl
                                                                                                                                                               1p
                                                                                                                                                                l ld
                                                                                                                                                                   h
                                                                                                                                                                   t Ir   i29                                                  .
                                           .      ...                     .       .
                                                                                                                 .       .     .;...-,.
                                                                                                                               -
                                                                                                                                          ..
                                                                                                                                           .- .
                                                                                                                                       r;.-:       . t
                                                                                                                                                    .
                                                                                                                                           . . . .. .     1
                                                                                                                                                          -1:
                                                                                                                                                            1             .  t
                                                                                                                                                                             .hf:dl
                                                                                                                                                                                  il
                                                                                                                                                                                   -ll
                                                                                                                                                                                     rl
                                                                                                                                                                                      i
                                                                                                                                                                                      rh'i          .'       .
                                                                                                                                                                                                                ,,
                                                                                                                                                                                                                 .
                                                                                                                                                                                                                 z,
                                                                                                                                                                                                                  ':
                                                                                                                                                                                                                   r
                                                                                                                                                                                                                   j,, ,
                                                                                                                                                                                                                       ,,-
                                                                                                                                                                                                                         A -
                                                                                                                                                                                                                           'll
                                                                                                                                                                                                                             lr
                                                                                                                                                                                                                              klr ql7                     '                                  ' -.                               ..                  '        '
                                                                                                                                                                                             .ty:--.s...;..:y.,,.,,-r.--t-,,..r.s. jjr'           .y
                                                                                                     .                                       ..                  r ..                               .                                   . .. . ..-. . . .
                                                                                                                                                                                                                                                                 .:w
                                                                                                                                                                                                                                                                   -.'
                                                                                                                                                                                                                                                                     yv.
                                                                                                                                                                                                                                                   jj
                                                                                                                                                                                                                                                   . .
                                                                                                                                                                                                                                                     ëj
                                                                                                                                                                                                                                                      v'
                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                       jr
                                                                                                                                                                                                                                                        -
                                                                                                                                                                                                                                                        ;y
                                                                                                                                                                                                                                                         .yj -
                                                                                                                                                                                                                                                             ErLk
                                                                                                                                                                                                                                                                .,                    q-t'
                                                                                                                                                                                                                                                                                         j
                                                                                                                                                                                                                                                                                         -
    51         * saué .                 àt                                                                                                 .-.-.....s...y     ;. ;r)c r
                                                                                                                                                           k--,                       t- -,-
                                                                                                                                                                                    .--                                                                                                          .
                                  . .                  1* tj                  .  o j ,, F
                                                                                      .
                                                                                                              .
                                                                                                              '2  (,
                                                                                                                   eM, ,       >, .,t.;e ,%
                                                                                                                              '.
                                                                                                                               '                     ,' .' k'Y y
                                                                                                                                                               -' p!
                                                                                                                                                                  '
                                                                                                                                                                    ,
                                                                                                                                                                     k-
                                                                                                                                                                      .   ,
                                                                                                                                                                                   ...- .

                                                                                                                                                                               ,,..,'k          #    .'
                                                                                                                                                                                                     e         ,'
                                                                                                                                                                                                                   .

                                                                                                                                                                                                                   , C, :              f(e ,, ,...r;r.,
                                                                                                                                                                                                                                                          .     .
                                                                                                                                                                                                                                                                      ., .t-
                                                                                                                                                                                                                                                                           jr
                                                                                                                                                                                                                                                                            :
                                                                                                                                                                                                                                                                            .
                                                                                                                                                                                                                                                                            @
                                                                                                                                                                                                                                                                            -
                                                                                                                                                                                                                                                                            jj
                                                                                                                                                                                                                                                                             )c
                                                                                                                                                                                                                                                                              j;.
                                                                                                                                                                                                                                                                                j.
                                                                                                                                                                                                                                                                                 ;
                                                                                                                                                                                                                                                                                 j.
                                                                                                                                                                                                                                                                                  ;: à
                                                                                                                                                                                                                                                                                     ;,  y
                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                         :j
                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                          r.         .               .... ...
                                                                                                                                                                                                                                                                                                                        . ,.
                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                               .             .                    ..
                                                                                                                                                                                                                                                                                                                                                                                           .
    1
    2
    .1
     ;
     11
      !                .
                       '- '/   W  ,
                                  &          r
                                             V '    .                  .'.:                            '                                                .   -' :
                                                                                                                                                               '  .
                                                                                                                                                                 ;-.. :' 'n'
                                                                                                                                                                           l               . . ..
                                                                                                                                                                                               ' ;
                                                                                                                                                                                                 ':
                                                                                                                                                                                                  'y.     .''..
                                                                                                                                                                                                                                                                      2
                                                                                                                                                                                                                                                                      : ,   ;o
                                                                                                                                                                                                                                                                             ... ,.     '' '
                                                                                                                                                                                                                                                                                        ,.           .
                                                                                                                                                                                                                                                                                                                    '. ' '
                                                                                                                                                                                                                                                                                                                     ..
                                                                                                                                                                                                                                                                                                                    . ..             ..
                                                                                                                                                                                                                                                                                                                                       '.. .            ..
       4       '    q              ;      U     ?
                                                .
                                                '          '
                                                           '    '  .        '.   '          .:     ''   '  )    ' .      '  '    '  Y<          '  .. .                   .
                                                                                                                                                                          ((:       ,. .. ;   y :r
                                                                                                                                                                                                 .                                                  .                       .
    /%         (G*. *' K..D.'Nk
                              -.Y:Q',N*
                                  '
                                     ..,Q    ,'1 ..1
                                                   11 '6...:.-:..!r%.;-:',. ,,-t:,,',)s,,-.- -=;.;?:àt        '
                                                                                                              .*
                                                                                                                                                         ' '''' ' ' v       ,    >
                                                                                                                                                                    .-- - ,.K< ?'tr
                                                                                                                                                                                                 s       .                                     .. '' .         .       ..                                              .

                                                                   e.o: .! .. : ),,...:.-. '                                               c* ' '               .
                                                                                                                                                                7.  ;
                                                                                                                                                                    :
                       . . . ..                                                                                                                                         '                                                                                           q
         '                                   .. .       .                .. .                        .             ...
                                                                                                                     .                                                                           - m      '
    64*.'                                  ?..
                                            W   P.); .'               ..                                                                          -         .
                                                                                                                                                            .                                                                             .
                                                                                                                                                                                                                                           ':..               .             .
                                                                                                                                                                                                                                                                                        '
                                                                                                                                                                                                                                                                                                                         .


    5
    .5#       :> .EQKHQ9P:           D',0#'e.''.
                                               #*    ''Jiat    '@.   * :''  :.''f;
                                                                            *      l>        ':h 1q'  <''       ''    iita*'          ,
                                                                                                                                      '8t-.'vx<'.lq-.;q
                                                                                                                                              .
                                                                                                                                                           'z.'*4.:J'.'s1',
                                                                                                                                                                           'e ' ' '- tfe ie p.
    5
    55
     7.*v.t,....'(.t4     .-t
                            p..q
                               .Y
                               A'.'
                                  tt
                                  e.
                                   '>
                                    34$ â.lrtt eJù';.û-t !
                                                        loj.;
                                                            a.'
                                                              )
                                                              .
                                                              .
                                                              c.
                                                               ptG,;'.l'i urg dt .
                                                                                 'h
                                                                                  rak
                                                                                   z .e.. :i.1j
                                                                                             e R:;J
                                                                                             , .   qr.'klrac.
                                                                                                 tldk     ley.;<:'*s''rjyv;KxY  tt'
                                                                                                                                  ...;..
                                                                                                                                   - x.e..wez     e tsYJ'#.'j&é      e i;n
                                                                                                                                                                          1L.yL..(ig1' r:k'j.z         .s.w'i'ny
                                                                                                                                                                                                         t1Mxt.'      A'ukx.2n*.
                                                                                                                                                                                                                       : 1   M:'e1q ''..
                                                                                                                                                                                                                                     '                    Cm*tmul
                                                                                                                                                                                                                                                                  . . ..
                                                                                                                                                                                                                                                                        rmn,
                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                ':n**    ..                                                             .
                                                                                                                                                                                                                                                                                                                                                                          '
                                                                                                                                                                                                                                                                                                                                                                                           .

    6B J me rmdby.e fo lAk+()f'1* !                       G*il    pe 'l#f .K,                      '* '              t#o*. 1'               nbY@%'          '
                                                                                                                                                            .*':p                     'd'1*                     ' ;C'                                 Mw   /'   Tl x'lqnrk'* rlle
           u:.t* M. rM le >. ..the e d> .,                            * ,8:      d* . :'. ,.. .ifltt@,tY#    '

    5g vi . jc,moMp F                '>' M
                                                        .
                                                             .'KIMITAF
                                                               .            'ID   .* '''2ee ; N .>''','
                                                                                               . .                                   .  *,.
                                                                                                                                        ,     .
                                                                                                                                               '.  ,'
                                                                                                                                                    Y1/.f
                                                                                                                                                       ,.
                                                                                                                                                              >t$e',.* :.'.;
                                                                                                                                                                '   .
                                                                                                                                                                     .
                                                                                                                                                                                 .           R   *
                                                                                                                                                                                                 ,,':.
                                                                                                                                                                                              ko).cD' ',è
                                                                                                                                                                                                           *. :. :,,   d.$*XW                                                                                .. ,

                                                                                                                                                             '(' ..$                                                         'c* ' '$          3
                                                                                                                                                                                                                                               'n:   'w't
                                                                                                                                                                                                                                                        )/e- pl       â
                                                                                                                                                                                                                                                                      'f  ?.t = iCQ.
                                                                                                                                                                                                                                    .
                                                                                                                                                   r.                 1.' ' J,
    * ree '- 'pe ,Ntôx&e                    f:Y .e - 4                                   v. < W      .
                                                                                                                                 :u G**dF          . 'à '  'n $   r
                                                                                                                                                                  .2 '''..' 4             .*  . *) '       ..:.*S     'l j. 't' W'              . t   e1eJ .tG z *
                                                                                                                                                                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                                                                                                                                                                       '

    :1 Gm t     m q tû ttte . x :.u ... ,7 ' .'<âvroLo
                                                    '                        '
                                                                                  te5 '
                                                                                          ..
                                                                                             itWi
                                                                                             '
                                                                                                   .*àl
                                                                                                    >.2 '.
                                                                                                                       '
                                                                                                                             'WJA Y ete       .            , 7
                                                                                                                                                                . n.
                                                                                                                                                                   ddlttbf:dW;ï
                                                                                                                                                                    . . ..
                                                                                                                                                                                   .       ;'d
                                                                                                                                                                                                 u%%
                                                                                                                                                                                                                               .
                                                                                                                                                                                                    ,à tM 'R 1* :t;1ff?'* O Y V'?M QY                          .
                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                           .

         8/*b> &.     * 1 * .7/        74 :*2* 4 F14* : .. . èf                                                              '7W XWY         'œ ''' eW          C
                                                                                                                                                                '!    qF''A'    '':
                                                                                                                                                                                  .
                                                                                                                                                                                  W' Y     ''>''-'e.. :*'L '*t                        ' 4       .
             2%i# 4p:**1* i* H x*m v*d 0. (W o W J**V'
                                                     XT*W * 4
                                                            T#AYW'
                                                                 WR XYG V'YV 0 **15> .*I1#QR *= W* **** *
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 108 of
                                     156



62 lt lcatljTrzntis
                  ymutltore psr0fl
                                 *o li3o lmdqclrnum ft= 1l)I
                                                           % Ii4vsxJtttgi
                                                                        )to 4* 9%3$frktmlte,egarxj7 1z'2 e 1ln Gtjth 1z tû jlw gtjo                     -

63
iNe l
    air
      e l11
      dde   % l:$0rî'
            nml     B/ otQoxngy)tls'ke mhenly- e;tmdaO4.* fto tgpgw (md fxpthle frzmBymorigaqe ,ffanylfado lofinli> .see
65*                           izffzemd,Qh'
                                         atll
                                            xzo eaist: m (lloslpm x viol
                                                                       all
                                                                         on of:t: fore k)b afklTmlw pr- c4 +.e ofjhe pro/dy t
                                                                                                                            pr
66 QX X bu1 :'
              -.
                    6k'         .       -   <> F.p.J.
                                                    A-eU ...-..-....- .. . v ,.,..
                                                    .                            .
                                                                                 ,q.u uyyj-
                                                                                          so
                                                                                           -supv   sd-
                                                                                                    el4 n,
*7 * > r> e -= -. é;G    > kl t  fA tqguym     /ptem-    ytosj- 41i/k-EikG n                    swp
                      .                                                                                                                    ,
                                1e                                                                           :expef. v tvir- oêd
68 F                                   kI* e   e  -     -      *  !> -   (
                                                                         4 c t  *  e * :sh*C
                                                                                   .       % >*        >       1p*M B'a-
t       g o
          .
            cn
             uk
              'wr
                kpp
                  1t o- * >     ,
                                >     M   %  j2+  .à>-     >u  *  :
                                                                  d %  <>         #>   &?oV*     h>
7i4
  4 kfxya ft
           4lke ce*um t> te wiihtùMr       diifke tb&w acçpwèdRe lxsoe tqgetezkwnafdtknoo
                                           :                         v                               ts>
                                                                                                       fœeGim>txtcbf
                                                                                                                   p%àncy&Y w>
           T- RIUENORHAX WRm' N* e N:2'                4w v* nmh- e > > .H- - a&oe:> d> > M>> o=
r
7,1 AzxotitéttàsQlm AutènmrdMi,:#>tlWfk          '                                                                             .
;3r* x. AtslœlAslua 4c14E'  t)1ttlNtjme. :B- Q.rpvasygnkm;yyurebyl      rmmt t- f    om arva dàerl
                                                                                                 iabf
                                                                                                    qykmde - lrxmkrad:x may
      a- lx'rxxtxAie exdfrom âaho uod/ (hl
                                         io qlraèt;kro rruknt
                                                            ka>' 1,11céntrax.
?= X:   Dfc ' o:œ el
r6'
7n*     (* ticH> 14:% klthe R+- .4 >
        m                                   lo a sw il m srzrcstre kppos'mltp a rxok trtfg pmr
                                                                                             a k?çoslill
                                                                                                       rr.enls wto
17
               .
                   zqixl
                       ée v dC>
              @)Rce tla/
                                                          - #::6,mG
                                                                  ' yyz'oshagpaye
                                                                                wnoknp4tladtec<a iqg;uo l
                                                                                                        kru Btveru Otp:t(v
                                                                                                                         ,m 4xle                                                                                                                        )   .
                       .l
                        aturo          cee ' G           q%e e x-           e làe e/:i    nxue lo %ti    o - z'pte- yhûm o sîppfx                                                                                                                                            -
7
#1e           sonsvk+ afqe- tpi            so- llre.rte- ofrtlt?nShx eke wprzat< ztàteqkide lMhvrY fotz- I         ntxdke ' InFkldcs
                                                                                                                                   a
              A44:*1  +51n10r:* * 'A% rsàonievdt*x         te: cvytàytite ff     bràjyûrkountypubthfethtzû                                                                                                     .
cxn
B             fc)Ie + r   xulurlë ot ,xxtre - ràjkztp. .- * lhg- :ciyl qmitetoxprce y.'slBtvèi1çoncerre < :e1.   e$:4444% irgomx:lo
&J'           *g
              >y  Be riœ .Gp- #G tlGœ @h14+W 41*#d***v              ''=l,
&#            w tfçtn
                    r?ee
                      oratiprr
                             os
                             01'
                               yzqtia
                                    wezi> x olq:eFkkltxvne k.> toppit'xl  ckgIsfofmatknMcor/mrerm oke tygSeetqx = œ 6.F.S,                                                                                                       .
11            rjlf-              .0 5 :/.:x1- p* 4976r44'* hmw44lbelvfe lfrAlpe lidjeilt% x@o
                                                                         .
                                                                             .
                                                                                                                                                            .
                      istlcrdgn- -e d- i  ë ttéBmyqnle     ti
                                                            nY fspJO Aw A:1.1t*,- % au eur*lyxm tetu
:8
85            k) Bt
                  fko  SHQMO   NQ;E<EDVf
              TIOG OMMURfTY otsctoàbée.EWI
                                         I/CONTRAt ITUW I
                                                        L BUVERIIM qK M AND aeo nl:HOMEAWNF.A mv .   G N.
                                                                                                        A.
:7       YIPO          TM O       A O G ,O CM                    K TX œG N M IK '       S= HO PO W V M DNA% /F
88       tnFq. + r> Ke aTiW *4EO è           * @t.(% A TSp>vI A NW '               i* KM   >éxr!tnay
                                                                                                 TOPs
                                                                                                    Uxj
                                                                                                      Rtyxsw
                                                                                                       C- Ao      t- fft
49,      sjmdsyaxpo w j                 s,                     .' opxjufmrpyr     jw ppv r                       .
                                                                                                               yojaxe     w hm>
                                                                                                                              e R,                                                                                                                                           .
:t       /w ufM M Y(x?;Sn* * *e*h%k*.           .     Qé>.- ,+'p, AGtTF YPOLPTCYATRAVIW APO G'
                                                                         .                              GQM G O KO' tok
:j yjl.G MNM é*r         MlWùx6é#àtT'!Omœ b                                                                                     .
ftz' xK (45* WA* '       O :d GG/Jie l''v'/kAlpwpr'phkomRwakwïtylo           ,   isyt
                                                                                    xröw
93* *,:xslW toeG xlé                              .                                                                                                                                                              .                                 ....                  -

:4
% ' xlu Ittv       oH: pe ro ANp,  Bl#$m'7j* .
                                             z?
                                              ,N''.!rl':t# - - t     h4y. * (/- qfmm lf- ec
                                                                                         .           rale ?- eot/pAa z/e ?withlo
%        wwfo tbh k,eago
         e                       ,à ,  - 4*, 6* 6* . ' at.ub# tà&aqi%ifg- trl            é'llzxb
                                                                                         ,        re 4/amtl/ro i    x
                                                                                                                    'e a'ti. #ixtn
ér to rlzefn:,'tà1Axpa% èib#tià//l*ti           l /' e $'  e'
                                                            -
                                                            t q   -n
                                                                   -è lk%/'
                                                                          >'''èyl,> 1t.    > *àà'  iR > * àk* < #@-.>                        -
98          amf.rwettv.dfobprih4eze '    - ' q'     ittù4* knw+
                                                            '''''' khkè ''yfk//f/t*wqdttàztigpy-ikkïe' -- * e+m*+'     *à.*alvm
*        toA hnntswptpt* tylk+ î ''' . tof*- .#* * <é* ,                   'lh/.t=*t= @Syê- '. ..*' èg*n'ttmktm- br'  àe Q- km
30       leà*lerp- f4tttwizphtlo>&'
         e'                              i##:/à- > :     - i'8.:??,:e e#4i#* * s- toôni4nt,pik#e- ' * p*dïstièuiœltnmn-                                                                   ,
           ate./
               yratumeetwsuym ttto>it   # n.à--H rA
                                                  ' àkkà/ae ,bèAkibi'ikfbpaliuhtièïàntgh- iàstfoz+u          ' csptpakheœcpptzts
A
loo1
   a xv. p-       . +& A- ram x/g n'     h>, .6: - #i  '?> >)shéiguwkèti- e. 'AgiN#'        èe>
         8Iô:% Ab> :)A:1>4cI     '>Kç1A :#7> Ji cH>
                                                  ' 'ge r     ikèxùlkdlàife' bi'     q
                                                                                     e lbA gtse .*a e 4- tlf- / nM t
4tm. olztxt- i          tiù o, v/- dlitlk.- Fgp é* N. tattAr>'           > éo'PA1#? tbdbksr/ict/àTAb'         bvflaq,
                                                                                                                    ccm ôttlhtE
tG * 2* 1'         * N Qtle/xme e e ëtW                        ïMdo
1cs.          af- *t- ct.
                        ij:
1œ e sanor x y hae èxNeao d pev*axz.   s z.
                                          w ehl pxoyexk.
                                                       z :ox x# t= >: :*>.0 az#oy ozgstsy. nxrtw tuxv tlxs?
$
'
  G7. 4el:lr iy ko mœtntafn e** ptoperty >=d pay atilitv cpltw. Bu#or *o #>y 4% rn--*lwion at eioaisv.
lœ XW -AYIEASTANDARDSFDRRFAQQA AV                         (FAsfm e dalesl:O eraxsre eraœ xwztxo re                                                                                                                                        #lolpg# vl
1œ lr St&A
        . * tsA M  WIZ œ1thkr
                            . pm . . id#pçM-
                                       .       .
                                               h e
                                                 . * wt
                                                      zhar è         GjaFpat4f,1*,  0. 1#A .
11
11;
  1                TMIStslO bm,,''    rt4#EW.1i,* huy RINPI.1.  0. N   .,.leNoTF
                                                                   :tRAG          . U.K Y IJND . .lz         .
                                                                                                                                                                  .    ..
                                 ..
                                  :> '  ,N , f
                                             m   c.p  0
                                                      + >
                                                        .
                                                        :  :,
                                                            > .èMN
                                                                 .
                                                                 .,>
                                                                   ,.'-
                                                                      . .4.
                                                                          '
                                                                          .n
                                                                           .T
                                                                            .
                                                                              4
                                                                              .
                                                                              .,sl
                                                                                ,,>
                                                                                  .  ,f
                                                                                      ..s
                                                                                        '.
                                                                                         '.. . , .                                                               .           .   .                                                                     ..
112        THS'*t
                M 1S'
                    rFC'
                       KM
                        , .Fle :* .: .: t.
                        .                   ,. '.)
                                                 BYm' jE? . - F ..     1
                                                                       A .           .        ,.                 . ... .     .
                                                                                                                                                    .
                                                                                                                                      ,. ,. . . .. . ..     3*1
                                                                                                                                                              ,1:
                                                                                                                                                                W. .
                                                                                                                                                                   :/,
                                                                                                                                                                     *.
                                                                                                                                                                      A-t.
                                                                                                                                                                         l,
                                                                                                                                                                          béP ' .             .. e '         .3' hIER,   . DR QA
                                                                                                                                                                                                                          .. '
                                                                                                                                                                                                                                       '
                                                                                                                                                                                                                                       .>. , ,
                                                                                                                                                                                                                                              .

rlpt
   1;
    :
    :i
     Ik                ik2
                         jl
                          t
                          :''
               .. ........ .4!  5l
                              j$;i
                                 ti
                                  :l.:
                            ..,z- . .
                                      141
                                        :
                                     .)NL .'. -. .i
                                                  3
                                                  .ç
                                                  . .i
                                                     .t
                                                      i.sqt
                                                          ï
                                                          .q      r..'-.. )
                                                           - . ...-       g
                                                                          d:
                                                                           lr.d
                                                                            x 1
                                                                              pI
                                                                              :-
                                                                                  :
                                                                                  $
                                                                                  1p4
                                                                               '.,L
                                                                                  . !
                                                                                    4j
                                                                                     !'
                                                                                      -.
                                                                                       i
                                                                                       t
                                                                                       ,l)
                                                                                         '
                                                                                        ;. .7
                                                                                         ..; f1
                                                                                              i
                                                                                             ..li.th
                                                                                                  ..
                                                                                                 .. k'
                                                                                                     .
                                                                                                     .'
                                                                                                     1
                                                                                                     t!
                                                                                                      8
                                                                                                      .t
                                                                                                       .@t.!
                                                                                                           4
                                                                                                           td1lk
                                                                                                               è
                                                                                                               .i
                                                                                                                l.i
                                                                                                                . 'l4:';...7..r,.t.--..-:..k-.,b-,,.3;
                                                                                                                      t                              2
                                                                                                                                                     ..r
                                                                                                                                                       1  '
                                                                                                                                                          .
                                                                                                                                                          1l
                                                                                                                                                           ki
                                                                                                                                                       ,-.r.-j
                                                                                                                                                             k
                                                                                                                                                             .    .,
                                                                                                                                                              s.iki
                                                                                                                                                                  )
                                                                                                                                                                  '
                                                                                                                                                                  .
                                                                                                                                                                  .
                                                                                                                                                                   r '
                                                                                                                                                                     ..
                                                                                                                                                                   ..-'?.!-'d,t
                                                                                                                                                                              ':
                                                                                                                                                                               q
                                                                                                                                                                               -,
                                                                                                                                                                                .
                                                                                                                                                                                t
                                                                                                                                                                                ï,
                                                                                                                                                                                 ..'
                                                                                                                                                                                   ;
                                                                                                                                                                                   t
                                                                                                                                                                                   t.:.' ....; . s
                                                                                                                                                                                   '             .
                                                                                                                                                                                                 ki
                                                                                                                                                                                                  ;t
                                                                                                                                                                                                   $
                                                                                                                                                                                                  .,i$.:k.......,..,.-,.k.:1-:
                                                                                                                                                                                                    .                        ,
                                                                                                                                                                                                                             .!
                                                                                                                                                                                                                               --1
                                                                                                                                                                                                                              8, -1
                                                                                                                                                                                                                                  8
                                                                                                                                                                                                                                  1
                                                                                                                                                                                                                                  ..1
                                                                                                                                                                                                                                    :1: .- ;.,..h.1kr1l1tkl.
1t  4            nwa1
                   ..rtC
                       -r'y' . . 'Tkrttw m. ui                 t,vl2.t>    .. k*>.                  ; t.4  C . '
                                                                                                               .  .? ..
                                                                                                                                                                  g   -
                                                                                                                                                                      :   ;  .)
                                                                                                                                                                              .    . .   .   .   E
                                                                                                                                                                                                 .                                .,. .. .

 1F p
   .
   tJ
    ts                                                                                ,-''î''-  ,. so                    zy p
                                                                                                                            ,#? ;.,.
                                                                                                                                   v
                                                                                                                                   ..,. I                                         , .#i ' ,, :
                                                                                                                                                                                                     ,,4:j      <t&es?- .1                             .
                                                                                                                                                                                                                                                       r
                                            .
'                                                                                                         . u g    , ,....                s>,.,.,,,'       !.yp. t
                                                                                                                                                                   .

                                                                                                   - . ..
                                                                                                        -1
                                                                                                        -- ;
                                                                                                           !4r
                                                                                                             .k-.. -.-.---..- .-'-'-1        :
                                                                                                                                             -0
                                                                                                                                             . 1.t
                                                                                                                                                 .,1/-
                                                                                                                                                     4t
                                                                                                                                                      ,14
                                                                                                                                                        -:
                                                                                                                                                         .1
                                                                                                                                                          .t
                                                                                                                                                           ?i1
                                                                                                                                                             /t- .' . ' .
               .   . .  .                    .             .               .                                                                                                                                                                '      ' .
                                                                                          ...- -.-        .                                          .                                                            .           .:... .
11B           +. >,..               .
                                        fj '.              '
                                                                     q
                                                                     ',
                                                                      'u.* 2. .:vt              . '.'j :
                                                                                                        )N) i
                                                                                                         '
                                                                                                            !Ep . !&ND>' 'reS1
                                                                                                               7. . .    L    .1* t1NQ: œ'
                                                                                                                                         :NTANFAC
                                                                                                                                               ' RA 'K TO
                                                                                                                                                        'X <'
                                                                                                                                                            rM#tEvsl                                                        '                     ''             '   '
                                            g            ...j                                          .. ': CJ                       '     '                        '                                                .
llz.               ,.           .-      .
                                            .                        -...        ....
                                                                                                    .
                                                                                                          ...,,.
                                                                                                               +    y..A .. x
                                                                                                                     ,rr,   ..
                                                                                                                        .. .. '
                                                                                                                            -e7
                                                                                                                              r..
                                                                                                                               mr,
                                                                                                                                 ;,
                                                                                                                                  .
                                                                                                                                  ,-,'
                                                                                                                                    z.     ' -   '...
                                                                                                                                                          -a
                                                                                                                                                              -
                                                                                                                                                                -z.
                                                                                                                                                                       /
                                                                                                                                                                  a -m .                                                             .

1t: pavba                                                                                           yl
                                                                                                     J:ht                        W Ip'
                                                                                                                                    :
                                                                                                                                       . rZ                                      .                                                       r
                                                                                                                                                                                                                                         tm
                                                                                                                                                                                                                                          M ï
149.
   *                    .    . . .                  .




 .  Btve e 'e trpe - .d roe -..u- - -..-u---w-                                                                                          S>            address,*rptcmscllr-                                   -       --          w .-                                    -
lX è M Y: .*z MœO.A *u xve.)l1tttàk.
                                   4#4.                                                                                                                                  .                             .                             .. . .                     -- .- - .-
1% > >* M km av o
                ' ,.Widà4
                        ..
                         e.Q    *u :4:,4 , Ftotp                                                         .                                                                                                                                                      6* :1
1* énoxK- 7>e'
             u*k
               'A j-                                                 $x0- t1
                                                                           *:b,
                                                                              /%'fzkxzivlhh:
                                                                                           aï+dt-tsvwoé'
                                                                                                       sà- ybrolçoracnsasuslo,
                                                                                                                             rxxry- km in corcr-                                                                                 .                                   wirh
1     t1# >                 :
121NA :- ..... .2w
                 e>km .- 1+ .G e. W hylvy.
                                         e                                                                                                                                                                                                                  ....- -
427                  %.
                      G W gajjy                                                                                                                tJs:#gByok.
    +* + * 1 FkM 7&% JQœ4 FO AM ndH                       W SN CAA W AORA IWG          Paq*'*f4
          Tlxi* SOE- > ï.x ii- ed to m iu e zezkkins - J*aktas Ke<ltt, T= ,1 - utaltdxwtf*m e.d<m .                                                                                                                                                                      w.
                                                                                                                                                                                                                                                                         r
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 109 of
                                     156



TLNJ                                                               MM 1S*STANPARDY FQR 0 21.O TATE AXANNAW Y NS
l29 h.IAn.EfNS>                                     c :Nm r4t (Rmmm cf4#v* t
                                                                           xlirat
                                                                                xxlthxaF4cxickxlicfk
                                                                                                   vxlt
                                                                                                      )skdir
                                                                                                           l- atlrmk:
                                                                                                                    g m s.
                                                                                                                         <a G w .$4w.
                                                                                                                                    n rr
                                                                                                                                       xy1rak4)f))lt= (- 9Iaeow                                                                                                                                                                                 .
t:m anv tThpat   x
                 ')
                  4&eklmwaremmll     r am mtpflhopl alehx*prt 'm,iut>hlBthesmx> A tqlt         xh#odpax4jo ,re 1ixe4toamdeasccr- f
!3l k!prmy;r?mhM1ar ldJttosdlptyItm NmJGIbyZgPa'GOZtkA:1.   t.
                                                             rdlsk%.M.'kkmktkze ittkg,lkke maxiiv.44e stox  qppkt.m   hm - . 0 .
t32 Tld>>zJwAY>MZOtT>e- Y e dtmrlt- wlt            hG LGN' kt    X:Inre sdwsfftxpdatcxuzceee œpn ecgmwpfrznjooynmloet        tandztigoïv
Ia3 kqdndtk/ lrm- rmttv&> cl> < <4:dd<'4wi              . e tpr0 4* usvpa  *4xt/le .làlrz#v/l'
                                                                                             he a:tkra lax'n q:c.e cfflotvm torfwxjwj:k,y
1,:1 epfem xqetf
               m w'Mk)hatyryxlwtw* .  sx> ttl/'  '
                                                 e        4f>cx tA4/'  m kkttko t*:u> f<koîèo lkrt- jtjoxmtpvqlhatkrer        kyao sx.
1% utAlr  m.re a< tollxcA IN 1$11> ' wedto t/#8tkll1 t>' '* % xm wwlpo*'tttq'For.            A rcfarate wtNàmdôfdf  ixwmlpxùwt   hwaw , l
4:1 txlffgunt e m G> .#G çt'    tfxtog?rlto stjAxe ele g   tpnfkxrnedtoh' wedœ pitm tke  x pn4$4  x1tmYmkcfsh'l,4qvodGum:ppcwu bk.
tnr gr do tclxlmfxwmtde lëwe thoe '.             #re .q xA fk'     kyk
                                                                    ')yA kte ris  ',uoabhtpjaxkwzëtw ttp tlofèytm.ee/ofstxee cmx o o,
?38 çlckjcl.c:rr- caro   + fzla d<4oe11.îtte >          tkm amrla :> .1ftzthtvcb#t      .>œnàugxtttpditktfzar.tK.* ri  xtom i  do1:,
                                                                                                                                   0mu)
IC/J Crxrm tm yttwxsite de-
                          .    . l
                                 orhw k- exyt:t)!m grmrtoè.kt*.
                                                              xJxBu> t
                                                                     mvexp-vxlckxe
                                                                                 Ai:eal- fAo.
                                                                                            eraoallwv:uo p)ha-e?shom rk
                                                                                                                      aloo?w .
                                                                                                                             y!
14f) tofzvyf
           hk'
             p sarrm ktW mk
                          'dllra wo :tïs*% Sr >      ,
1'11 K PQIKHAV MQNPYM9Rr    ' CCAtlm SEGYO AG'M eMQA IJ.     Aw41m :Apmttbxolr- wknrte qsrd >           rcy otoeo sjx;pxklofar.
142 ooro t   eaxlx> l>Qmt- tetg-.. f#:e tf4  me e a:lô* 4r= v          kre /c arm rt dcrk- m t- e;sNt#ro kb1er% t:m gf          rmrl
14a <vztreerxt  npadx
                    ylqtxkfxif> 4lpr-'nt- biàjb'      è<!
                                                        .nlottraztâf
                                                                   l'of:G 11% P/e> i*a4hxyppa4e rta lmdactmitlr      'aTm.
                                                                                                                         n rot)opctt
1.1'T êntrazdMa> ' ,F
                    A.xsfe          ' otorhatfmqrKmntxwuc  > x  sfe .         )ésaxfnqA Bkm :p maml kpsyolbe:11i ruurdrrw mmte kga
lzls qMA Y eoftrpvce otae razzo4tr
                                 l wëknpwm/mtG hktto :xikfugFrop.      ,tlya>hrzW ert àgpf)rl lcktcdva #'   * >rs'extor.sa oee-vkjgn
f'16 cmcklscrmtre 1md* otle dsksotG> e Ce rIrwylx akw yfl        xyoy
                                                                    ' tnQnG       >+ yrc'*tœ44pe iou atgeqqke' ,Mdtrfpctt!y'itpvrzta
14r mxlm rqy- e k* 4,1x1::t- wts:1nfoem zndetm mit     o. xîdtve ïb.utryeel'  frùyto rtk- e- apdyxvi    '
                                                                                                        wrrA.txstofce kyumdM rczl.
t:$9 ga xlrtytge nqt  c aM rm lt#qqrisrfO '
                                          4efktmjyjkkkes'@ e a.pakftlxnkk/xttgkiflstzulxcoffie qafba* ltraéte lkyecourqyv- dnm)
ï39 r4*. Pa:> /2 l
                 txat
                    od./peet- Rr* e *?      > *e t*6> # m '    .1
                                                                axj'
                                                                   Nkkm Sàleloptkm tqe       lltxjle c:a'aàw*yzv ctynr
                                                                                                                     zntcv.
!50 derrxd N/evYeWlorQed$r*     stakjma <#(W G WdfIW Va>*= fruqN d*efxkgaynemy#2 - 1tIII:.
                                       .                                                             rPA plymm sm% vj
$51 ç.KUIWk'K he f:# Ihm he d .
                              - .* i:A dkryœ o e '   ze ovkkmx ofet> tomarnlrWzace.l rw yxkokleqeM@ro r/surwrlx .lae eot,
l52 ( x% W àro fe i7ttitl4mk> x l
                                f*4>       * .
                                             W*la>        % m 41*9+ ptl
                                                                      n
                                                                      zm 4rt  lltRi
                                                                                  m ov-lee l  = te t-     jxxfe olM bacf
153 1?- .ea erv a,%e ofe io prvwslMToanyrw-' A .cgx4* m> l crapr- çox'     o#fnA i f*uqatk- ,lhûàaff
                                                                                                   jdt- lkoasjMeà/l &dlai'.
I54 p.woœ D> W* W' O *M8i@V >P>n                                                '
155 L lNGRe&%e m p8*''   e war*la%hd4LY > . ..lt4tl/o. E
                                                       Wsm/4o e
                                                              . .po  o thœs
                                                                         . - piqxoï.>*  .'krk
                                                                                            skvme uptid/cbvï
1* kpar  ..
        4jyo s#lw- fwxjiialov
                            - - pmg
                                  .m y'
                                                         .
                                       lirkw ke atktgktlfzèvzm* ; p',e    .
                                                                           ,
                                                                           #',> 'e' ' kow  w oro. p#ghtusactex..                                                       .

157 F.tm s:- àte 'zl- 'fptlawt-wetàxidv.tknkiùaip'cpe ofy-' z    - -œ'r
                                                                      ec- . - - em- l> ixle meœT-e
$5* p
    -nddmaamolme- t::tkotg- ze- re% .vlwe (
                                          -.fizikzkkpxi'
                                                       vf
                                                        xvtx-
                                                            ''' #:'
                                                                  ,
                                                                  W'r4W. #- iitmistétodb
                                                                                       .t
                                                                                        .mlxpt
                                                                                             aiktti
                                                                                                  yfrt
                                                                                                     '
                                                                                                     m'nre. tor.
4s9 ancthd- *-           '
                         * .a * > 'w - % - e' A#tH tk             't
                                                                   'kks,
                                                                       k')tè.e'''&er   e s ?.
                                                                                            '- ''acdeuwfrw wee . x tter.
1m apttootm*m. sïe lrev-'' ,N'*e- rlu lh4i - t#brtpy  'go. ,tvne
                                                               .     .i'
                                                                       ro<% *7 .s.:
                                                                      ..               hw g:% uumjfjatv#gscdotéxtwdapaéogvxtana                                                                .
                                                                                                                                                                                                                                                .
161 nt* 1oI>Ae<* 5* .      s.
                            #r
                             + oW&4m;.* ùiit#.      <).
                                                      > .c; :* w* > + ,loj      )uox r ix. ysm                    .                                                                    ,
1K %.t1QNSf> +411=15:MDWNG t       lttlz#L%%
                                           '' r
                                              4lddTe etèe '1o+e'     aK>'' ',ï4*V '  %% % ' $mbk#zd% rzere gofe :nrqqnd:gsezttmteat
                                                                                                                                  .
161 o- /e nrpx wkw xvskxywotoèle e &fiî-#t-' à:e > - % noe f- ikkdee owinexemw wrxi e krux.
1&$ t- tzt- ç- ë cuq- ,lfwee ezio,t         p- ' ,p$
                                                   *mAvye zrr   or- .:  + .nkktlkp,- r     xiil- m- e:or- xëwns       .  r,t=loran
1e - rl= * '   w + - >v- ti .                  ;,
                                                x. - **,04:e- 1- kwi             tùe .e xewz- wl.làmvéw lxsswtsw.
1e6 era cfm atoo'stttxmne oi.xlpp- a/hdre i* .A1- - ng4        '< ' àldta4q*F  ii@kG ke orltslml4e e àe- aqmbnxsfara                                     .
tE7 t'
     .
     = % 7e GazèY e -             le > #=e el%:         l k,f> *. gdte ce vt
16* H.P> œ c OS>œ > > * * à> = n>> % N@:                     R* >        t@1%. 'edpteecrr deoftl
                                                                                               w gtarrxvc?o!M okakxlaqegalvxasdra                                                                      . .
1* + 7              W @zplTypa/fmRg&jkbkke e z otfhg#Oke G ke+ e:S!          ..lc
                                                                            dt    1
                                                                                  ,4W.
                                                                                    .'              '
17c l,mKm:lrom dhglim rwkvu l- .n:ul      @<< ou. p,juro ùykkjxœoyrswuo              : hgjxpxxjtsw goxkmxNo mo . oa
t?! f>:> %- o1e e a> - ze ,+ à+ W * > ,e <* o ,Y'                              1ohG G        */+ eKe - '             M ee o mttx k                                                                 .                                                                                          .
                                                                                                                                                                                                                                                                                               '         ' '

t72 J.mLt*l#ë= J    .9ENrxke r;lalfœf* t#e'+.
                                            '< b'skv' e '     k
                                                              ooitm'i okuzli
                                                                           pie G'- ;e              .
                                                                                                          :à>< a             d> : .                                                                                                                                 '

1ra u km kaz             e- t- ldtoe. k>                4.
                                                         ewv - à*uhl    mwia ,mtgw rmà w wi.                 y)4>        - =.                                                          .                     .
1z4 K.- e tG l- w w x e - e - - r--                              h-         - -u     e w se f  v - d- se - - ale cd
b7f f- soaœmlfëm lglc> .bwndke*dog                       so >djqpfe'l     kllk- :w'   lwxe frk- e w mdtwvrtow x rrol.
17e f+ > *+ M>- > * e .            e G 1M = * d'>                    > > > * G 1> #hr                                    . % % % >1by>zt.           r.
17? œM - e e e bykwœe o a >                      e a> e -            e e e > :e e >                                         A -        G n t> g
1?8 lm tTrklimgrkz- telde e A-' * /ge. - e by*:- .' . ' fcfetle' j'
                                                                  .                   w'+:d**      '            h% = * ,                    M                                                                                                                                        .
IH Lél4oqAmcKmrAc'ron%:u) .. ..... ..J ..;r
                                          œ  t
                                          . ..i,- . J.>'
                                             !u       . . .-     e - ##a
                                                           . . r.. .
                                                                            w><f    1 ë    @je     4 #j   *t  me4  r@>   ,
                                                                                                                         t#*     4+*    >    oo*u.
1* lytf#* G :R * . ë:We a $%, ,t
jsj Kow.
     '!1
                                          >y,p*F* -..> ,.K           .. smot-
                                                                 y. .,      v.
                                                                             .a.a.
                                                                                 xw.
                                                                                ,; -.uu.u.zuw ...x...a.r..,.,.;
                                                                                     -,.. ). .,:(,.., . -.,..
                                                                                     .                        wu
                                                                                                               .:.
                                                                                                                 <u
                                                                                                                  jx
                                                                                                                   :y..
                                                                                                                     -,.;
                                                                                                                        ...a.
                                                                                                                         q.
                                                                                                                             )
                                                                                                                             a..v
                                                                                                                                w.
                                                                                                                                 .
                                                                                                                                 v
                                                                                                                                 =.
                                                                                                                                  ..
                                                                                                                                   :
                                                                                                                                   g,,
                                                                                                                                     u.,
                                                                                                                                     . ggub
                                                                                                                                       -  .v
                                                                                                                                           .
                                                                                                                                           y
                                                                                                                                           k.pu
                                                                                                                                              - s
                                                                                                                                           ,. .
                                                                                                                                                 zjja
                                                                                                                                                w-
                                                                                                                                                                                   . . .                                                               .

       q,r..-..w
               . x . e
                     u7s-a
                        f     a  -
                                 -.--.
                                     -.'.-'o      i-
                                                   dz.!!1!w  érw:i.a
                                                                   --z
                                                                     w
                                                                     -.-':-.e  .,.aiq.J'x'.    ': .%       .'*''wrh't:mw    ....('. v ., ...
                                                                                                                                           Er
                                                                                                                                            *.y
                                                                                                                                              'r       -       ur  r.4
                                                                                                                                                                     'rw
                                                                                                                                                                       ,       ---     rq
                                                                                                                                                                                        'k4=la   .wzx'   -:            r ?xk   .k --7<r..,--,..-.xv:'xra',r.:-.Ia'.à-.'.a'y',ue             > -x--.''-!y'.'>
                                                                                                                                        .
                 3:.
                   ïr7
                     ,--'
                        --.--.-
                              -.-'
                                 L         Ar
                                            .b.v'k>!
                                            .             ..
                                                           w..       y      a..r  %'L   . ' up.s. , .: ..'* :.x..*@n
                                                                                                           ..        ,
                                                                                                                     ' ....q.
                                                                                                                          .             .     ..
                                                                                                                                               ',
                                                                                                                                                ICI;-t
                                                                                                                                                     '.='
                                                                                                                                                       ..,-
                                                                                                                                                          >xT
                                                                                                                                                            ,-t
                                                                                                                                                              $.
                                                                                                                                                               :x
                                                                                                                                                                v2
                                                                                                                                                                 --. h *ï'v
                                                                                                                                                                          '
                                                                                                                                                                          *.:r
                                                                                                                                                                             .<.
                                                                                                                                                                              %< ''r
                                                                                                                                                                                  ).xu'y    -
                                                                                                                                                                                            ..x
                                                                                                                                                                                              .-'xw ;...,s...
                                                                                                                                                                                                ..          x,:y
                                                                                                                                                                                                               ...
                                                                                                                                                                                                                 :.g:u
                                                                                                                                                                                                                     ...
                                                                                                                                                                                                                      .
                                                                                                                                                                                                                      -,.)
                                                                                                                                                                                                                       ..  '-
                                                                                                                                                                                                                           ...
                                                                                                                                                                                                                             .,
                                                                                                                                                                                                                              z.
                                                                                                                                                                                                                               .,
                                                                                                                                                                                                                                ,
                                                                                                                                                                                                                                .y7,..                                        y
                                                                                                                                                                                                                                                                              -z
                                                                                                                                                                                                                                                                               '-
                                                                                                                                                                                                                                                                                ;.'..
                                                                                                                                                                                                                                                                                    ''.
                                                                                                                                                                                                                                                                                      ,'..
                                                                                                                                                                                                                                                                                         x-
                                                                                                                                                                                                                                                                                         .''-.-%.-.-'.(
                                                                                                                                                                                                                                                                                           .                ..,
                                                                                                                                                                                                                                                                                                              '.-..-.a-:---''
                                                                                                                                                                                                                                                                                                                            ..
                                                                                                                                                                                                                                                                                                                             a.:
                                                                                                                                                                                                                                                                                                                               w,k
                                                                                                                                                                                                                                                                                                                                    xe
                                                                                                                                                                                                                                                                                                                                    ''-''
                                                                                                                                                                                                                                                                                                                                 -;..
                                                                                                                                                                                                                                                                                                                                    .;.;..z
                                                                                                                                                                                                                                                                                                                                          ,......rz.sp'
1.1
  b
  i1
   p
   rtl
     yll
       rt p
          rt
           .
           pl
            'l
             q
             ki
              lpt'-' '   . ... ''.?jp/ljl.1:             .1
                                                          th r:------''-a''---- J1
                                                                                 .1
                                                                                  1t'l
                                                                                    , .'kd,...!
                                                                                              !.!!.7'i.1                                         <   .  ... ,r-j
                                                                                                                                                               .jj!
                                                                                                                                                                  ,ji!
                                                                                                                                                                     4
                                                                                                                                                                     jr;
                                                                                                                                                                       j
                                                                                                                                                                       1E)                           :j
                                                                                                                                                                                                      L
                                                                                                                                                                                                      ,
                                                                                                                                                                                                      .
                                                                                                                                                                                                      i
                                                                                                                                                                                                      ?
                                                                                                                                                                                                      'fb
                                                                                                                                                                                                        q,                                       f-        .        -.                                  .,
                                                                                                                                                                                                                                                                                                         ....                          .
                                                                                                       $
                                                                                                       i.
                                                                                                        p
                                                                                                        f
                                                                                                        l-
                                                                                                         1
                                                                                                         :
                                                                                                         d
                                                                                                         k!
                                                                                                          .
                                                                                                          :,
                                                                                                           t
                                                                                                           $.
                                                                                                            -
                                                                                                            1$l .
                                                                                                                '   . .   .     .
                                                                                                                                -
                                                                                                                                111
                                                                                                                                  ;-
                                                                                                                                   19
                                                                                                                                    1
                                                                                                                                    .1
                                                                                                                                     2
                                                                                                                                     . t
                                                                                                                                       l
                                                                                                                                       jk
                                                                                                                                        r(
                                                                                                                                         . .                             ,J ; ,4l j                      -b,
                                                                                                                                                                                                           .)3
                                                                                                                                                                                                             ,.j
                                                                                                                                                                                                               ,1.
                                                                                                                                                                                                                 ï
                                                                                                                                                                                                                 44 .
                                                                                                                                                                                                                    1 .
                                                                                                                                                                                                                      4.r
                                                                                                                                                                                                                        y
                                                                                                                                                                                                                        :,:
                                                                                                                                                                                                                          sJ
                                                                                                                                                                                                                           '.I !j
                                                                                                                                                                                                                                r-?,rI  '
                                                                                                                                                                                                                                        .   :iI
                                                                                                                                                                                                                                              ..-                                                                       y
                                                                                                                                                                                                                                                                                                                        .'
                                                                                                                                                                                                                                                                                                                         h
                                                                                                                                                                                                                                                                                                                         rj
                                                                                                                                                                                                                                                                                                                          ti
                                                                                                                                                                                                                                                                                                                           $
                                                                                                                                                                                                                                                                                                                           kt
                                                                                                                                                                                                                                                                                                                            j
                                                                                                                                                                                                                                                                                                                            y
                                                                                                                                                                                                                                                                                                                            hI
                                                                                                                                                                                                                                                                                                                             j
                                                                                                                                                                                                                                                                                                                             .iIi l
                                                                                                                                                                                                                                                                                                                                  'ilpl?
                                                                                                                                                                                                                                                                                                                                       t
                                                                                                                                                                                                                                                                                                                                       r i
                                                                                                                                                                                                                                                                                                                                         l.k
                                                                                                                                                                                                                                                                                                                                           'l' 'i
                                                                                                                                                                                                                                                                                                                                                .rt
                                                                                                                                                                                                                                                                                                                                                  -'i-
                                                                                                                                                                            .  . .;.
                                                                                                                                                                                   k s-. -  . ,, -,
                                                                                                                                                                                                  .
                                                                                                                                                                                                  ,;;.                               ,, ,
                                                                                                                                                                                                                                        .         '-I(
                                                                                                                                                                                                                                                     j
                                                                                                                                                                                                                                                     ;
                                                                                                                                                                                                                                                     . i
                                                                                                                                                                                                                                                       s
                                                                                                                                                                                                                                                       jiI
                                                                                                                                                                                                                                                        .   .
                                                                                                                                                                                                                                                             jI
                                                                                                                                                                                                                                                              ,
                                                                                                                                                                                                                                                              ;) Ià
                                                                                                                                                                                                                                                                  ià  ùjï
                                                                                                                                                                                                                                                                        .y:
                                                                                                                                                                                                                                                                          jb.j6
                                                                                                                                                                                                                                                                              '
                                                                                                                                                                                                                                                                              .b
                                                                                                                                                                                                                                                                               g
                                                                                                                                                                                                                                                                               .
                                                                                                                                                                                                                                                                               j
                                                                                                                                                                                                                                                                               :j .
                                                                                                                                                                                                                                                                                  j jy( .,
                                                                                                                                                                                                                                                                                         -...- .   y
                                                                                                                                                                                                                                                                                                   :
                                                                                                                                                                                                                                                                                                   .j(-
                                                                                                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                                                                                      :'j
                                                                                                                                                                                                                                                                                                        ,
                                                                                                                                                                                                                                                                                                        1k
                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                         j,
                                                                                                                                                                                                                                                                                                          j;
                                                                                                                                                                                                                                                                                                           1
                                                                                                                                                                                                                                                                                                           ,.
                                                                                                                                                                                                                                                                                                            ,
                                                                                                                                                                                                                                                                                                            r .  .:,.:
                                                                                                                                                                                                                                                                                                                     j   1
1 *  'œ
      -
           w  -
1 . r'* wlll>*.  .-
                  .
                      .v            .  .  .;  ,   . .,=
                                                      . . .   ,.
                                                               -    u -
                                                                     MK ... .
                                                                            =-
                                                                             ww   w.    . .
                                                                                          ,  ,.q.--
                                                                                                 '
                                                                                                 - .-  '..
                                                                                                        ..-- -
                                                                                                            ..
                                                                                                               ) ,-
                                                                                                                > .e ,..- w
                                                                                                                        t/. c
                                                                                                                           n.tI';.-
                                                                                                                                  k.,.
                                                                                                                                     , ..   . . . .                            .
                                                                                                                                                                                                     . .
                                                                                                                                                                                                                              .. ,
                                                                                                                                                                                                                                            ,j,  ,:,                                  -               gof .œut..kù              .  ..
                                                                                                                                                                                                                                                                                                                                  ''*'. .
                                                                                                                                                                                                                                                                                                                                        u
                                                                                                                                                                                                                                                                                                                                       -. s. '
                                                                                                                                                                                                                                                                                                                                             f--
                                                                                                                                                                                                                                                                                                                                               M  z
 N + :foi     jae .-i'aj
                            . .. .*c.. ,. ...
                          mék jcûwy:         =':.cz,,'t.(;.-u.),..
                                                                ,.7,..a..,.. . ...,.... e 1 ,41         , s. ,.. os.-..  rs,.ç-,?.m.e
                                                                                                                                  .  :c,:
                                                                                                                                        .'
                                                                                                                                         .
                                                                                                                                         ,sw-..a, t,
                                                                                                                                                , w:... ,,.
                                                                                                                                                          z...'...   j
                                                                                                                                                                     :ju;R,;.,...'.,.;,., .
                                                                                                                                                                                       .  ,
                                                                                                                                                                                             ,...'>.t  .
                                                                                                                                                                                                       (, j'w >< ',                                                     .                             .

                                  l' ':' .                           ) . .''2 t''g'7'g ' J' x'.*                                'xi
  ,                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                 .
                      '                     -''
                      - -.                   '                                                              : ''. .. ''z.'.          ..:' I.'j..:)';.'--..'';                  z; %
                                                                                                                                                                               ' '' '                 '
1as fv tk, '
           *.
           ,
               ,         '
                           g
                          ,.1  1*   -' -
                                           i4,'*. .,. - ., $*p+       .      .      >
                                                                                    .....j< .if)    .e , ..  G. . , . , ,.e            ,.- . ..-,,(.... # 0.!
                                                                                                                                            a   .
                                                                                                                                                                     .*..'Nt    .#.   tt.*,:akùitfj< *1?> ..qt    ., t*rzlt
                                                                                                                                                                                                                         .pw     ,                                          .        .       ..
                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                          .
1e  s
    '
    -'    im  l
187 n* Rh1%e . i
                -     ' 'ë *-
                            '   '
                                wt
                                 .k
                                  . k
                                  ..; '
                                      b
                                      ... +
                                    ...     '
                                            ' w
                                        .... ' . ''
                                            .         k /'' i''k
                                                               1'
                                                                :lzepy
                                                                    '  '         # ? '#p >
                                                                                         si
                                                                                          h-
                                                                                           'x'' x ,  .;:-    '%J'''      :#   #(     / ' wp''
                                                                                                                                            t'
                                                                                                                                             - '  ' '
                                                                                                                                                    y '
                                                                                                                                                      -  '    è>  ''   ,
                                                                                                                                                                       *'  # x*'
                                                                                                                                                                               .        '
                                                                                                                                                                                        >        .:
                                                                                                                                                                                                  %   a <a p-        e  cs:.
                          he                .Q# W, . ',G,, ::i
                                                                                 .
                                                                                 .W. C
                                                                                 .
                                                                                         :
                                                                                         T.
                                                                                          %..
                                                                                                t
                                                                                                # (0
                                                                                                .     ,. ., 4* :.i,W': u.'Vk;        '
                                                                                                                                     ## !h''r
                                                                                                                                          C ;1
                                                                                                                                             .!!
                                                                                                                                             !    '
                                                                                                                                                  .
                                                                                                                                                  '?P9
                                                                                                                                                  #   ,e.<I '
                                                                                                                                                            ., .,.l
                                                                                                                                                            >     &      iW
                                                                                                                                                                          ë.
                                                                                                                                                                           .,
                                                                                                                                                                            rtt,jV     #   , iil/p  ià  *q W
                                                                                                                                                                                                           ,s  t   1*V
                                                                                                                                                                                                                     :  'W.
                                                                                                                                                                                                                        . .
                                                                                                                                                                                                                          =      .
j. m wg.x.wk  .. . .  .k - r.. .
                             '  .rk .y  ...rx. y jsk .q...  ...   'j
                                                                   #k
                                                                    fv;oa
                                                                    ,     , .
                                                                            ro.
                                                                           ?-    - +z
                                                                                    sj:.x.----ir...---...
                                                                                                       ....ïy
                                                                                                            2gj
                                                                                                             -.-v.y-,
                                                                                                                    -...
                                                                                                                       w
                                                                                                                       -;
                                                                                                                        ...4 .,
                                                                                                                              ïu
                                                                                                                               ..-tr.w
                                                                                                                                     .
                                                                                                                                     .--,, xsw,- k.,
                                                                                                                                                 .     k.:-..--: ,.c,.
                                                                                                                                                          .- .         - .;j
                                                                                                                                                                     rrr   ,yy
                                                                                                                                                                             . j. .,,.-.- -...
                                                                                                                                                                                             ,y
                                                                                                                                                                                              .....
                                                                                                                                                                                                  --.-.. ..
                                                                                                                                                                                                          - -4w-.'s,.
                                                                                                                                                                                                                  :.. '
19 Mt>            * . G 'Le iO '                                  V W, O V                              '
                                                                                                        Y te e qe . W, * , O W >> ,.                                                   *-r*:    'q, D  .
                                                                                                                                                                                                       bm >* #y#* bO                                            .
IW'H H X o   uw
              a> w=vzwwj   wwxwe  -xw wu       v. -.
                                                  .     ss
                                                       vt   ..z.-r
                                                                 .=.jw.,.aw - a
                                                                            2       -er.-sw
                                                                                          vvr  s.
                                                                                                wesaww. m.  -u,n.   tf                 ss> ..#% :                             yjjx.jj.    o t . 0. . a                                                                                                                 .

1*1 Fw .msmm t    .**%
                 et. .. J          e,,y.  uyj  .. ...    .,...,..s          .s
                                                                             .u
                                                                              .. . k.e .@*r y.y;o              ow..ox  uuy.,y)
                                                                                                                          ..
                                                                                                                                  ..t
                                                                                                                                  t,
                                                                                                                                       j
                                                                                                                                       .v
                                                                                                                                        .u.
                                                                                                                                          vv
                                                                                                                                        . .
                                                                                                                                           yyr
                                                                                                                                             u
                                                                                                                                             x.  vyj
                                                                                                                                                   u
                                                                                                                                                   jx.
                                                                                                                                                  à ,.a
                                                                                                                                                         s.?u..yw .r..$
                                                                                                                                                         .                     o
                                                                                                                                                         .r . ,. . .. v .. , . .
                                                                                                                                                                                ;.u
                                                                                                                                                                               ,.
                                                                                                                                                                                      .,ysa.
                                                                                                                                                                                           .
                                                                                                                                                                                             zg
                                                                                                                                                                                              .yq.w
                                                                                                                                                                                               c  .f-.cs
                                                                                                                                                                                                       ;k .s.j
                                                                                                                                                                                                             u
                                                                                                                                                                                                             jyy w uuu
                                                                                                                                                                                                                     , m                                            .
$* &-.:'-.... .% .* ri!> +r           ë.e#W   ,
                                              . .4:g'            .
                                                                 u
                                                                 (EYb>.:                                   .                                                                                             ,                                  .


M K >O                  M D:G <M 'e > '
1@4 ö-Rl  *t* toKqi#:G p3ydtyl twp> ..Mz*:tt*.z r-...#s*
                 .                                                                     .. .          ,. +  ; G. -.-m,, d#q,    ..         4,e
                                                                                                                                            .o,1,.'/, ;G e 9n        ,> .'    notz!     el'tea.   43%oftt   è1A.m.* Pzpœ.
1%6 rN O/A -X       IaA*G ' tpxnox+         , e ot'           * '        #M > ,           W I>                  1 , G j/vlt'                 o '$rZ'ïéP;* W < '                  !@qxptk#*
                                                                                                                                                                                   .               ' .e            V.X i rv.
1Q6 lfteete of*
        .
                              :-*ywo Tsxao .                        jutvo pa           ,    Fo y.      jjx.sw ..j!s         y 7E   .w,,..2 %'ku .#         ,.
                                                                                                                                                            +. ..ï,
                                                                                                                                                               *        <ujzsw ju ,:                 ., sj.
                                                                                                                                                                                                     ,      y
                                                                                                                                                                                                            w.kxjrsxi po.
!9F r,va w .hyvoe sfse hGe ly#+ yc<G La- ë#4#sq$,%œ6* * '%'                                                                                           4 e k'           f'  &> *knellzr*erfke e 4                    * :*
 fkn ocmract
 5r/: Rct- e pAoerouRe rcf- - ltnft- Kwtlitmtk- cpofftke veett
                                                             4zu- wwi
                                                                    --                                                                                                                                                                                              - t- -                            :
                                                                                                                                                                                                                                                                                                      **.
                                                                                                                                                                                                                                                                                                        w%''n
                                                                                                                                                                                                                                                                                                            ':5:7.:3:1.
2x ssxxasa- dL'v.th:.4rynww'<ckx-'tikxmuwefe- ' w - -Astsés-                                                                                                                                       fdttàlbew
                                                                                                                                                                                                          'Nvsxexunlt
                                                                                                                                                                                                                    ixse NAlAv- z
                                                                                                                                                                                                                                kmhmboœ u-* -                                                                                            o e'
             FNWtAqM >',                              M .7&4 *tt+ OPOMAKYS#O IëFY                                                                                          Y T*FSA WJ MBbihe. M P#*,
                                                                                                                                                                                                   3Yf*
              lbàa ye'tww-
                         v* in lfomà'*d :* n<*û* <*>X4>* - 7
                                                           .lwvt/a K**1te. Th*.1 >w*.t>*taaAâ#olw> .<o*.

                                                                                                                                                                                                                                                                                                              .r..r
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 110 of
                                     156



 3)3                              *# e*A ANDARISN        FX RW Em R TnAN**r'        .M*NS (Y NUO )
 1)2fngp                          'gn
         Axxxllpnslbaïapghctljeckwn
 211 tàktm fcm- fsprennekotatgo     vr
                                     e- t*SN'
                                            Wime i
                                                 nxvi- lwIhltài'
                                                               ptëY               fG'âllrkxlr/retM 'dmn541+ O GI      t>M? fzg> s
 j                            .a'loxlhrlot' vT
                                             AofBtr/txBlovMél .eet:thlstkjypf* tofo fdk/ksNjcsoft     l*@lG - sR* ste Nwonlh<ijx' j
                                                                                                                                  ys
 >4yt b
      oyBv
        na xmimd
              r:rf
                 xh
                 vat
                   A'
                    aof
                   hn Gfs'
                        xi
                         tx
                          y:
                           htf
                           s got
                              t:.
                                lr
                                r rxi
                                   kmcmuxI
                                         (0cr
                                          ,e
                                            rodtotb!a:t<9:**,e '
                                           m*t4#mtefa
                                                    itol-
                                                                    loe gcàgqètn:
                                                                                %f4:4, a'df
                                                                                          xkA   avd4i
                                                                                                    he    kee *  1.
                                                                                                                  .:Proixo .ueatn'Nal
                                                                                                                   11%   wl
                                                                                                                          k
                                                                                                                          .:
                                                                                                                           ezd zf
                                                                                                                                omx
        /pyem ftyandntetm:w lp/* * 0            /1)
                                                  :mx  ti>>>Mtrj
                                                      xl        emtAv*o?ë vahtudprm m nte r      > ,fttum te Y sty'
 177 1* tix                                                          edo otA*;#!#P1àd: e f  ,'
                                                                                             x lqmxqlqydr/
                                                                                                         A#ximoalfcyl ufkmd% prcdfal
 1> G O ofm/ âskmsva- x n#qqalazwc> 6zéplotwijrcfm r       fqat%frxxpacmttsfiW G wahtkpTaelpzrrë oluœofwm- k    txr.tm tke lt'tndna4
 &
 2lo o.
     BmrQzg>
           mq-@:  A>Gu*qA+m
                  /             .)%- > > >.lI   > #)A+ O.  > < f$> èr> W'          këm-' ' e lt- œ -
                  .ixAfi'tisokïqst- tmde4i-''tt:dl%'
                                                   ù*s'
                                                      din'
                                                         he- lci'ùkjW olMtmwe ltznlkh                   tron- opl
                                                                                                        .
                                                                                          #mtmêile lr#kir      F>mx oToe.
                                                                                                                       ëo
                                                                                                                       : ttoxt
                                                                                                                           ,t
 21I dlxySIt#TICAPY /K éj1> %pGffrA kQ.jykjo jéjjvyo é.  éjjits,wqjo j
                                                                .      'gzlj jyyjc pa ce xoo ygo gw y. rzm.
                                                                                .                                            o
 zI
 22 tll otolx*se zte rzvke ol4*= - uh/ikkie t        e oe tvie ,          o eunVààl      eje cipA. /ole . - yfe - tez:
  !4
 2,: *-
     A efrta> lte
                zee H o, mmop- .or'  A#er
                                        dmi/çw*gx*è' wlQlmece 4lklit*pitr.otgtNw/#je e oflbeg- .M acortyvbzhorepw:ejx
                                                                    .                                       .
 21ô #uehlltee lesexcqr     wtto*ooxtmtçtG' m% hr.> > L*4> '
                            A>  t- ,e      *   *  *J*  '     :
                                                             <* d*k  #'
                                                                   #eiA1 @b<' e$f î> * W:    x!1> .+e % #I>p>ce?k4r         of
 21s                                                                             e p. 2q:G 're Y e tW v e vecerpcl.wyn
                                                                                            .
     sfwk- ofcau'   - .   1?5.Es..>:
                                   * * l.W. mzkW xtlE
 2'7 aw oxw4xv hlorwlffylaksiveste fT*lkkaqfec- v
                                                      e tmd- wh4ddu        zj4eaitNne ap</lxr.  ma ë'ctkvatz w ttayojrov. o ro
 Q1A > > f1                                        .e lzoal- rm-           -  kf- ar
                                                                                   tddbiM e rp/em lYrpamtxaxzo
 2         =>- - &*e- - - <-                 a* * f
                                                  ge'> s.* ,  * > >- sù*> ot> g> - '        >o+ m- a>a ->
  1<
 zécrozy
       ao
        nypattym peascm Rxnu z
                             e wpztb- .
                                      ikse ez- stk> mulot 4si+a. l.nu-vr
                                                                       zut
                                                                         àrr
                                                                           e z
                                                                             /sz
                                                                               x?œqtoe   lty
                                                                                           - hë thopr
                                                                                                    ova zoîte
          otorpussre erxqeot> .                                            '
 221 R ATtö- SFFA'     S:G)SNY 1> + 0,e at< tx< imlamxkrxeqezltm l- wje:owtggp - ctm tpte gpxrv Bsgcha
 222 > qse tftfhln>ux'lct1t* -M lr Az
                                    ..l
                                      .
                                      rHelN e o *el/rapda%f,
                                                           tke e hgù> * tkre         lej
                                                                                       le '   hï&- ç,cv.
 23 cham 475,Ff:.>> * ,AG œ O *=- e % * * < 'G YW W >à< e G *
 m4
 2% &-
     e 4mpo#pB*            X .<G % ï%e >K* :      <4> 4*411gx6.* $,*:*14n:4- 0t2 (*t- ;+e,(*.'1445/:ay
         ç
         - ugmxtylv -   lb efxxfntwlè-      - - lWe  e-  -   :>fY '  l
                                                                     ae     u-
 aa o e > lue- me llev e tof- * zv- ulqso rA e e v - ztalle e o v- - Asom- iœE' ?
                                                                                *' +d-           > mrcï
                                                                                                      ur
 22? efe- o- .tro pzrxxwllpxjvpete e 4pe.zuoezëfadwkrr KT/avf- tilxm+:nwGeof- tofr- t4- œ ne..
 zas o leefç> erv  on,si#mtwh,r> m refkem o- - - .Kryre y- s- e - lv œ- mpw/-- re p            vatafjmes
 z%
 231 m
     -o RfmTtAcr Nofr
             tlt%e*u xm
                      zq/oslD/Bt
                          :wd n
                                 R pR se' &aD.4ND;= > G * e #e t< *        :N - p- r# &e %. lqm re ha'p >G Lo
 kt
  lz #t
      sràe                    4 v
                                xf
             *neeirwyze e < * > ' tvAt 4t*w
                                        e :t
                                           u
                                           rf
                                           *h<&4 l4m>    ie
                                              * ,+mWcioi1'  *   i
                                                                := 1=W'
                                                                      *   ,
                                                                          :-  YR V W l> wJe e ia!           >ïâ
 ;3: dl
      xp o .xl odl- mtr.ltllwte 'mû- tWfre r    i#tvi
                                                             k* ?g,> p* t  <> q* .W. 'Y àcde IK*e 44%m :tA'(= to
                                                     , S
                                                       AHAO iVkO VWi- bS'
                                                                        G AG >*y '*e i
                                                                                     e zfksktNm6vkxa'da>'s&'
 2:4 lpv    /- shgb   wbrz-
                          W aw.e % fdr4
                                      xrN.
                                         k> #.   + : @>g@,:gw ug
 2
 2
  3
  :6
      tA m pla
   5 emmr
     Ll        qlt.
                                      =.
                                       ., x.a a..x.  x.
                                                     t              !.& yW yg       'pj  e
                                                                                         ': k
                                                                                            yss u.- :.= :
                                                                                               aa    .
                                                                                                :...,. ,wj
                                                                                                     ..*:
                                                                                                        . a. uo pywc &
                                                                                                                    .... .
                                                                                                                                  d.%
                                                                                                                                ..o
 z* ftq- of- ,bg      a- '
                         of?- .:  - - 'p% G':-
                     evse xxlwvphé- blli,G * 4*##1f'fe:> q
                                                            ?
                                                            y'-          ul,e
                                                                            .   ',
                                                                                 *  ,
                                                                                    *  '  '  -
                                                                                             '           > > :e        *  ,  y-    ttw
 2% VUmM AGG MM                                                                - y%* k  >'', 'ki.k  il t
                                                                                                       l 4)-'. hke tw-mè.
 2.* i- oorchawpmlll ezvp      erarm- pe.  e : urtgcd:
                                                     k se tt*# ire vG f**
                                                     'pw                    lnjw+ /pf
                                                                                #ëi t@j
                                                                                    wk*M-''%-'.C t#@*p* > 1l*'  r
                                                                                                                a'*e'*v tm'tl
                                                                                                                            rwibp:
 240 w.Apllwn D1 < n.osURe(t
                       ,     ) Tp am-    nof
                                           li
                                            l  ts
                                                r
                                                x -  wc -  -      '<*        >   >   hr:#*     >    <%  %  -t ,
                                                                                                              +*     am-    ew  >:r,/or
 a4,1N- t- - heenrpurxa- oaw ïe -
                           .              , e vfwe>a.apz*s- eray-           /#e -'  . - -''e' xv- G-alyt> è/l       /v e#wzx4orepcley.
                                                                                                                -
 2x2 aatt- pâs# <ol- nnFhl#gty#ttph*
 2                                                  e tà)'* #r- t<<.ele Jl#wHittèiy*''' .A
                                                       .                                     ''#4 > iH'  * *          e* G##& v >'   1y
  0  *
 2-5 xp * *
        éope t
             #re    *   n'
                         **   .
                              b .
                                * t4*'  èQ t
                                           * ni
                                              *? t
                                                 #  ?#*'##k R
                                                            ' *'
                                                               ,W*# '*h   '                     .          ''
           fr-   tzxvr- œkte - ztt           .z> <q.4NM- *#kk)kiR4c> .            éNbè ,. i/j- q
                                                                ,       .

 24  ate     - o-      .e
                                                                                                         # x-         ièpmkoa e oxep.
 :46 w- vlabasusect              - - fèG e            W l'oy/. -z,- eiy'*,y; ;,>. kxe ktxv ie , .lr       -    e    ,pe - mA l-e.
 2*T Pzqprwwa           ùdaxx- dihrtNv ##tér:    aykiie x'
                                                         &l*kkùsW kl            aw:k,- tt#k/y6'
                                                                                ,
                                                                                                     de q tqe., tt*ttA apkmwtd- w
               œ - f- Ffplo e te e lle e ve rmke btkfenkitiio iigt                   ie r W' 'kW e '         a%t
                                                                                                               'pzxxe r   e e a#rz'd
 249 K4t=1G -       qe v- - v-                 ve loo- fe plezw m e w@- - -                         sy% -                    - e - e tx-. m- erorow
 15: oœr- ltm >tpe> * R- (G r-
 2                                         7.- * * * f*    +'1-' GEfp- B:       *- i<exwM larmltro l
  :4 œ - a- * > -       -    f4)r- - - - - :> - - .:     - - e - o> -             a* * - o- - - l= lx
 2
 2*
  44 rmm
     ta- - wA
            -w--S
                opoo
                   ShM-m#s-
                          --wa-
                          f       Acycze-ry- -, *m< -sw- -
 265 *>    .
                               - - -# /    - -ï
                                           .    + - n- èt-, w6- z-.
                                                                  4
                                                                  ,r.
                                                                    zr
                                                                     f>- -ànel*-,- - *- - 10-
                                                                     e'         ,
                                                                                        ,
                                                                                    ' * *-       * :-
                                                                                                    z       .
           ur-
           .                           ;          ,.




     FAFG RG J * :.7*4 *D M r** eAmmzr-'ym /s%    e w e H z/ro s-           ,2*. 4+ 4                                                               .    .e .
      ï.
       %ï# sbfw m $. atc- e to mi- R vMw: - q  TpafLnà xpu p : a .1 o .O r.
                                                                          u mx4o.> .c= .                                                                ' #'
                                                                                                                                       A        A
                                                                                                                                        %.s'*
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 111 of
                                     156




                               E X H IB IT 3
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 112 of
                                     156




                                      SCHEDULE D CLO SED EX EC (7T IVZ SESSIC'
                                                                             H



                CASE : FANE LOZMAN
                R TV TEP.A BEACH


                CASE             5O2006C.A 00563.
                                                ?XX XXI/I?AD
                                                                            CECIIFIED
                                                                              c()pj'
                SPECIAL CO UNSEl,-
                                 . DON STE PHEX S, ESQT
                                                      .J(
                                                        JP.E


                CA SE : JERRY OC?R .
                                   :1'
                                     ï1 AN D GE)pIZ CORèrFl, ET AL .
                RIVIERzo BEACH , F,
                                  'T AL .




                                             WednesdaA    uzz k
                                                              7't
                                                                zlne z'Df
                                                                        o', 20O6
                                             Pivjera B.er    Ac1n Fl()rJ'd&
                                                             '
                                             -
                                             .
                                             3..
                                                 gj'
                                                   ) (
                                                    .
                                                      .
                                                      ;.p,
                                                     ..  j. - jj. .g(N
                                                                     J !g.m .



               7s1
                 è
                 7P EA RA 1:
                           .
                           :C E S :

                     iL E S , C HA (
                                   TR .
                                      ?R H..
                                           %O N , r)IST R 1C,T

               JAMES ''JT1.4'' JAt
                                 '
                                 .-.
                                   KSON ,               CC'l;NC IL L
                                                                   f'ZR SGN , DièSTR '
                                                                                    .fC T
                                                          -
               EL )TZA BETH                               (n
                                                           -OUNC TJ;PRP.SQN , D iSTR l
                                                                                     -
                                                                                     (CT

               NC)RMA DUNCO2
                           %1BZ ,             C()UL
                                                  '?C 1LPE)RFJ01.8, 1
                                                                    3TSTH.fC7 2

               VA)iE SSA LEE ,                   Ti-
                                                   z!vî

               PAM ELA         RYAN 2.        ATTO RI9EY

               W fLlwIZAM E .

               M ICHAEL         BRci
                                   r
                                   t
                                   <N ,

               M AURE EN H.
                          RI,J=, COURT RE PORTER
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 113 of
                                     156



                                                                                                   Page
                             (Thereuyc)n ,                following proceedéng s were




           4                                       Okay .           you ready

           5                t3kay .       Ladies and gent.1t
                                                           :
                                                           amtan , $
                                                                   .
                                                                   4e are getting

                      the shc'
                             ,'
                              ,
                              4 c'l-1              road .         1:               to saj; anything?

                                                   We h ave                              regùlar

           8         m eeting .

           9                MS .

                                                   And then close it                     -he closeci



                                                                                       regular specia1
                     m c?t
                         .t-ing to '
                         a         .
                                   )zder at 5.:47, t
                                                   ?Ied'    ay, June 28 ,
                                                       ne sd?           .




                                                       (-a.
                                                          11, dc) '
                                                                  .ce n
                                                                      .

                                                      we recess or cJ-ose9.

                                                        me just sa!
                                                                  7Jz /3
                                                                       .reselAt at
                                                                                 -. t1Ris
                     specia1 n'
                              ieic
                                 èt i21g                coIJnc ilpersons Duncom be ,

                     Jac kson,                  and Ch a.tI'pez'sc3n 71-e s .
                                                                            -




                                 a,
                                  :'
                                   ic-
                                     iitior1, t11e city m anage .t';

                     attorney nnd special counsel                                Stephens .

                                                                     the l'
                                                                          neet.ing .

                                                  Close

                           1$
                            1S     R'
                                    .
                                    )
                                    .r,
                                      Q'
                                       ,'
                                        .
                                        7: C 1..o se .

                           y'
                            .is . -
                                  k4.p
                                     Ar.)
                                        l5....
                                          '                      a'. .,''',)o tarn .
                                                                at

                                   JAfz
                                      'x
                                       T
                                       f.k
                                         C
                                         ..'
                                           lw
                                            '-h'
                                            '
                                               lN
                                                -'
                                                1 .   Sect7ncl.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 114 of
                                     156



                                                                                                                           Page
                                                         Okay.                             and seccnded .

                     now àdjourned.                              are going to open up our closed




                                                         Present are L-lèe t
                                                                           Bam e IDt2rs()ns

                     w ere a1: tièe --

                                                         Special .

                                                                 speci.a1 m t
                                                                            aeting .

                              M adan
                                   .nu t;à1air', we                                           t-o dj.scu ss

                     J-a'
                        asuits                                                filed agai.nst the                            an d

                             aca 1n:t t;ha                                    add itit
                                                                                     :)n to                       ciEy .

                                                      in t u r
                                                             .,3 .

                                                      (:)))(? b'
                                                               î
                                                               -iit j
                                                                    'v
                                                                     tz'JL.(L (
                                                                              -
                                                                              't
                                                                               l-
                                                                                k
                                                                                t-ts(::t
                                                                                       .ï
                                                                                        lsrtr

                            V.
                             1rg 1
                                 '.nJ'a Merch aIAt 'k
                                          -         ;thrsus the C.tt.Js.
                                                                       ' oS
                                                                          u
                                                                          n' Riu iera                 .




                                    87e                 a.-
                                                          1ready ret
                                                                   -a J-
                                                                       'ned spec 1al (-c)l.1nse).,
                                                                                                          '
                            StepL.erts, who w il1 t.7
                                                    # ix
                                                       .re us                                        br lef- sunmïaz'=v
                                                                                                          .




                                                                        (j
                                                                         't'sct9F
                                                                                JF! tct:r stratega
                                                                                                 ',
                                                                                                  r.

                                                  1c)oking for so:ne stz'ategy

                                     3a t I'. on s
                     z:e c 017c44en c.
                                     )                               the councn
                                                                              '-1                             this casta,

                     we $'
                         ;i1l be cieing       .                                                                  sctc())ncl cas(?

                     (
                     as we l1 .

                              ke
                               Ie û:i1a
                                      -. go                                                                   tl'le case tinat

                     b'
                      .'as just: fj..
                                    1et
                                      '
                                      j a>'ainst                                               you knc;'
                                                                                                       .l
                     relates to t.i'
                                   )i? Maj' lO ,

                    meeting .


                                     =L-==.
                                         7 .-xv 4 e..  l.> t'M rxaa v'.i- D r..vn ..
                                           k.z.w- ..k.k.
                                                       4(.                         -xw +- p wn ..w
                                                     x %.-euz$.Am.k. ixx.-)-zk..'a. $..u.zIg
                                                    G6l-689-1
                                                            !
                                                            )C
                                                             .)
                                                              ,99
                                                                .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 115 of
                                     156




                                                                                       Page
                                 .%T.
                                    1
                                    fPLJEl
                                         %(S ;     Good evening .

                                             Goc)d eIzening .

                                 S77i?,PHF9)1S :   1 don 't            how m uch

                     i.n format 1t-
                     .            ;n yt
                                      -)u a 1l want ,             )q am just going to
                                        i.t down a s suc c in c'tl 1.y

                            Ba sical1y ,

                     law'suit           is somebqhat con fusi.ng .               is r6)a11.y

                           v'su it pursuant to violat ion of
                         lab
                           .                                                   Sun shirle

                     Statute k3L' Sun shine Law ,                              as k for

                                                      injunctive
                                         we have don e j.s                       motj.on to

                     d j.s:rtiss t.ht
                                    c
                                    a 1aw su itr b ecause              6.ssu es regard ing

                     declaratory,              didn 't allege tha

                     elements tci state a

                     dec
                       -:larattor%
                                 yî 1'e lief ,                they a.
                                                                    1lege            prr
                                                                                       apez'

                     elernents            permanent inJ'u2lction , wh j.c:h

                     t-.hey are t'
                                 .ry 1l-tg

                                                                   t ryin g '
                                                                            t
                                                                            lo

                     mean r tî
                             .lc)y        OaS.
                                             LCJ- k Sa /l Zy because

                                                                          notJ.ce, they

                                          t.o step               de:7lare ,

                                 rescpiution                  c c):4t ra c t

                                          The Court           issue a perna.anent

                                                                               eni-e v-ing

                                     agreement .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 116 of
                                     156



                                                                                                                          Page $
                                 And                        are not dealing                                  the new bill

                                            gevernor signed,

                                                                                   :neet ing was

                     hastily and qu.tc kJy .

                                                                 basically

                                                                 meeting                             tcgether withcut

                     giv ing prtapec noti.ce in

                          sign îng                               bi11 .

                                                      research ing
                                                      .




                                                                                                            say that tièe
                                 13O j.....xt Q.
                                               wQa-

                                                                                                    24 hours

                     w ou .
                          7.d be inat
                                    Jct
                                    ' :
                                      .
                                      aqt)$
                                          ate .



                     notic'e .
                             1'.s inat
                                     dequate,                                         there

                     t inz'e e                     Ilo t 5..c e A's a d e czu at e ,
                                                            .                                                )h
                                                                                                              zou cer2aj-n .
                                                                                                                           t1
                                                                                                                            h:
                                                                                                                             '
                                                           gave not $
                                                                    -.c
                                                                      --e

                                        Lau t t'1-
                                                 1at wos                                         way tiAat tPl-
                                                                                                              tngs

                     routinely

                                              was also --                                           i:7 speakJ.ng

                                                                                    t.h at s17e actua 1. l-
                                                                                                          jJ fax ed a
                     ncp?ce
                       wx ' Go
                            L                              Pa)m B ea(-h                                   She a)sc) sa1(
                                                                                                                .      :l that
                     c)n f
                         k.N
                           .h a n rte1

                     14ou1ct                                      z
                                                                  t'
                                                                   w
                                                                   m'
                                                                    IRu
                                                                      ''
                                                                      .l.n.
                                                                          x.
                                                                           1f
                                                                            F
                                                                            . q.
                                                                             ?.
                                                                             :                        C:
                                                                                                       ?vez''
                                                                                                            jzone uïithi14

                                                                                                   see that there wa s

                                           r
                                           =p '
                                              w,          ' .)    .m>     .;- r5      ..vu.+u.
                                                                                            - nb t
                                                                                                 v.z
                                                                                                   ''-r
                                               -   k-u-.1-t.t,.x %>%> kA J-t- .=x.i.&Jw   ..   .- y
                                                            b-61-689-()999
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 117 of
                                     156



                                                                                                                                Page 6
                       meeting conting up .

                                                   that,                        1%Ot.'
                                                                                     1CC)               passed out

                          CRA meeting , and one

                     complaining                                    Lozman.

                     meeting ,                                                  grounds                           disrcissa1

                     wa s t lnat                                                                    n O c1C ê .

                                                          case that                                     3&m eOne

                     pe rs()na)                                                                                   è
                                                                                                                  l:4wsu1t

                     saying                  t.h i'
                                                  #y didn 't                             notic
                                                                                             :e or that



                                    =<
                                     L rrte a In ,         tt
                                                            3e c.
                                                                1
                                                                2.tj.
                                                                    ,
                                                                    ' rea11y has --

                                       1( c a 2'
                                       .       à't- '
                                                    o r:)m i s e                                        T itc-) C-o u r t

                     %oa'
                        .n g t(
                              3

                     g 1ven not I'
                                 .ce , and the c.
                                                l
                                                '.t37 (
                                                      jid
                                                        -                                                         knobt,

                     have a rfL
                              e(1
                                -tl'.ng                             c4ne 1i,
                                                                           u.
                                                                            -t .
                                                                               7
                                                                               ce piec;e of n oti(-
                                                                                                  #e                        .




                     I-
                      Josted c)ut

                                               there k?as --                                                       y
                                                                                                                   3assed

                     around to d.
                                if.
                                  terent peop 1.e 's o ffices .                                                     bqas on

                                                                                              to The Post .

                           could h i3n-e, actua11'
                                                 g                          .                              cal1ed th e



                     stat.Lon s, or they cou1d haTJe posted
                                                          ' sornethj
                                                                   '.ng in
                     their new spaJ(
                                   :
                                   .ers                               nexc m orlning .

                                   you kn oklr this is                                             of those cases

                                           rea 11y ari
                                                     a upset , obv i(3))s1y : becau se


                                   F.n3 ...w w.ni ..4 m   /-N..-xAw v .;-   lo e.xxrwcxn.4- '
                                                                                            ..yn
                                   L L<.
                                       J.
                                        u
                                        '..
                                          rQQt
                                             .l Q;b
                                                  .lkxt.
                                                       L.k
                                                         > i'
                                                            .V.oWt
                                                                 wzJ-Q
                                                                     w.A.I1S
                                                                           /
                                                   561-689-O99g
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 118 of
                                     156



                                                                                              Pag e -f
                                 at              and t.he                       is that you

                            to g i'
                                  v7e reasonab 1e notice no matter

                     meeting
                                     becau se th:(s Js a v ery impo rtant issu e

                     clce sn 't me cln t'
                                        -hat you go t                         sorne spec.
                                                                                        i.al

                     notice )'
                             .
                             Li
                              zc.ause of the grav 5.ty of %%'hat w e

                     dealing



                     b ecau se c;f k.'?)at w i
                                             D. are d ea1ing w it17,

                                                           wee k 's ntatice .

                         the az'c!l-1:rten t'
                                            .s , (7u :.te -
                                                          fran kl,/
                                                                  ., that thev were

                     mak'2%
                          -ng or ys''
                                    ou-
                                      1d' J'
                                           Je rna k.
                                                   l
                                                   'lè-
                                                      x
                                                      g, som e o f                    sam e

                                                                          fr c.
                                                                              l!ït   vou at

                          rnet
                             ',
                              )'
                               t.1
                                 '.n ,
                                     -
                                     -7
                                     .
                                      .)
                                      .  .

                                                                                     js going

                                                    the Jud'
                                                           ge 1
                                                              's r
                                                                 .
                                                                 Joing to have

                            a ciû.r-'îs @olè        to '
                                                       ahethe r                       not1ce

                                               w hether or not                   %
                                                                                 aas rc!asonab le

                     r1otice .

                                                                 at
                                                                  7ai.n ,              tha t,

                     You kno'
                            v.
                             ï,              j.s not sclrp.eth in ca'
                                                                  .




                                   sqtl)att''
                                            :on ,                 th $
                                                                     . nk is
                                                                      .




                                                             the ci'
                                                                   Ly ïkas beeZR doing

                                   t--)
                                      'ruo e o -f 17ot a'
                                                        .c e '
                                                             F- o .,
                                                             x      - a pe 1-iod o f tim e , and
                                                                   ,-



                     t-he cïty cw
                                k?
                                 .d1-t't cieviate bqit-i-i th is rnatter at
                                                             -
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 119 of
                                     156



                                                                                          Page
                                              - -   y'C)t3 kF1(7V'r thC!)/ (
                                                                           '
                                                                           Yre F1Oi
                                                                           :

                     a s se rt a
                               'n L'
                                   :

                             I mean ,                        show,ing any.th .
                                                                             i.n(
                                                                                J,

                             havel)'t- allegetj a13j'thj.ng                  whj.ch

                                                                                      out of

                                                             m e.o1
                                                                  u-
                                                                   .q
                                                                    =-ng.z            is Tçhat

                                         irullsh ine v.
                                                      io lations

                           p e(
                              7p.1e         hav e 1unc.h together



                     public meet1n 7 .                  d1dn 't izap)
                                                                    oen here .



                                        tstr(.
                                             )ng po in4
                                                      t
                                                      :s J-s Lhis , and that

                             Sunshine manuF
                                          -
                                          t1                 is )-
                                                                 .
                                                                 Jub1 ished T b e1j-e'
                                                                                     v-e

                     by th e Att.c.rnej: Genera.
                                               t's

                                       to cail a sp(zc:ia1 mt
                                                            :
                                                            '
                                                            zeting . you hav(
                                                                            .
                                                                            ?:

                             a t let
                                   a.%t 24              notJ.cCa-

                                          haVe m et             things ,        Jnean ;

                                       obv 1ou sly ,              gr
                                                                   3j.1)g to

                     whether                    Judge t)e1ieves                yGU iave

                     reasonable

                                          belie-%re          t.7
                                                               .)ey are ()oi11g

                                              anyth î()g sp ec.
                                                              ifj.c

                                                                    don 't be1.
                                                                              1'
                                                                               .eve %qe

                     are going                         Lo cy'tAe to anythinz
                                                                           u to


                                 atlsolu tely dj-d the right t.hint
                                                                  g.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 120 of
                                     156



                                                                                                   Page
                                                       going to                                  Judge

                     looking            th is and ma king a determination

           3                       $'
                                    $7.
                                      r
                                      Lx1
                                        .
                                        -Fè:                  a statem en2..             The meetin g

                     p recedi11g ,        thin k it '
                                                    4as the CRA meeting where

           5         wa s discussed , and the                                       we wou ld           a

           6         special meet.in g .

                                   DUIS
                                      ICCIMBE .
                                              '         Public meeting .

                                                   pubèic meeting.

           S                       S;TFlPi-lElkS :
                                                Tn
                                                 'at w as stated i:R .
                                                                     'rront o f

                          L o z:rtatn                                                     except

                     1ad y .
                           6rom t-
                                 .@'
                                   1e              Sh'
                                                     e1.
                                                       2.                  ï don 't knou? whto shm
                                                                           .




                                   (
                                   W
                                   RT L
                                      O='
                                        y'
                                         n
                                         .S
                                          T)
                                           *E !:7k
                                                 %N.
                                                   w                             a(-
                                                                                   .- t
                                                                                      -t1a.
                                                                                          1.lv

                     there b4a s ianother meeti17g fc)1low ing , b ecause

                     recal1 ,             1isten5n g to t#1e t
                                                             -ape ,

                                                                                     saying

                                                       G>CzJ.I-1,
                                                                '--
                                                                  j              st-
                                                                                   3m eth ing
                                                                                            . that kIa s
                     going        hapren afterwards,                           then        think

                     interrupte,
                               .
                               -
                               '
                               1                                                             right .



                                  S-
                                   .
                                   ('F.P1
                                        '
                                        1E($S :                   J.
                                                                   lr1a
                                                                      T
                                                                      .1-
                                                                        *10J
                                                                           'l:          Lozman sta 1
                                                                                                   21 s

                                                                          the CRA meeting
                     therr
                         e was a lnee ting ,                          tn
                                                                       'in k aI4ybody who is

                         CP.A nteet k
                                    'ng                                               a meet.1ng .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 121 of
                                     156



                                                                                                              Page :9
                                                     Excuse me .                               interrupt

                                         Mj.('
                                             .
                                             -.IAae l Br(7W)3r I
                                                               -.aR-re

                                                               point i am making ks, they are

                     allegincl

                     recol1ect.'i
                                .cn

                           the c.ity ,                    you sa j-d ,

                     more meet-s.ngs to discu ss                                         we az'e (
                                                                                                 go ing to



                                     rneetir'
                                            t(g, i'n essence,                                 th c
                                                                                                 - c J'
                                                                                                      .t ,
                                                                                                         vrr w a s

                     called by b
                               zlnc) persq
                                         3n,                               y.'e calè't saJ,
                                                                                          r t7unsh 1ne

                     there , because t13e mayor                                         t.ha't
                                                                                             E authc)rity .

                              1 was nc;t neceF
                                             ;sar.
                                                 11y' 1n fiavor of the

                     m eeting ,                   g
                                                  atteTld:
                                                         .?d t.hc.
                                                                 ) m ee tn
                                                                         '.ng ,                         I workecl

                                                                                                        tr.'
                                                                                                           y,inq
                                                                                                               av to

                              1t w?3.s L-n(3wn .
                                               '
                                               F
                                               .rorrt tlce t-.
                                                             km e
                     '
                     T'a 11ahassee i)s to w'
                     -                     nat klne city h.
                                                          :
                                                          kcl

                                         wf.l
                                            q
                                            lk.
                                              !n J
                                                 31
                                                 . 71-'
                                                      5n (-) .
                                                             r
                                                             v.
                                                              :
                                                              ..
                                                               l'.t-
                                                                   l'aq.(3 .
                                                                           i
                                                                           t.
                                                                            .à'.O l'l

                     personally semn                                                            Roberts Rule

                     and           Sunshïne bcok jn h is 1-
                                                          .ands , sc) lqe
                                                                      .




                     t-o t a l l jJ a.bqa re -

                                                                                                t.hrough th.
                                                                                                           1
                                                                                                           's,
                               guess M.
                                      1t-
                                        .h ac
                                            ..t can a tttast to t.his, b un
                                                                          c '
                                                                            t- h e                           -




                     po1 ice depaz'tm ent ,                      )c)t o f t.im es a Judge ru1e s
                                                                  .




                     against us                                                                    c limate,

                                      t
                                      'n1im ate , oka'
                                                     /.


                                    7= ),.>...n'Q -x /'>s.x&1v..-
                                                                F =)cx.-x..'xv 4- .'.-'.v
                                                                          F         .
                                                 U
                                                 Q
                                                 J6.
                                                   1.- (
                                                       SC
                                                        o'9- O'
                                                              -.9
                                                              a .9
                                                                 .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 122 of
                                     156




                     that if                  one else was aware of the meeting, he


                                       '-'
           3                           o'
                                        CF=7
                                           ..'èJz
                                                roN S :

           4                                           that he wa s ahqazge                                  meeting.

                                                                                                     app ea r to be

                     con s67qllen t11:
                                     41,

                     that he wasn 't allowed

                     meet7inc.i, be(
                                   -.&t2se he
                                   '                                                                  of the CRA

                     rneeting ,

                                                        O kay .          We l1 r

                                fnc'
                                   .t t1'
                                        )at t.l
                                              ')ese m ic.
                                                  .     r(7l-
                                                            a1-1ones                                       the cameras

                     iaroadcast o7
                                 ctsu
                                    ide arlcj d.ownst.a1 rs?

                                      S'
                                       .
                                       7
                                       -
                                       .F!PàiZ
                                             .?;S :

                                                        We l1 ,               sti11                   a1-. opportun.
                                                                                                                   tt-y

                         S(1
                         , ?e wi3at. !z;ati; goin(
                                                 .y C
                                                    )rl.

                                      SCFlèD'i
                                             '
                                             ir'
                                               l11S :                                             cclm p )ain ir)g ab out
                     it ?3eing                                                             at tacking the notice

                             varic;t-
                                    'y o f ways .                       I mean ,                       are saying

                     about              '
                                        L'
                                         .i2ce .

                                                                                                   th(:j.r cemplain t

                                                         post:e(1 here , and 'tha 'c's not --

                             >ûS .                     And we                                     c;ther%lise .

                                     C-
                                     w)dvT
                                         -
                                         t
                                         aj:A
                                            .i
                                             :-
                                              Tl!
                                             .. i-
                                                 (ï
                                                  t-
                                                   '
                                                   .P
                                                    .u)
                                                      h
                                                      1
                                                      'tj
                                                        M
                                                        j)-
                                                          .


                     are tz
                          a1.k.
                              F.?-
                                 1t)                                                   i.IA w h.
                                                                                       .       ich

                               or cort'
                                      t
                                      m un icated '
                                                  to tl-
                                                       1e t
                                                          aub 1ic , and they are


                                     17.'1
                                     ,   -u.C;.g.
                                                uquu'pxv-x. ?
                                                            w''Ng u r 6u. r
                                                                          u% ,
                                                                             .;
                                                                              u-
                                                                               .)o r
                                                                                   . +
                                                                                     %-1
                                                                                       -z.)
                                                                                          -jc.,
                                                                                              v
                                                      561-689-0999
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 123 of
                                     156



                                                                                            Pa ge l2
                     talking                    amount of time.

                           Basi(
                               .-
                               -''al
                                   k-1-'
                                       y what             are doing                 y(7u know ,

                     th ey are t 1-ving to a!1ege everyth ing t17ey can



                     a bad meeting,

                          people meeting

                     tIAat is                                              .?
                                                                          L- o1.
                                                                               2l-
                                                                                 1cil,

                                              council                     ;r.eet i:)g

                     having f
                            giuer'
                                 . i.n su fficient (
                                                   ar unreasonable not ice ,

                                     k;hat reaL1y ïx'h at                    talking ab out

                          wht
                            ather            not the nc)tice bqa s suffic ieI'
                                                                             kt .

                                                                                  is; no case



                                                     qu.
                                                       1.te f2-ank.
                                                                  i.v,

                           p resum ption             rftay'bc)      wa s right r bet?.au se

                     there j.s noth ing                                  l'.t was cle
                                                                                    :tarlJ
                                                                                         -.,



                           M S . 2b'>.
                                     s1
                                      7E):                                               tt
                                                                                          :l go

                           and pu ll every ,          wo uid jusc
                                                            .




                     fisre or six sp)ecial m eetiT2gs                      '
                                                                           ae 've had



                     because we              had quitca a feî.? lrkeet jngs 'r,hat w as
                                                                              .



                     or11y z
                           '
                           M1 hou r n ot1ce .

                                 RYAlk
                                     l:                           thil'
                                                                     .ïk th at'

                            to a hearing,                        b$: suft'ic ient for Th e
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 124 of
                                     156



                                                                                                              Page IJ
                     C o u r L t c) c om e                                  we               meeting on

                     ciate,          h()urs no tice .                   We had a meeting

                                                      not ice .                     is what the



                          CCII
                             TIP.
                                )ian
                                  ' ce                                           as

                                                       And then the re                               fN
                                                                                                      -e



                     b a c k 24h e r e                Pa lm Beach Post

                     co urt            a                      3%'j-o ).ation ('

                     that Judge

                     equa ls           hou.rs , so k:e h ave b'
                                                              .
                                                              'o rked llnde ):

                     as sumpt iol'
                                 t

                     quit.e

                                     UJ     i
                                            .        HS .                            Sun shline raaI'
                                                                                                    1ua l



                     han;e to                          least                         notice .

                                                                                                   21 h our

                                                                                                  saying
                     n ot .
                          2
                          sc e ;                      e s so nc e r             W ilt; !rtC)L'e

                     no tice,              1 think                                                kza F
                                                                                                      3 ).
                                                                                                         3o st e d

                     Channe l 18 is importanl-.

                                important ,                                                          posted

                                   An)
                                     ,,
                                      'ï)cdy                        concerlned ahwout I
                                                                                      'ca king
                                      counci1 m eet -
                                                    tnc
                                                      g,

                                                                  gc)tten

                                                                They are talking about

                                    L-'1 z'xw .1z;.'x r-q.-xr,v -l- 'C7,-vwe-xv.1.a'..>c-s
                                    = ..u ..>a..='.x,=. 'w kztx= <- xs.w s ue.u L..w.azg
                                                '
                                                -n
                                                  .  61- 689-.
                                                             *'
                                                             ',999
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 125 of
                                     156




           1                       meclt'
                                        .i-
                                          .èg that we ca11ed a specka1

                      counci1 rneet1n g after th(
                                                .
                                                7 CRA m eet ing .

                                              Try nct to get confused , b ec ause

                                                        specj.al meeting                     was

                     called

           6            meet ing

                                                          m ornil'
                                                                 :g



                     constant lT; ï
                                  .
                                  '
                                  -.an fusing t.h1s .

                                             Wh at                                  nnteet in(
                                                                                             J'?

                                                          mt
                                                           ae tirïg              be liclve

                     Wedne sdaj' n #gh'
                                      c                                               supp osed

                                                                        O Ic a
                                                                             ;.(..
                                                                                 ;(>
                                                                                   yj
                                                                                    g

                           (
                           7RA m c-t
                                   c
                                   ating , arid f''
                                                  c1e       IT'ti'
                                                                 lfa- C.C
                                                                        2.IR(J
                                        rerntn
                                             -m ber

                     bs1a '
                          i.ting                 waiting arcund,

                                    WADK'
                                        .    I think       stcpped the rkeeting
                           had

                     meeting.



                     8 :30, qua zrtiar t()

                            MS.

                     because                 advertisemect .

                                                         3on ''!s
                                             My rec011ect1         ..




                     m eeting didn 't- start
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 126 of
                                     156



                                                                                                    Pa ge 15
                                   WJ'
                                     sDF.
                                        Z:     We l1 ,             c la rify by looklng at



                                   S
                                   $TF'
                                      .FlHFN S :                     m eeting ?



                                   s
                                   Q
                                   -7.
                                     -
                                     1
                                     .
                                     5
                                     3J
                                      U-w.
                                         T
                                         é
                                         D
                                         .J..
                                            -F-'-
                                            i   Nu$.                 m eeting ,



                     about two hours and                 minutes .

                                                                     is because

                              th
                               . i'
                                  .-
                                   1:
                                    .),       looked at ,          was al
                                                                        oc'u t two hou rs

                               m inutms /

                                                               rceet 7
                                                                     1ng cj1dn 't

                     loncg,           WQ.
                                        â3.(.
                                            x
                                            )              m et
                                                              :
                                                              lt .
                                                                 z
                                                                 .n (7

                                                                           rStG.
                                                                               -
                                                                               ;
                                                                               .F=
                                                                                 --. t .x
                                                                                        '
                                                                                        7 rt'.(
                                                                                        ..z   'I
                                                                                               ..




                          Ma
                           r> Qh'Ah.
                                   1-          T -
                                                 t-h a
                                                     'n k it

                              O rCi.j
                                    .
                                    -;
                                     ,u-.J
                                         k.

                                               So 1'
                                                   .helà wlnj; did we ca1(
                                                                         l. f()r
                                                                               .




                     meet ing to               p kace          Monday ?

                          MS.                  The mayor                     1:he m eeting r



                                  S TF,('71E 1:
                                              1S -
                                                 .       wa s posted         3:40 bztn ,
                    b elieqïe r M ay '
                                     9.         I be1ieve ti-
                                                            1e postj.r)7
                                                                       .




                                  IL.El3 :    R1ght .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 127 of
                                     156




                                      ka
                                       )k
                                        1
                                        ..
                                         1C,
                                          .mJ
                                            .
                                            '
                                            )j.
                                              j2
                                               q.
                                                n
                                                fy.
                                                . yu
                                                   c
                                                   '
                                                   Dn.           yeah, and the meeting

                     actuaily
                                      '
                                      J n-
                                         l>?,
                                            qn r y()u are ta1.king

                          l-
                           .ou 1:s-.

                                                 O kay .     Hobl, m adam chair, when th e

                                                                                 did

                     print it?

                                      STEF7H:ENS :       1 l
                                                           naven 't figured that out

                                  am qo ë
                                        unq to calJ- someorle at.                      Post .

                                                 Because j-f they gc)t             at 3 :40

                               then t)-1ey hacl                to ha5.re it        the pape1-

                                                              t2stla 1jy do .

                                      %TEPHF.
                                      .     l1:S : '
                                                   ),
                                                    re1l ,                definitely had

                                  ët, i.n the p aper , if t-hf.
                                                              ? woIRk
                                                                    -
                                                                    .cad

                     T mean ,                                             it can the.
                                                                                    i-r weL-
                                                                                           h

                                              wantad to .



                           Jlo st ?

                                   STEPHENS '
                                            .                            you ha-
                                                                               vre to

                                                         's m a ke a n

                     p e o p 1e )'
                                 1o t .
                                      ïc-e ;             actua 1ly , the case law

                     ind icate s tshat                   kno'
                                                            a, tt7e p ress

                                                                 n o t ic i ng

                                          raeet-irèg ;         also, it shows that s
                                                                                   v'ok)

                     are n ot tz.
                                'ying -o have a m ee4
                                                    c.1IAg in p rj'
                                                                  bîate .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 128 of
                                     156



                                                                                                                          Page
                                    WADE:                                   we pay for that posting?

                                    STEPHENS : Right .

                                                                            So when she cites that,

                     need to

                                                                                                        that , no t fo r

                     tha t .

                                                                               special rneeting?

                                   ïI(
                                     EL K IN S :                                             a section

                     paper whe1-e they pub lish not ices .

                                   RYAN ;                         is free .                                       j. s free .

                                                         That 's b
                                                                 ahat I klant=
                                                                             .d tr)



                          &rd ?
                              u.naY'b'
                                     :.                                          saying                     goé.ng bac k

                         yf
                          .1'.Skt.
                                 t
                                 D>-*
                                    'T
                                     J!                           nltrrt
                                                                       ?aer of specia1 raeet ing s

                                     ca lied ,                                di fferent frorp b4heIR 34e     .




                               ordirkances                                                      k#- lnd of st uf-f.

                                                                                                        n ot â.ced .
                                                              '
                           MS .
                           I
                           .                                 Ju st wanced to                                           clear .

                                                                                         to get some s;ense
                     to whY we                                       meeting on                              '
                                                                                                             iquesday .
                                  RYAN :                 Yo u d idn 't                                 tl
                                                                                                        qe meeting .

                    mayor ca 1.
                              ted                         Frleej-.1'.fï(.;.

                                                             und erstanci.

                               the meet 1ng . Why d i(2                                                majrqtr C
                                                                                                               3n Tuescia y
                          for t1-
                                1e m eeting 9
                                            .




                                  17>.3 .n w 1 ,4..-.:   /v
                                                          -e
                                                           1k
                                                            w.
                                                             w/Q
                                                               '2
                                                                nJ
                                                                 v.,b
                                  k   XGwœX J.katk.z     '
                                                         N          k-' r
                                                                        l)Nr
                                                                           Nwx.v
                                                                               F.x.
                                                                                  u-..
                                                                                     'v
                                                                                      .L+.
                                                                                        c;    vn
                                                                                          .X. 1Lk.g
                                                                                                  .w

                                                  a-)- 689-O999
                                                 br      .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 129 of
                                     156



                                                                                                                                     Paqe
                                                                    That 's a ques tJton to me ?



                                 MR.                                                                           1J.stenin g to

                      (E7.
                         1.S C E1S S -1.C4.'2LS .               be lievc,                              I recal ),

                      adopted                                                                I an'. getting

                                                    (-;1ty,                         forg iVe                           1 was kind

                      p ayin g a'
                                ct'
                                  -e;Ltion to klhat                                                                        saying .

           8                                                                                                         agreed to
           9                  NJcKer):
                                     i:L
                                       'e ,                     be11i
                                                                    lAz'f?
                                                                         ..

                                                                                                   nct talking
                     M cKenz.ie .

                                                                                                                     à.
                                                                                                                      ;h at happ ened .

                                                               Mcilen 7ric?                              - -
                                                                                                                    ti1at was        a

                     counc.
                          l'l n'
                               teï
                                 lt-ilt'
                                       g, but this pneet.ing happened
                     h4k
                       '
                       7F en z..
                       .       1'e .

                                                                  Here 1s                                   hapv)er)e,
                                                                                                                     ...3.

                               happ mnt
                                      ata'.                                rc)me:ub :arf                            b e1ieve

                                           we ha(
                                                ï the agreement                                                         TJiki:4g .
                                        RYD.'%
                                             .
                                             :-




                               M1?. F!Rtlèk
                                          ïl'
                                            t:                                in o rdez for the ClRA to enter

                               a bind ing agreement , t?4e city and

                               t:-
                                 )lzteet on




                                       U1
                                       L'7  r.--2 ,3 .. '      .'M mx.. '.- - R ,     ..wA..w .a -.vK. é .,.. .-.
                                         -t.k.
                                             ../..'
                                                  - .J. ,tfl't ka'k-/L.1.1..4.
                                                      .V.                    1.- I'%.'x
                                                                                      --..j
                                                                                          .px?Jk-t-.1-111..  . j
                                                        5(
                                                         -
                                                         57
                                                          .--68.9-t
                                                                  :)999                 .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 130 of
                                     156




                                                             be1ie&>e                hap pen ed

                                                     special meetingr it was we

                     ZP13Z'CAVSLi

                     CC)1.
                         1I-iCii '
                                 .lM
                                   zk!G
                                      .,
                                       b
                                       ei
                                        t
                                        -'z.J'
                                             1O .

                                                                           meett
                                                                               'ng first

                     because

                                                                  CRA m eeting , and tinen

                     meeting fcllowed tha t meeting?

                                    R YA N :    C o r2:e c t -

                                                    Be c a u se

                        contract t-c) be b i!1d jncg, b ec a u s e
                                                             ..




                     p roperty a t'fected by t-h(
                                                -)                      ag1'eemt
                                                                               ant t we needecz

                                               m eet.
                                                    ing , :
                                                          5o that th-i
                                                                     -s cc)uncii ccul,
                                                                                     .j

                             app17:7-
                                    v-e the :3arrtf
                                                  z J(7nt)ract .

                                                                  Shf? WaIAt.5 t.(
                                                                                 D



                                                I was just trA'
                                                              yzinç t.f-
                                                                       7
                     sensta of

                                                                                     beii.e'kre 1JhiS

                     js 12h e m e
                                ..et -
                                     ;;'
                                       -cf y-ou are spea)king                             reasor)

                                     bek-
                                        'au se if tl-ïth CRA si'
                                        .                      Jn s a co:3tract ,

                           cJ'tjr hasn 't signe(
                                               r1 a .
                                                    '
                                                    -
                                                    - ontz
                                                         'a'tct , p art icu li
                                                                             '
                                                                             tr1.'y.'

                                                                          û-ity 43rc)p erty ti'
                                                                                              ïat
                           invo1.SJed , then it is an .
                                                      1ncc)mp let.e p z'ccess .
                                                       .




                                   RYAZ;.
                                        ' Right ,                    h
                                                                     ,.?
                                                                       ou wa:7t. it
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 131 of
                                     156




                                    731
                                      -
                                      .
                                      C
                                      'QW N -            needed it.               Right .    In order

                     for Us,                            that's one of the things



                     focw ard , w e needed                         m eetin gs .

                                    I
                                    R.Y,
                                       RLI: C orrect .

                            MR .                      1%l1 r.
                                                            îclht .
                                                               .




                     just the               meetiIRg without the city council
                     meeting ,                                                incomplete process ;

                     and,                            not a legal subsequent agrc-ercflnt -

                                   I
                                   RY,
                                     R5 :                se t'
                                                             t'
                                                              le issue ,

                     question ,               add ed                        CRA me6)ti
                                                                                     'ng r

                         a 1reacjy iister.
                                         l on the CRA m eeting ?

                                   :7'
                                     l-E I
                                         DHElkS ;        It '
                                                            v1as an

                                   1l7
                                     L*
                                      ï(
                                       *11
                                         06
                                          L1
                                           3
                                           %
                                           17*          it was ad
                                                                .c'
                                                                  2ecl

                     meetj.ng,                           ca t1ed foz' a discu ss.
                                                                                1
                                                                                'or3

                     rl
                      'teetiz)g of               council, so                             be done on



                                   BRt
                                   , :lWN :          Rig ht,            rem emi.-v,er,           (>RA

                     rr
                      -'
                       ee LJ
                           '
                           -ng f c;bvj-cus1y';' we have

                     discussions                 r1e.gc)tïc4ti.
                                                              ans rt
                                                                   .
                                                                   a(.ya r(jinc thze

                         ma stez' k
                                  -lek'e1c
                                         aper                          V
                                                                       ..()r e v e r ,

                     counc2
                          .
                          1.1                            elnter

                                                 had t.o ha'kre

                                                 special meetsm g so that that


                                   r7      1r4.
                                              > /
                                   v .= Q r w.x w-
                                                 >z
                                              .xu.wnu m
                                                      u- #
                                                         o- I
                                                            .R/
                                                              w4vxc r
                                                                s,  -+u .1n. .
                                                                             me
                                                                             -
                                                                             v
                                              561- 689-O999
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 132 of
                                     156



                                                                                                                                         Page
                      contract -
                               uinat wt
                                      a entered , t'
                                                   nat you                                                                     entered ac

                      the CRA wil1 L-e va1id , be(7ause t.he

                                  n'
                                   teet.j.:1g tk3 app rove the                                                             :
                                                                                                                           7t7ntract .

                                         j
                                         .yr
                                           )Q$ y; jj.
                                                    gt.
                                                      >jji.                                    lyia VG:S S &rjSe o

                                                                    Rzght .

                                         STF-
                                            !1'
                                              7iqF.
                                                  ,/1S :                                    I thi.!
                                                                                                  4k , q''
                                                                                                         Ji.te frankly ,

                     think someJ
                               .
                               aod'4 wa s

                                      df Ak
                                          r,
                                           t
                                           nu can                                                                               1 t hj- n k

                                        t.o t
                                            -tt'
                                               ) it this way .                                                     thin k if

                     shoï4 to a k7udge tha'
                                          L î,
                                             7ay bt
                                                  2for(D anybc'd A
                                                                 '' started




                      '
                     .
                     1.n v e s te d                         o f time arïd a                                                rnc)nc)y tc) make

                               ha(2
                                  )y.
                                    Ie1'l :1:1.
                                              x
                                              '
                                              j that                                                                              c)13e s

                     k/e11t aIRd sta)-
                                     'tecl tryir)g tlo                                                         th inc
                                                                                                                    .j:
                                                                                                                      s 13eh.
                                                                                                                            tnd the

                     d()()rs                            thâs do!
                                                               .7n .

                                                                       rea'
                                                                          t1y ,                         .. hi:
                                                                                                        !
                                                                                                        -    7k if

                     pa-
                       v-(
                         ade tho s(ï? p eop2.e int-c) the cour tr.o om t o                                             .




                     was 'z7o=
                             -k.
                               t
                               '.:-ig :)r,                                   sinc0- this da.$--e ,

                           kn ow , 2-.cbu' kJl
                                             7e n you a r e t r. yJtng to (
                                                                          get aJ-1 o f

                                                                                                 and throb/ something .

                     ygCll.
                          l are St
                                 g
                                 '
                                 .
                                 l(b2-1:7-r
                                          'nC
                                            >J                                                   time, a )l this money ,

                     cget ak1 t1-tis togethtar ,

                     fc)1ks workirtcy' agaA' n st                  .



                                                                                                       't-
                                                                                                             he F).o-
                                                                                                                    a-ida


                                      LL'N.1
                                           :Le
                                             V-zx'X.--.1
                                                       &.,
                                                         ..1
                                                         ' x..'
                                                              .h
                                                               4 &r.->-r
                                                               ,       Nvx'Aux&.x.
                                                                                w.4u.
                                                                                    . D
                                                                                      zkQ>Ww.xkym-.:ux.-+-.1va
                                                                                                      ..t.-.t-a1gg.v
                                                        rno
                                                          '
                                                          -1-689-O 9v
                                                                    Qï9
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 133 of
                                     156



                                                                                  Page
                     Constitution

                                                    affect just the
                     Riviera Beach .       So they spent some t ime trying to

                     make sure that th ey gc)t iL '
                                                  Hherc
                                                      .) .
                                                         Lt a ffect ed only

                     the C itLz' of                                hurting other

          6                                                         these th i1
                                                                              4gs

                                      to hurt the           o f Riviera

                           And i thin k you caIR shc)w that , a ;Rd T thin k

                     wh(i
                        )43 you s31ow                       do belieue



                     see that                 àx'as r
                                                    t
                                                    ioj.ng a1 l th j.s stuff

                     m onths, .
                              l
                              't n o t             t.a iki
                                                         -ng ab(
                                                               :)ut )3rjlngi11g

                     p>eop 1.e .
                               1!'
                                 ) and
                                     '

                     'Jou r b11sinegs ,
                     )                                         a sudden

                                                         suppo sed Là.
                                                                     ' pc)1it.ica l

                                               get t.
                                                    Lnt
                                                      g inuo1 ved         doé.nt7

                     t'
                      rïings             to k.2
                                              :l1 the proc()ss .

                               th i:4k a.
                                        è?.                impertant ,

                                                               o r not the notic.
                                                                                'e ,
                     ï'tse)=
                           Lr       2:easonab le . JZ
                                                    'vearybodj' k17eà< w ith

                                      tha t jlou                          something

                     togethe?
                            J 13efc.z.
                                     'e                      siC
                                                               Jned .

                                          rea1i.stic .

                          MS . WADE :     '
                                          latlat 's what I mean by the clircate ,

                            That 's exact 1y                         the c.tirnate .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 134 of
                                     156



                                                                                                 Paie
                                    D!
                                     )
                                     1),
                                       q(
                                        2
                                        --
                                         .C)2k
                                             ?
                                             JB :             shouldn 't be             argument .
                        m ean ,                         be that we                     râgh t to try

                      to so1-Ld ify a decision                         l.,
                                                                         'e ha'tre rrtacie .

           4                                                                     other stu ff,

           5          so rt. o f                                          1s3ue i :.

           6                       fJlc.
                                       ;
                                       .
                                       r
                                       t.'
                                         ,.l'
                                         .  t; adop ted                area %;1th the CRA ,

                     we            nek
                                     adr
                                       .
                                       Ad to so 1.idify j.t , and '
                                                                  ae neede:i to

                     ge*
                       J- it              b.ecause vle ?1ad beer1 kl((
                                                                     )rk1.n g

           9         time with it .

                                    r
                                    ?T !
                                       L.
                                        TF'i-lE?
                                               .kS :                               th i rlk you

                     separate ti'
                                tL'
                                  )s(a issues .

                                    WA èJ=
                                         ': '
                                            87a it. a minute .

                                    S'
                                     .7131
                                         )3Pi-
                                             lEl.
                                                iS :            can t.ry ,          .
                                                                                    -
                                                                                    f ciol-l'-
                                                                                             1
                                                                                             :

                                   f?e4-;,
                                         ltlr6,t
                                               l.:
                                                 7 w hat was             c1irlate and all

                     s Uu f'f that b.
                                    ;as gojng (:)n ..




                                               The z'e
                                                     .a st
                                                         an 1 c4!7 say.
                                                                      i.ng 1(

                                ;out the c1J'
                     wo rried a).
                                -           -minte ,     .                          p rol
                                                                                        o1em wj. t1%

                                                                             a2.
                                                                               -gum ent ,

                                                         o f a11.,           '
                                                                             ae dict I)ot get

                     v ote , okay .                     is (
                                                           7oing to depend cn

                          em inc?nt c!c)m ain                    is som eth ing

                            a glc'
                                 .
                                 ua 1 th ing .                F'ctop 1.e are co-
                                                                   .           m pla in .i.ng ab0ut

                                     l'
                                      1t
                                       'l ()rOàDC!rtyr                      nL7'
                                                                               t
                                                                               v
                                                                               '- ve sted ! '
                                                                                            r.hQ)y

                     are nc)t a ffected ,                    i'
                                                              i
                                                              - is go i)ng                     so wàLe1c

                     b.
                      le 1aj'
                            - tlnis                                    t'
                                                                        nings --
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 135 of
                                     156



                                                                                                              P a(
                                                                                                                 .4e



                                                                         atten ded                      meeting '
                                                                                                                aas

                                     :
                                     ..4û
                                        -
                                        i-kFC
                                            .
                                            'iIJ1-
                                                 1O r                                               a

                      wa,
                        s brought: up afte r

                                                                                              e?
                                                                                              w.h
                                                                                                Jo .
                                                                                                   -.t.
                                                                                                      X
                                                                                                      ur-g

           5          governor

           6         alread y in c'
                                  u r toolb o14.                               kcas not put:

                     toolllox by ti'
                                   ltz City of Riviera

          8          had been working towards tlnis




                          invcic?es to sh otç 1haL the1'e                                          ongoing

                                                 no reas()n                         w orld for us
                                 SF)CdC..
                                        i.a1 m (Ri
                                        '        3t.i1'1C!.                              tnallea
                                                                                          -     ' a special

                     m eet.ing                     to cet som eth.
                                                                 1nc f inished -          .




                                    )J;TJu't
                                           -
                                           :'HJP
                                               2NS '
                                                   -
                                                   ' kle1
                                                        .l y my' point 1s t 1-
                                                                             )a t              .




                                                              decided
                                  ru sh                                     s cm o t.h-
                                                                                      $.n g tcgether .

                                              that somebody                         trz:J'ng

                     something                                                   J3I.
                                                                                    'O Ce SJi
                                                                                            5.
                                   W.
                                    1(L1'
                                        (i:N.
                                            S:                     é!ttnphens ,

                                                  tht? lrteetin().                       Fsst)i
                                                                                              2 I
                                                                                                '
                                                                                                  s '
                                                                                                    ahethe r
                                                                                                        .



                         m eetX.ln-
                                  '4                                'n accclrdance



                                          is irrespective of why we

                    meeting .


                                   N.;3w1C)r 4
                                   z         x.s.4
                                                 .aJ   &
                                                       w O U r .b
                                                                k- -
                                                                   tJ
                                                                    i  'v
                                                                        n U +.
                                                                    . .s O . u w41-1Cj
                                                br
                                                 t
                                                 a1-.68 (
                                                        3
                                                        ,- (
                                                           )T)9 9
                                                              .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 136 of
                                     156



                                                                                                 Pag e
                                         S7'EP1-1EN S :                         but what the lau'

                                             JJou have t.o

                          deter;:tincc whether (
                                               3r                                 reasonab 1e .
                              -z.
                                sO).-- x
                                       yvy.;-os :        oth er word s,         j,ou cg5.dn 't

                        deadl1tte t17at was

                                                    Why call

                                         J;TEP1-1E).
                                                   1S :         yol
                                                                  .l shou 1.d              called the

                     meeti:4g tbqo wee ks later                          rrtonth 1ate r



                     w ee k
                          j-s n ot .i.
                                     '-
                                     -'t
                                       E?,                                                 sep ara te
                                    .
                     tà7.o se t-.l).
                                   1n r-'
                                     .  ;t:
                                          3.
                                          -

                                        (
                                        ,;q
                                          (L T
                                             <tT
                                               Il).
                                                  1S .
                                                     -    W )7c, m a k es t-ète d e c;is .l
                                                                                          'ons 34l
                                                                                                 '
                                                                                                 letzh er

                          i.
                           6 tlnree weeks 1(3ng o r a nnk
                                                        or)t#1



                                     2
                                     771L?23i.
                                             lEt1S ;       1-eal-i,                         sayilèg



                                     L1(
                                       wJNCt
                                           -)M BLP*
                                                  .        r
                                                           l'h(
                                                              a.f
                                                                w
                                                                -'S        t11e arctkm ent we

                             to make . Our a rgulnent is                           we shculd ma ke

                           a r (.;k
                                  lme1)t      t.9
                                                -,at we           fif4a l1y so lid ified on e
                                                                                       .




                             of tn
                                 'is co:4tract.,                      we rkeed to g :) c)lA and

                     so1.j.dttfy th e ot13er sidf7 (
                                                   3f

                                     F;TF1ID1-
                                             lF)lk1S :

                             M-S . 3t
                                    '
                                    1% Dl
                                        f:                  doçï
                                                               -tsn 't make yc)u

                                                    F$ut- (
                                                          ï ?'
                                                             .h in k -- g o ahead .

                                                     7 th ink it
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 137 of
                                     156



                                                                                             Page 26
                     point out ,                    is important

                     them to bac/7

                                                    is that :.
                                                             7hen               counr
                                                                                    -
                                                                                    '
                                                                                    -i1

                     selected V iking as tlne ma ster d ekvelope r, th ere was

                       contr&.ct ual obligd$tic.n

                                        is, is                      t.hoUgh we
                     raeeting ,         we reduced                c o n t ra c t., o r w e

                     en tered                        a serie s of cont.
                                                                      ract s tha t

                           ek7entualJ
                                    l.y be

                                          contract                            VikiI4g .

                     Because

                     meetingr               js no onc)              can iega j.1J
                                                                                v arfyue

                                          and the CRA



                                           &
                                           01
                                            ev(71.oper .

                                  f!71Fu
                                       'PHF2N S :    R.
                                                      1ght .

                                                                  (7O V e r13 (7r

                            other p eop le clai.m

                               centract               Vjkir)g                            contract

                                                          May the è)0 ,

                                                                         ic)e c t
                                                                                nU s e

                                                cont.ract-                 1:ight when th is

                     council

                                  STE PTlEl'
                                           :S :      R iC
                                                        ght .

                                                      Y.g- %
                                                           .jgu           ?-e1iev e '
                                                                                    t-'
                                                                                      n'aL ,
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 138 of
                                     156



                                                                                                                      Page 27
                     this counc'i1                             told Vi king, we changed eur mind ,

                     let 's watcl
                                -1 '.'Jkin(
                                          .)
                                                                                in here with ten lawyers

                                                                   month late r if V i.king say's ,

                     are leaving , and this ccunc il

                     sa id ,                                                  zeave, that's going to cost

                                                  could                                      Viking, that 's number



                             Numbe r two ?

                           saying as                               reqarding the practical affect

                          in court îk he lps thac

                     Judge                                         97.
                                                                     i.c t:ure                        'ae c:a u se
                                                                                                      t

                                               som e roem in

                                                        a13c9ut r okay , ).et 's .
                                                                                 1.oo k at

                     rne e t
                           '
                           .in g

                                                             That 's cor?-ect .

                                                                     second point

                                                                     are discussing and what

                     everyone e lse ha s m ent..
                                               '
                                               toIAed h
                                                      .x
                                                       fe re .

                            W e need                                                p icture

                               haven 't a1?L'eadb'r                                    connectj-clll P?etw een
                          Lo irlrtan ,

                                    (
                                    7C.%'i
                                         9rn(7r                                     legislatures                     al1
                           loca1 peop le                                                      uol:kJ.l3g to'
                                                                                                           gether

                                             (
                                             ?
                                             ) p1'r
                                                  .
                                                  3C23s                                                   taeen wor king



                                   .i7''')>'.>z..
                                     . =.w     >e..
                                                  D* z4m
                                                   .uwtv.a
                                                             O
                                                             QzYs
                                                                 Aanx.Y. T'Ncorxz
                                                               .> %.2 x- u. tk.es.
                                                                                   n .;e=..J.xa.a.v
                                                                                 zw .1- -. -2-iz.
                                                                                                z
                                                     S6l-689,-()99
                                                                 . 9
                                                                   .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 139 of
                                     156




           2          say that we                    paint the bigger picture , because

                      the rea 1.1'.t:v is that at th is ?)easing ,

           (                 co pailnt that picture and poirt euc how these

           5          peop 1e            woz-king tog ethe.
                                                          c-, T don 't.
                                                          '

           6                 checket.
                                    :
                                    l to see whether L(
                                                      o2rnan is

                      Pacific Fo
                               'un,
                                  ciation                               kn()W ,            SusJDicion



           9                                      look at

                      offiee,                                            peop le from

                     wa .
                        1.k trLg a rc)è7n d .               c..7 ov(7
                                                                    .rno r                  goinc>   .



                     refer               5. s su e    tC) '
                                                          tà)e A ttorlRey Ger'
                                                                             tc-
                                                                               ira1 's office

                                              'J1o-
                                                  i.at.e'
                                                        d            St7t'
                                                                         ).
                                                                          sh iIne .

                                     kn0w r            the goverrkor              the t
                                                                                      httc rneb
                                                                                              g- .




                     Gianera1

                                              Riv iera Beat-tn,

                     peop 1e wa1kil1g arotand ,

                                                                                        w alkint
                                                                                               g

                                Sr
                                u RV  1-xXR.'
                                   .x .
                                      x     1.I
                                              /                                   is lo oking in t
                                                                                                 -o
                                                        '
                     Riv iera                           1.s a lt)- o
                                                        .        .




                     schem e .



                                                   neecj to           tc) tteter'
                                                                                m j.ne
                                                  if any , 13c.tween                  groups .

                            working together?                                funding them ?
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 140 of
                                     156




                          = ,. r uozmang
                          IUZQIR;      .                     there         single source.



                            And                              if they h ave

                     pecple fcc'
                               m the A .G .'s office , or the governor 's

                     o ffice, cr the rest                    thezn, and are they a11

                     wcr king tegGt'
                                   ther ,                      that.'s the

                     expose it s0on ,                         the pub 1ic



                                       SI3E:P1
                                             -IEN S -
                                                    .    R1ght . And I                    th in k

                                 the thin(gs you have t'
                                                       .o                  and tlaat 's

                                                  rea 1ly can 't separate certa in

                     thiIègs .         I thin k tha'
                                                   c '
                                                     I'he Court iLas             see the

                     p 1ct-ure .
                            c         --
                            L IY7.;kiihECL.*
                                           y.1?

                                           p ict'
                                                ur()r becau si
                                                             a 1            if aIRybcciy

                     looked at                           à
                                                         3j.ctu re, they b'
                                                                          1ou)d have

                     con clude                          is u17fai.r t()

                     Riviera Reach,                      is g(3ilng on .




                     regj.sterecl voter an ywhere '
                                                  ?

                                      S7'EP?!F.NS :

                            MS . WA DE .
                                       '          Becat1se his fr()fAt yarcj és  .




                     Lle liv e s a t:

                           MP
                            ). S'1?-
                                   7u
                                    517N
                                       1-zEl.-
                                             1Q
                                              .
                                              ' : A l-
                                                     1 '
                                                       k.;e
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 141 of
                                     156



                                                                                                        Page 30
                     thin'
                         K ti'
                             tat 1s kk
                                     Ih
                                      +h
                                       wV W e (
                                              3Z'e                                   see exactly

                             council wants                                      a11 we have done

                     far is                   a motion hoping to get                            of certain

                                    lnu t realizj.ng the issue k
                                                               3f the no tJce cla im



                     c e r .tla â'.n n
                                     -uJ/:                            to '
                                                                         ïismiss

                     h(
                      7.raefu 11A,
                                .1
                                  -                             oth er 5ssues

                                                                                   u.
                                                                                    ry
                                                                                     1a
                                                                                      .e-
                                                                                        x-e he

                     registered-?                   don't thbnk                  1's here .
                                         %-1T E PH N
                                                   z.'
                                                     uN S :

                     discovery                                                         SCJVi S
                                                                       .
                     q ue stj-()ns                                  C.
                                                                     )l- ,
                                                                         p10.
                                                                            '-
                                                                             r l'.JljyC)rmtu .
                                                                                             t
                                                                                             u.z
                                                                                               j.on .

                                                                                a'.
                                                                                  2
                                                                                  'f-fC)ren(
                                                                                           Je

                                                                          21
                                                                           -c
                                                                            wo
                                                                             -c
                                                                              u;6
                                                                                =-a'k
                                                                                    co
                                                                                     -n'
                                                                                       L
                                                                                       -. LA.
                                                                                            x
                                                                                            ,
                                                                                            a
                                                                                            x.1C.
                                                                                                A(
                                                                                                 r.
                                                                                                  'u
                                                                                                   n-
                                                                                                    o

                                    lawsu'
                                         it
                                                                          z-
                                        STElPf!EN S : A7e l1 ,             k-hin k #1e shc?u1k
                                                                                             vi

                           interest . Ob viously.,

                                        DUNCC)MBE :              rent s fr(;)m the cj.t'v'?

                                        STEPHENS :            I th in k                           interest

                                      ldlw suit to çjtrt pa st                                      because



                     contract                     the city,

                                       .i
                                       V..
                                         pys .
                                             s..      y u FIûk
                                                             w(
                                                              *r S y.an (
                                                                        gj                 contract

                                       c1't-J7
                                           'A,
                                             ' but my .0c;1nt.
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 142 of
                                     156



                                                                                       Page
                                                   trouble before,

                                                   being mcved around?

                                                                     def inî.te 2y

                     (w
                      7rO9er?
                            k
                            2y CNW2'
                                   1Qrr i'
                                         JeCau5e                   rentin g          living

                                                          yard is water,

                     backyard

                            Okay .         ïâsts his address as                Blue

                                                                  that 's my address.

                                      raar tna 's address ,

                                                   a s Micl
                                                          aael             who funded

                                    th1.nk 1t                                  Luo zm a n ,

                     okas', b ecause rzf t'
                                          ne) t'
                                               nusngs                     ra 12.iad



                                               Sou th somewhere .

                                             Sou th M .
                                                      i.am i        somewhere,

                                          to h im ,            he             know ,

                                  Jrtotives'
                                           ?         th(
                                                       a
                                                       .ri) an47

                     po.i.nt. at                    motives?

                                   STEPf!ElN S :      th in k befc)re àlo1
                                                                         7 do

                                                        go jng c?n .



                     q'
                      Je st-ion

                     suggest t(7           cotln ci-1, d .
                                                         i..
                                                           ceca
                                                              c                 spen.
                                                                                    .i
                                                                                    -




                     som e monev' tcn do              bac k(4rc;und inve st.i.ga'
                                                                                Jion

                                      connection, and the connectivity of
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 143 of
                                     156



                                                                                                                 Page
           1                                              t7roups tocether .                          I mean,

                                   t reat;u.
                                           c'y of                          city bu t from --

                                               too k, not a b ig b rother                                th e

                      standpo .
                              l
                              'l1t r                                         to i17vestigate who thlese



          6                                 L
                                            )
                                            :'
                                             1>F.T'
                                                  >l
                                                   -!EhlS :          il thin k a p ri>ate inxs
                                                                                             ïest1gator

                                                                                                     t8z1king about -

                                           iiîi
                                              .
                                              &t)W'
                                                  .1'
                                                    .             Let 's            c)ut wh(7 t.hey ilre .

                                   finr-
                                       l eu :
                                            - .
                                              i.f , bec&use 1 suspf
                                                                  :
                                                                  zct t1
                                                                       3ey are

                     v1orking !-oget'her .                                                      is a pau!n .

                     SOI'
                        GQ-'
                           )bC.
                              )U-
                                '
                                ;
                                '                    1
                                                     -t2nc
                                                         uzing.



                                                                                    .
                                           .
                                           p
                                           . su
                                              .z
                                              ïz:!..
                                                   q-
                                                   ,r
                                                    x.                 ' q'u.e..sr.a.o y.)
                                                                     nj,
                                                                     1
                                                                     '                       a'.s
                                                                                                .,        is that ,

                          tha t 's 1)ine r                                          thiAt relevan t
                                                                                        .




                     la'
                       .
                       qsuit ?

                                                                     1 S V 1))-X
                                                                               y' lT(
                                                                                    J)iQ'
                                                                                        2R.
                                                                                          fd
                                                                                           'lRiw
                                                                                               '.

                                                                                            though the Judge
                     1ooks                                circllmstances, they are                              looking

                                     four corneIJs                         this corapla int .

                                                                    f.
                                                                     rivolous laà<suit .

                     t-
                      'hiIRk                        frivolous .                                                 t)ut an

                     arg ument                        be made,                          made th e argument
                           '

                               the n'
                                    tqce6
                                        ..$
                                          -'
                                           fnz
                                             j            .                 havr) had                1ea 5
                                                                                                         3t ,
                               b
                               '
                               (y
                               j
                               ,..y(a f
                                  ()   7':1 IQ (7 L..(7
                                      '.
                                      .                                                          becaltCJC)

                     typ e of Fne,
                                 ??c.i11g

                               MR .                                                     you were the Judge
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 144 of
                                     156


                                                                                             Page
                     and you              sitting there and they walk --

                                                                            in that

                     testimony .

           4                      (
                                  !
                                  :
                                  .
                                  1
                                  5
                                  7
                                  .*
                                   k(
                                    E
                                    )
                                    :
                                    E
                                    '
                                     ''
                                     .(
                                      '
                                      .è
                                       :
                                      ..h'
                                         ,
                                         ;
                                         '
                                         h-
                                          '
                                          !
                                          (2
                                           -
                                           :
                                           .
                                           ïi-
                                             '    1
                                                  )
                                                  ,
                                                  (
                                                  8)
                                                   'd
                                                    !
                                                    E
                                                    ii
                                                     ,
                                                     .(1
                                                       L
                                                       ..(1
                                                          .j.
                                                            ,         finish my point .

           5         you were              Judge                         sitting there ,

           6                              answered                                         expla in

                     to you                         a m inute ,

                            is rtlaqly happening here .

           9                First tof                                   tlnese type

                     meetin gs .

                                                      meetings

                     nothing                          ordj.nary                    p J-:3r
                                                                                         k.
                                                                                          zeCo
                                                                                             'S

                                                                c
                                                                a.t wo .
                                                                       t-/.',



                                                                   do e sIL 't



                     F)rC
                        -):)c
                            3ra+
                               (
                               ;.1
                                 'C,
                                   .2l.



                                                  For th is la'
                                                              asuit .

                                                 A nd fc)r         next one .

                                  P,RC'
                                      7
                                      k'
                                       $rN :      And otlh(7r 1a%1s/1j.t s, i
                                                                            .
                                                                            3izcaI
                                                                                 .Ise



                                           -- what my rea so11 --                rea1ly wan4:ed

                         be here tk
                                  -'day                            counc.i.l unt
                                                                               :ierstancls,

                         least j-n my opi.ni(an , ts'c neeci '
                                                             t.o unde rstand
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 145 of
                                     156



                                                                                                                           Pa ge
                      these peop .
                                 1.e a.
                                      re attacking u s . Th ey are trying

                      dest roy k
                               ln'ers?
                                     '
                                     ,thing we have wor ked

           3                               i:
                                            ?n-ln though

                                    3aklsuit ,

                     p e0ple                   the qovernor down to the 1egis la lure ,

                     and they                    t'
                                                  .1
                                                   ')ink                      same thing , wha Lever

                                                 basica)1v'                                                           tc destroy
           8                                need t.o und(7rstiknd that .

           9                                                                                                             find

                     w#Ao they                                    !'
                                                                   .'e art
                                                                         n up a(Ja .
                                                                                   i21st, so th a t.
                                                                                                   '
                     f.-.
                       ia13 m a!?             s '--r a t e(
                                                          .;y           o ut                else we
                                  lkec?chob ee, C1e;%'2' st cn ,
                                 r.                                               .




                                     c'
                                      ;reny;yy,
                                              j
                                              .lz
                                                m
                                                '
                                                g.)s
                                                   .
                                                   ;r-
                                                     .
                                                     i.                                                               basic-a11j'
                                                                                                                                ,,

                                                         c
                                                         k)o th t
                                                                a1*
                                                                  7                                       riglè'
                                                                                                               t
                                                                                                               :., actua l1.y .
                     1 m ean ,         '
                                        th 1nk tl
                                                -n-at                                                      ha>-e JunLL
                                                                                                                     'ormat ion
                                              know who                                         dea.
                                                                                                  ting

                                                                                                                         rig17t .
                             fn Court what rea1ly is irppoIt:ant 1s                                               -



                            we re thi:1kin g when yo11                                              the meet5ng

                             at t.hat. time .

                                                                    w14at The Court j. s c
                                                                                         > oiI
                                                                                             Rg to

                                                        a deterl
                                                               n1.nat.ton of k;hat 1s

                     z.
                      -e.
                        0sonain1e ,                                 re as .
                                                                          0 ;iu
                                                                              n:3l e f r c'
                                                                                          .I
                                                                                           'CL y o u r

                     perspecti--vre ,                      ï th j.nk kv
                                                                      'ha t
                                                                          z is reasonable

                             perspi
                                  a-.
                                    -tive                             the fact that


                                    r-*hX'@.
                                    Q      k-e/xJxx-oç,
                                                    >. I.
                                                        .4
                                                         A'.
                                                         . ..
                                                            x f'N,-x,aw,w4- D ...vx..-...e.4- ï &.n .-v
                                                      A N..-V-k.t.Lwu. 1'
                                                            .           s%-y':.2.L-'-...LI1Vzj
                                                   5o
                                                    rl.-689-O 999
                                                                .             .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 146 of
                                     156




           1         (
                     ;oing t/Lrc,ugh              these contracts,
                                                                                %b
                                                                                qa.
                                                                                  5 nO klay

          3          th at you ?s'erel1't
                     th e las'
                             t. rt:,
                                   .
                                   i.r'
                                      tut e to fina 1i:
                                                      .
                                                      ne              last piece

                     p'
                      ulzzle                 it done .

                                          think you a1l

                     both o f you are right ,                          are dealing

                     somebody               lawsuit ,

                                 law suits . We w ant to               out everything
                                 aL)
                                   'ot2t t h e p e r s on          suin g our client .



                     /'r)ew w1-1ethe r t'
                                        ,)ey a re à'.ïè

                                    P
                                    - f
                     ot.)èe r s tu 'a

                                   WADE :      I thin k it :4ou1d help to

                     intimkdate              same

                                     aln uond0-rlng if my 1inez53 are tapp ed

                     wha t.ever .          thirïk they should be questicned

                                          p.
                                           -'eop)e on

                                                                            :.
                                                                             7f unw arranttacl

                                                feeling,            am going to

                     cautioa that the                   ha s Loeen t#tere befo re ;
                                         .
                               .a,z .
                            sa .
                               1    y.ty a
                                         . s         x;ight. now who és .



                     is th e c1
                              -:'matc?

                            We                                        o ve r a tv;(7

                    p erik
                         3cl be ing oust , b lac k and u'hite .             Wf:
                                                                              l v7atched an
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 147 of
                                     156



                                                                                                Page
                                  adrninistrative                              taken out , black

           2          and white . YIe w atched Newman , the FBT agent



                      election                                                        t.heï?'

           F)              elect.
                                i(Dn , they f()und no corrupt j.on

           6          of R iviera
                                             S a A/z4- n (
                                                         Jr        '
                                                                   7Jln:) c 1J
                                                                             Lm ate .

                                          alèd be a s

                                  çJ:.
                                     ,
                                     .(
                                      -
                                      ..
                                       1
                                       <ge         alreaciy preconcluc2eC-
                                                                         A
                                                                         :,                 got the

                     g(avernor 's hand in tbis ,                   supposed ly

                     beca))se                 have go t
                                                      : is hea rsay

                                                                             am saj,
                                                                                   .in(
                                                                                      g?
                                    knc'ek-
                                          5ng

                                                  Hca ca J Led



                                                                                                a J'rt

                     Saj';rlUu!                                                     sca.
                                                                                       red ,
                                  C.
                                   'D-t:tiOklS .      IE haVk7 C
                                                               Seel-1

                     d ei
                        ;t(j r-
                              i-c'h t .

                                                     a resu tt             t'
                                                                            nat ,

                                  we            th is t71-ocess t1-1at we

                                          1ook back

                                  PrOCCSS                                       tha'
                                                                                   t counc il

                                  clty manager                s #%
                                                                 -
                                                                 'a -=fJ    o kaT,
                                                                                 '.

                            lbis, Cazoosa alnd iron Hou se , they we re ?s11
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 148 of
                                     156



                                                                                       Page
                                al.)?
                                    ..los-aj.
                                            -j-on                the City of Riviera



                     speak tocjay , $qe have ncne .

                                                                            t he n '
                                                                                   ae a 1:e

                     going tca havre the                  right or '
                                                                   4orse

                     eastern sh clre s .                   5.s verj: j.mportant tha t we

                     understand the lnistory ,                                 J say

                                                           forrn or we formalize

                                                                       let the Judge

                                          is not the

                           And

                     peop le like Tina î,zhite                           ilLt:f.
                                                                               )r0-stecl

                     getting                                          p ick up

                          do(
                            esn 'i'
                            :                                           Sl'le want s

                     hurr.
                         1.ca!)e                    Slne doesn 't-       a h alro er

                                      ul'1derstand ?

                     Festival.               can 't

                                                                           tn
                                                                            'ese thi:ègs -
                           sounc
                               ''
                                1i'Rg furkny ,                            persorè.     f)kay .
                                           the '
                                               v?a r.
                                                    ' r,a L
                                                          -B
                                                           à)
                                                            ..

                                         a guy that                    Waste

                     Management .             is rtow sending us what wa s

                                     Management ts contract .

                                               p revi
                                                    fti1         in(zorrect iIRf(Drmatioa
                     becaus(7               climate ,                          and à,
                                                                                    ,'
                                                                                     he n
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 149 of
                                     156



                                                                                                  Page 38
                                                                                the people

                                             am trying to give ycu as much

                     in format 1on             have in an op en fcrum that we can

                     star t chec king c)n .



                                                                                 for you to

                     Michael .

                                    BROWK : What. (
                                                  1 klou.
                                                        '
                                                        1dn 't -- 1 don 't
                                  C Az'
                                      ï'
                            O
                            o()t
                            %  :!C.
                                  k.u-.
                                      1.C-
                                         N
                                         -S.
                                                                                and M s .

                     e
                     :l:x:r)
                           .ress(L
                                 .;.
                                   ?7                   in a ce rtai17             and      have
                     rftinC)f                   a(
                                                 gre62

                     IDercent on 4,'.he                   -- th 1s A's si
                                                                '
                                                                .       c
                                                                        !rjous stu ff,

                                                                                      '
                                                                                      (
                                                                                      E
                                                                                      hf:
                                                                                        ir(!CHr
                     peorle                tï
                                            -y-
                                              ing '
                                                  to des1
                                                        -roy evt
                                                               arj,
                                                                  't.l-
                                                                      1j.ng .




                     hav ca do:'
                               i6-
                                 '. And

                                        C a7
                                           -'-
                                             t
                                             go s a ,         r)ec:r7j.ca           uIède z:stand

                                             talking

                                                                                     anràexation
                                  R2
                                   '.vJ'ez-a Beach1r                        of the.se

                                                   toCJethe r                     years and

                                                                                in Cit.y Hal1 came
                     together               dcypr ived                           *t
                                                                                  -?I
                                                                                    'ose n:er-
                                                                                             L1

                     valuable assets.

                                                           under stal)d , w e must
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 150 of
                                     156




                     understanc
                              j in

                     and this is the Alamo, as far as                               am concernedr

                     and this
                                    LR-'
                                       J
                                       ?E P LlF=*
                                                th
                                                 lS -        that 's                  T am talking

                                                  the l:)ig p ict.ure, and that 's

                                    C
                                    -nï
                                      :
                                      .
                                      ;
                                      -
                                      .tn t.
                                           t
                                           -
                                           .                                            lega?

                                                        going to

                                                            r .4Jn
                                                               t( 't .

                                    ST E P !'
                                            1E 1
                                               .1S :    I n'
                                                           kt
                                                            '
                                                            Ha n r

                                a:'
                                  tt
                                   -l
                                    i';ou ca!')                             clct17't want.

                     b ri.n(
                           g                                                          here .

                           1               you got to                     tC)getLer,

                               put          tcgether,                                1:o paint

                                                                                   %'ol
                                                                                      .1 a11

                     th in king .

                                                        as '
                                                           v;e           all -- %;e are
                                                                                      . he re

                         1ear t1)e statem ent .1.!1 ou r commu'Lity .
                     to )-

                           a sPa:
                                .ie a                            k;e c,
                                                                      t'
                                                                       4rl skt-'

                        going                  uncomfortable, but                      facts

                                      and w e need                       th t
                                                                            am out. thez'e,

                        wasn 't                         si'
                                                          t
                                                          ntillg

                                    prcperty cut                                   wasn 't       folks

                     outslde.                                     S q.j..
                                                                     -w tg-4
                                                                           u.s g
                                                                               w


                           lost us Caloosar                       H (2)rS e r
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 151 of
                                     156



                                                                                                    Paie
                                                              an yth ing to        about

                         governo r .            73ile governor               do what he feels like

                         he need '
                                 .
                                 6                           But , the bottom

                                                                                   forwarci,

                         it-respect1v e o f wh at alnJ,
                                                      'b otiy in Ta l.
                                                                     l.ahassee

                                                use my analogy here,                       probably
                         !
                         ,2i11 m ake

                                                               m y hands ,                    around

                         nec k,                            a box and then

                                       arl:7! W a i'.t.

                     t.
                      :
                      tn cje r- m e 1' o k c
                                           u
                                           '-
                                            =
                                             >r.

                                                tc) try' to figu re                     to g611
                                                                                              -
                                                                                              .- that

                     n(
                      3o sc) oUt                          a round -
                                                                  .rty

                                    p rc:.
                                         -
                                         0,s'r:.
                                               rat-4tan                         rao v .
                                                                                      1
                                                                                      '.n g t h e c j.ty-
                         f'(n2:bs;c-:Lt:$.
                                         4                                     We have tc

                     clecisior1,                     t'hey are nc)t going to be popkllaz'. ,

                               9 )ed
                     b eciaU s6.   :lp 1e don 't                             change r

                     p(-
                       :)op 1e are af1)
                                      'cti(
                                          .
                                          i of                               susp ic ious o f chang e,

                                                 occurs ,                               p roduct ,

                                                                                 themr           yeah

                                                 up )3eat.
                                                         i.ng

                                                            to have          (
                                                                             3f +
                                                                                ..he things

                                                .o1a
                                       -o ss --i:  x; h7e corc.
                                                              j.rïg

                     5VeI
                     *
                     (  'Il
                          .1i5Sr là6
                                   3 1p.t
                                        :
                                        '
                                        h17'
                                           tQ)L' 1
                                                 -1CW                           ?.abe led , you know .

                                             L'
                                              )T
                                               JNCt-)M !
                                                       ?E '
                                                          . M adam ch air ,               offe r a
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 152 of
                                     156



                                                                                                              Page 41
                      CoIRSenSut?; al-
                                     kt
                                      'iy 2.ike yot2 say ,                           council.

                     p revious1y helpeC1                                            the problems

                      that                          is perceived

                     d isagreemelït ,

                                      O n tH l'Fttg S S a (.)Q).   Wht
                                                                     Rie57QQ' (XC)f)S

                                                                           SiCP QU't)
                     hav e to                   out t
                                                    -.o ge t i7e r .

                              Let me offer                          cc)nsensus , t1-1at w e put

                     rnuciA m onev-



                     d isagrers
                              ld tc-
                                   ,
                                   .c;ether                             sL-
                                                                          ï.
                                                                           1ec ted r                ue need

                     mr
                      stk e o n e
                      '                             s t.a t el'
                                                              nen t .    W)
                                                                          'èa t e ve .r'

                     cjtsagrec:1)te11ts                                                    to r
                                                                                              :
                                                                                              ul1o w   .




                                             cgl'sagree!TLen'
                                                .           cs

                          tkp with
                                 .
                                 t

                                                                                           C C)TLS t9 $-1S L255

                          spend whatever .                                          P rl.LJtL-C?



                     somebody                shadlk? everF                                  o17 t1-1is

                     docum ent ,                                   cont3erk3kl:
                                                                              ;
                                                                              5             we spe1)r.
                                                                                                     i
                     t.
                      'ho se d(
                              7.
                               7.1ars                                 ctC)ne r

                     Irte SS8.t/e .                                                                going

                                                                                      g(
                                                                                      r aing tc)



                                          GK            *
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 153 of
                                     156



                                                                                             Page
                     small partl o f                fi.ght.,           are right, that

                                                     attack you                 sides

                     two diffez.
                               'eni
                                  .'
                                   -                                            are trying

                         figàLt                     th ing ;

                     t.ry ing te stop this development, and thalfs



                           Tiley are saying Sunshint
                                                   ct v1olat ton ,

                          ab so 11
                                 .
                                 4tely nothing                                      What

                     real.
                         1y has to do w ith is                           saying

                          me c 1-
                                1a n i sm t o t ry to            t l-
                                                                    ze ç
                                                                       :o n t r i:c t t (3

                          otlner i3il1 b inding on y'eu .

                                             Okay .              '
                                                                 t.ry t.()

                        some            of end , because we have got a second

                         3.
                          le neec
                                -t tc

                                             Which shou1.(j                      b etua3
                                                                                       -Ase

                                          discussiolè.

                                             Do '
                                                ae ina'
                                                      ze a con sensus o f

                                       saying '
                                              ?        I guess       is not on

                                  JAOKSC)N :                                 Wade

                                      do ?1ave to                    tt7ing ,

                     whatever          ta kes ,        tiAi11k k1e sh()IJ1d do it .



                                  %U1'
                                  .  (f'
                                       -
                                       *t
                                        l)1'
                                           z
                                           iVl7'-              The on1y 1)hing

                     to say is             tlRe on ly wily           can have a

                     c(nn sensus and rea11y                               have it,
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 154 of
                                     156



                                                                                           PaGe
                     council cin 't be in cgurt fighting on enough .

                     need to                           situation

                                         dc.
                                           n 't

                     cnlLJ kcay            can sinol,
                                                    c that

                     1isten , t
                              3l'
                              ' àe t-h-
                                      ing                                            %ïOrrj7



                     5
                     f
                     q-h
                       .at. def-
                               74'
                                 .s1t)ns we lr.a'
                                                Ke .

                                            knoc k anybody .

                                                                           we never

                     a(7ree(
                           :j. L
                               k6
                                (
                                .()
                                  .
                                  ,k.
                                    j4.
                                      y(.
                                        js !t-                      '
                                                                    -st k
                                                                   s3   c
                                                                        ar - .1n- '
                                                                                  Law sr

                     b r (7t
                           'h e r 's tn - R
                                          ..aw s ,                  13e!3hbï
                                                                           -tw .
                                                                               B.
                                                                               '    What.eT,
                                                                                           7er



                     d i.sagrekantent ,                                             Sc 1 ,

                     kn0w r tht
                              '
                              ftt.'s t.%e o1)ly thj.ng T



                     going on               '
                                            J,oL)rse1f +    '
                                                            fou ha.ve c
                                                                      gc't to



                                   W %i
                                      l
                                      -,
                                       hE.-                 say wha t u?e             going
                            'ouI'se lves !                 re'
                                                             fe rr in(v7 tc.
                                                                       .   )



                                   .
                                   I
                                   .
                                   Q.L1t
                                       *%
                                        u
                                        7w
                                         Crw
                                           -J1
                                             '
                                             k
                                             ?l1).
                                                 X
                                                 2
                                                 '
                                                 .,
                                                  '.
                                                   *

                                   (,
                                    7,r1
                                       ki-
                                         )i!
                                           l-               going to discuss
                     ma t te r .                Lin ish I'
                                                         nJ? statemmnt?               not mad ,

                                            say 1
                                                *ng t1Aou(7h r        recolrznendatic)n ,

                                                                     Attorney ta lk to
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 155 of
                                     156



                                                                                              Paçe
                                g ive you t1-
                                            1e                              on tha t case,

                                                     a           complete understanding

                     from the

                              aT:.
                                 L .l(L
                                      Dj- g
                                          ,
                                          ooing              d iscuss it ht)
                                                                           .re or d e#3ate

                                                                                    w hat

                     sayilng . L oo king at                                  outsid e 1oo king

                              looks bad .
                                                                             '
                                                                             A.rts.
                                                                                  1..de r I

                     highly aclvbse you to please

                     actorney.                                ended, unless the

                                                                       decision cn



                                                                    uIRderstanding .

                                 S-;T ElPi'lU.
                                            #N S :       fo
                                                          No $4e bqo n 't           a Sunshj.n e

                     A.
                      ri(.
                         7.
                          l.atior)           we a re -
                                                     VLere

                             carC.
                                 )f.L'a
                                      3-.

                                                                 anything elsca, p lease .

                                 7J.uE.
                                      :7-
                                        .    O kay .

                                 '
                                 l
                                 b
                                 -%r
                                   .tE F))
                                         T
                                         -*
                                          ;j
                                           y.'
                                             N>,
                                               %.                                    s t .rategy r

                     und erstank
                               .
                               -
                               j.

                                             W e #1a v () a t
                                                            -
                                                            .-
                                                             ,(
                                                              Jn st-)n su s to mo ve

                     forward on              part.icu).ar law suit and to

                     whatever we               nece sso.ry ,                           co l2ecting
                     i.14format.1.on                             g()j.ng             kzm can be

                     better p re)3-
                                  t
                                  ared .
Case 9:08-cv-80134-DMM Document 501 Entered on FLSD Docket 06/13/2014 Page 156 of
                                     156



                                                                            Page 45
                              MR . STEPHENS : Absoluteiy .

                                  TLES :             t.o try   formulat e

                     strategies.

                                  STEP!-lEl'
                                           1S !

                                                                     court#

                     tt. is
                     )             d j-sm issed . Okay .
